Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 1 of 122




      EXHIBIT 2
SUBMITTED UNDER SEAL
     Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 2 of 122
                                  James M. Cantor                    May 2, 2024

                                                                    Page 1

 1                       UNITED STATES DISTRICT COURT

 2                         MIDDLE DISTRICT OF ALABAMA

 3                              NORTHERN DIVISION

 4

 5        BRIANNA BOE, ET AL.,

 6               Plaintiffs,                                  Case No.

 7        and                                                 2:22-cv-00184-

 8        UNITED STATES OF AMERICA,                           LCB-CWB

 9               Plaintiff-Intervenor,

10        v.

11        HON. STEVE MARSHALL, in his official

          capacity as Attorney General of the

12        State of Alabama, et al.,

13               Defendants.

14        ________________________________/

15

16                     Pursuant to Notice, the deposition of

17        JAMES M. CANTOR, PH.D, was taken via Zoom

18        videoconference with the witness located in Toronto,

19        Ontario, Canada, on Thursday, May 2nd, 2024, beginning

20        at 9:10 a.m. before Kathryn M. Benhoff, Notary Public.

21

22

23

24               ALL PARTICIPANTS VIA ZOOM VIDEOCONFERENCE

25        Job No. CS6662450

                            www.CapitalReportingCompany.com
                                     202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 3 of 122
                             James M. Cantor                    May 2, 2024
                                           Page 2                                                       Page 4
 1        APPEARANCES                              1                INDEX
 2                                                 2     WITNESS:
 3    ON BEHALF OF THE PLAINTIFFS/INTERVENOR: 3          JAMES M. CANTOR, PH.D
 4      COTY MONTAG, DEPUTY CHIEF                  4     EXAMINATION:
 5      Federal Coordination & Compliance Section  5     By Ms. Montag                           6
 6      United States Department of Justice        6
 7      150 M Street, NE                           7     Exhibits (Attached):
 8      Washington, D.C. 20004                     8     Exhibit 1 - Report - 5/19/23               25
 9      RENEE WILLIAMS, TRIAL ATTORNEY             9     Exhibit 2 - Orange 2020 Article               52
10      United States Department of Justice       10     Exhibit 3 - Brignardello Study               55
11      Civil Rights Division                     11     Exhibit 4 - Diaz Study                   70
12      Federal Coordination & Compliance Section 12     Exhibit 5 - Retraction Note - Diaz Study         74
13      950 Pennsylvania Avenue, NW - 4CON        13     Exhibit 6 - Singal Study                  85
14      Washington, D.C. 20530                    14     Exhibit 7 - Supplemental Report - 2/2/24         105
15    ON BEHALF OF PRIVATE PLAINTIFFS:            15     Exhibit 8 - Morandini Study                 108
16      SHANNON MINTER, ESQUIRE                   16     Exhibit 9 - Glintborg Study                110
17      National Center for Lesbian Rights        17     Exhibit 10 - Kaltiala Study               115
18      870 Market Street - Suite 370             18     Exhibit 11 - McGregor Study                  122
19      San Francisco, California 94102           19     Exhibit 12 - Letter to the Editor - 7/8/11     134
20      sminter@nclrights.org                     20     Exhibit 13 - Littman Study                 143
21                                                21     Exhibit 14 - Stolk Study                 147
22                                                22     Exhibit 15 - 2014 WHO Handbook                   156
23                                                23     Exhibit 16 - Abbasi Study                  160
24                                                24     Exhibit 17 - Block Article                162
25                                                25     Exhibit 18 - Turban Correction               166
                                           Page 3                                                       Page 5
  1    ON BEHALF OF THE DEFENDANTS:                 1    Exhibit 19 - Appendix A to Supplemental Expert 167
  2      HAL FRAMPTON, ESQUIRE                      2       Report
  3      Alliance Defending Freedom                 3    Exhibit 20 -                         177
  4      20116 Ashbrook Place - Suite 250           4
  5      Ashburn, Virginia 20147                    5    Exhibit 21 -                                  183
  6      hframptom@adflegal.org                      6   Exhibit 22 - Cass Review             189
  7    ALSO PRESENT:                                 7
  8      Andrew Rogers                               8
  9                                                  9
 10                                                 10
 11                                                 11
 12                                                 12
 13                                                 13
 14                                                 14
 15                                                 15
 16                                                 16
 17                                                 17
 18                                                 18
 19                                                 19
 20                                                 20
 21                                                 21
 22                                                 22
 23                                                 23
 24                                                 24
 25                                                 25

                                                                                             2 (Pages 2 - 5)
                             www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 4 of 122
                             James M. Cantor                    May 2, 2024
                                                               Page 6                                                              Page 8
 1           IT IS HEREBY STIPULATED AND AGREED that the                 1      Q     Okay. I'll run through a few ground rules
 2    reading and signing of this deposition are not waived.             2   just to ensure we're on the same page. As you know,
 3           REPORTER: The attorneys participating in                    3   there's a court reporter, Kathy, here. Please
 4       this deposition acknowledge that I am not                       4   respond to questions verbally so Kathy can hear you
 5       physically present in the deposition room and                   5   and please wait for me to finish asking my question
 6       that I will be reporting this deposition                        6   before you respond. This is especially important in
 7       remotely. They further acknowledge that in                      7   a remote deposition. Okay?
 8       lieu of an oath administered in person, I will                  8      A     Yes.
 9       administer the oath remotely. The parties                       9      Q     If you don't understand my question,
10       further agree that if the witness is testifying                10   please let me know and I can try to word it
11       from a state where I am not a Notary that the                  11   differently. I will aim to take a break every hour
12       witness may be sworn in by an out-of-state                     12   or so, but please let me or Mr. Frampton know if you
13       Notary. If any party has an objection to this                  13   need a break at any time. I would just ask that you
14       manner of reporting, please state now.                         14   answer any pending questions before we take a break.
15             JAMES M. CANTOR, PH.D,                                   15      A     Very good.
16       having been duly sworn, testified as follows:                  16      Q     Okay. Great. You're aware that this case
17             EXAMINATION                                              17   concerns Alabama law I'll refer to as SB-184?
18    BY MS. MONTAG:                                                    18      A     Yes, I do.
19       Q    Good morning, Dr. Cantor. My name is Coty                 19      Q     And you've been retained by the Defendants
20    Montag, and I represent the United States in this                 20   as an expert in this case, right?
21    matter. I'll be taking your deposition today. I'm                 21      A     Yes, that is correct.
22    being joined by my paralegal, Andrew Rogers, who                  22      Q     Why did you get involved in this
23    will be assisting with exhibits, and I'm also joined              23   litigation?
24    by my colleague, Renee Williams. Can you start by                 24      A     Really, because I was asked. Throughout
25    stating your full name for the record?                            25   my career, my goal has always been to provide the
                                                               Page 7                                                              Page 9
  1       A    Dr. James Michael Cantor.                                 1   relevant science of my field to whomever it was that
  2       Q    And you had your deposition taken before,                 2   asked.
  3   correct?                                                           3      Q     Okay. And who asked you to become
  4       A    Yes, I have.                                              4   involved in this litigation?
  5       Q    About how many times?                                     5      A     Oh. I would have to check my e-mails to
  6       A    About half a dozen.                                       6   see from whom the first contact was. My memory is
  7       Q    You understand that you're under oath                     7   unclear. I believe it was Roger Brooks, but as I
  8   today?                                                             8   say, I would have to check my e-mails to see from
  9       A    Yes, I do.                                                9   whom the first e-mail came.
 10       Q    And you understand that being under oath                 10      Q     Okay. Did anyone reach out to you from
 11   obligates you to answer questions truthfully and to               11   the Alabama Attorney General's Office?
 12   the best of your ability?                                         12      A     Oh. I should back up. The first contact
 13       A    Yes, I do.                                               13   would have been from the Alabama State Attorney's
 14       Q    And you understand that if you don't                     14   Office, which would have been at the preliminary
 15   respond truthfully, you can be subject to penalties               15   injunction phase of the case. That was before Roger
 16   of perjury?                                                       16   Brooks became involved with the government office,
 17       A    Yes, I understand.                                       17   so it would have been somebody from, from the
 18       Q    Is there anything you can think of that                  18   Alabama office. As I say, I would have to check my
 19   might prevent you from understanding or answering                 19   e-mail to remember at what phase I was communicating
 20   anything I might ask you today?                                   20   with whom.
 21       A    No, I don't think so.                                    21      Q     And you testified at the May 2022
 22       Q    And is there anything you can think of                   22   preliminary injunction hearing in this case, right?
 23   that would prevent you from testifying truthfully                 23      A     I testified at that hearing. Again, I
 24   and accurately today?                                             24   would have to check my records for the precise date,
 25       A    No, I don't think so.                                    25   but that sounds approximately true.

                                                                                                                       3 (Pages 6 - 9)
                                               www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 5 of 122
                             James M. Cantor                    May 2, 2024
                                                            Page 10                                                               Page 12
  1      Q      What materials did you review for your                 1   Toronto, Canada?
  2   deposition today?                                                2      A    Yes, I am.
  3      A      My own, I reviewed my own reports. I                   3      Q    And what percentage of your time is spent
  4   reviewed the relevant literature that it primarily               4   in private practice?
  5   draws upon and I reviewed the additional materials               5      A    It varies. As my involvement in legal
  6   that have become available, you know, since then.                6   cases has increased, I've decreased my day-to-day
  7   Because the information relevant in the case is                  7   involvement within, within private practice, but I
  8   increasing quickly, several reviews, especially from             8   wouldn't shut it down because I, as I say, there's
  9   England, have only just came out, so updating myself             9   really no way to predict what's going on in the U.S.
 10   as much as possible.                                            10   legal world, so sooner or later, I'll need to
 11      Q      Okay. Without getting into what was                   11   re-balance which among my activities I'm dedicating
 12   discussed, did you speak with anyone to prepare for             12   how much time to.
 13   this deposition?                                                13      Q    And you see patients in your private
 14      A      Yes, the counsel here today as we went                14   practice?
 15   over the rules for depositions themselves and                   15      A    Yes, that is correct.
 16   others.                                                         16      Q    Approximately how many patients do you
 17          MR. FRAMPTON: And I'll just remind the                   17   currently see?
 18      witness and instruct him not to discuss the                  18      A    Again, it's difficult to sum everything up
 19      content of our discussions.                                  19   into a single number. The nature of psychotherapy,
 20      Q      And how many times did you meet with                  20   especially sex and couples therapy of the kinds that
 21   Mr. Frampton?                                                   21   I do, vary and including different numbers of
 22      A      In preparation for today's case, twice.               22   traditional weekly therapy patients, people who are
 23      Q      And for about how long did you meet?                  23   either wrapping up or just need occasional check ins
 24      A      In total, about eight hours.                          24   who come in once every few weeks and then some
 25      Q      Okay. Other than Mr. Frampton, did you                25   people who I hear from sporadically because there's
                                                            Page 11                                                               Page 13
  1   speak with anyone else to prepare for your                       1   a particular event for which they're asking input,
  2   deposition today?                                                2   so anywhere between six and, six and twelve.
  3      A      No, not in any direct way. Because I've                3      Q    And are these adults?
  4   been involved in more than one case and overlapping              4      A    They're all ages 16 and up, but sometimes,
  5   materials, there's some general principles for                   5   of course, there are clients coming in in order to
  6   testifying in depositions in general, but not, not               6   discuss issues pertaining to their family, including
  7   specifically for today's proceedings.                            7   their children, who are not yet adults.
  8      Q      And do you have any materials in front of              8      Q    Is the average age of your patients still
  9   you?                                                             9   30 to 35 years old?
 10      A      I brought with me in case I need them                 10      A    As an average, that would still be
 11   clean copies of my, my main deposition report, the              11   typically true, but it runs the full range, and of
 12   supplemental report and stored separately the                   12   course, a lot of the information being discussed
 13   confidential materials that are in Appendix A, which            13   pertains to, you know, the entire lifespan.
 14   are still, of course, under court order for                     14      Q    Do any of your current patients identify
 15   confidentiality.                                                15   as transgender?
 16      Q      Okay. So Dr. Cantor, your testimony in                16      A    Not my current patients at the moment, but
 17   the preliminary injunction hearing in this case                 17   some of them have histories of having identified in
 18   occurred on May 6, 2022. Does that sound right?                 18   various ways over the course of their lives, so it
 19      A      Again, I would have to check my own                   19   depends on how one counts them.
 20   records to verify the precise date, but that sounds             20      Q    Have any of your current patients received
 21   approximately true.                                             21   a diagnosis of gender dysphoria?
 22      Q      And you testified truthfully at that                  22      A    That's a little hard to say, again, as the
 23   hearing, correct?                                               23   official name of the diagnosis has changed over time
 24      A      Yes, I did.                                           24   and different diagnostic manuals use different names
 25      Q      Are you still in private practice in                  25   for the, for the diagnosis, and some of the patients

                                                                                                                 4 (Pages 10 - 13)
                                           www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 6 of 122
                             James M. Cantor                    May 2, 2024
                                                             Page 14                                                               Page 16
  1   when it's in their background were diagnosed at a                 1   secondary issue vs. being misnamed vs. the initial
  2   time when other names were used.                                  2   self report of a youth or his referring care
  3      Q    Is it still correct that you have not ever                3   provider, but that turns out not to be the central
  4   provided clinical care to transgender prepubertal                 4   issue for the kid, so again, it's a little difficult
  5   children?                                                         5   to say. In general, again, it would probably be a
  6      A    That's a little, again, that's a little                   6   few dozen.
  7   difficult to isolate because especially for                       7      Q    Okay. With respect to the primary care
  8   prepubescent children, the majority of clinical care              8   you discussed, have you counseled any additional
  9   and diagnoses is conducted through inter-                         9   transgender adolescents between the ages of 16 and
 10   disciplinary teams, so I would often contribute                  10   18 in the last two years?
 11   information to that diagnosis, but the person                    11      A    There was a cluster a few months, six
 12   assigning such diagnoses and the person on record                12   months to a year ago, again, which was a combination
 13   would be an individual clinician, so I would                     13   of individual youth coming in themselves, sometimes
 14   contribute but in the nature of record keeping                   14   indirectly via their parents or other again
 15   systems that we use in the hospitals that I have                 15   consultation issues for which other clinicians
 16   been, wouldn't have been assigned as the primary                 16   wanted input from me regarding particular aspects of
 17   clinician.                                                       17   a case within their ongoing care.
 18      Q    Is it still correct that you have not                    18      Q    Okay. And what type of care did you
 19   provided care to a transgender adolescent under the              19   provide that cluster of patients?
 20   age of 16?                                                       20      A    Again, primarily, it was for informational
 21      A    The same issue applies because the nature                21   so that they would better understand the various
 22   of the care is inter-disciplinary and often                      22   options that are, that are before them, the various
 23   supervised or is the accumulation of team                        23   ways that their experiences can be, can be
 24   contributions. I have participated in the care and               24   interpreted. One of the central goals for any of
 25   care planning of such individuals but not, wouldn't              25   the psychotherapeutic processes is to help people in
                                                             Page 15                                                               Page 17
 1    have been listed as the primary clinician for such a              1   an objective way assess the potential risks and the
 2    case.                                                             2   potential benefits of each of the alternatives
 3       Q    Is it still correct that the extent of                    3   before them and exactly how confident we can be in
 4    your experience working with transgender adolescents              4   any given diagnosis for their decision making and
 5    consists of counseling six to eight transgender                   5   the consideration of any other mental health issues
 6    patients between the ages of 16 and 18?                           6   or social circumstances that might be interfering
 7       A    I'm sorry. Could you repeat that?                         7   either with their ability to provide informed
 8       Q    Is it still correct that the extent of                    8   consent, their willingness to engage in potential
 9    your experience working with transgender adolescents              9   alternative issues such as cognitive issues or
10    consists of counseling six to eight transgender                  10   impulsivity that again might be interfering with
11    patients between the ages of 16 and 18?                          11   their ability or willingness to engage in the
12       A    Six to eight would reflect the number of                 12   exploration of the alternatives before them.
13    people for whom I was the primary care provider, but             13      Q    And what was the age range of the patients
14    it would not reflect the number of people again for              14   in that cluster?
15    whom I was participating in the broader inter-                   15      A    I'm sorry. I thought you were asking
16    disciplinary care teams.                                         16   specifically about ages 16 to 18.
17       Q    And about how many, you know, adolescents                17      Q    Yes. So they were 16 to 18, just to
18    or prepubertal children under the age of 16 have you             18   confirm?
19    provided care to in this inter-disciplinary fashion?             19      A    Yes, what I said pertains to as what I
20       A    Goodness, that's difficult to say.                       20   thought the question was, yes.
21    Roughly, it would be a few dozen, but because, but               21      Q    Great. Thank you. Other than counseling,
22    because issues of gender identity and gender                     22   you have never treated an adolescent for gender
23    dysphoria and so on are often a single element                   23   dysphoria, correct?
24    within a case and when a case begins, it's not clear             24          MR. FRAMPTON: Objection to the form.
25    to what extent the issue is the primary issue vs. a              25      A    I'm not sure I understand that question or

                                                                                                                     5 (Pages 14 - 17)
                                            www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 7 of 122
                             James M. Cantor                    May 2, 2024
                                                           Page 18                                                               Page 20
  1   how it's different from what you have just asked.               1      Q   And you're not a psychiatrist?
  2      Q   Well, do you provide clinical care other                 2      A   That is correct. Psychiatrist or
  3   than counseling?                                                3   psychiatry are medical doctors, but I was a
  4      A   I guess I'm confused by the question.                    4   professor of psychiatry.
  5   People use different terms or synonyms to describe              5      Q   And you're not an endocrinologist?
  6   what -- I'm a psychologist and I provide                        6      A   I don't have a license to practice
  7   psychological care, which spans, you know,                      7   endocrinology in humans, but, of course, the
  8   counseling and diagnosis and so on as well as                   8   research that I'm drawing from and the research that
  9   providing information so that people can integrate              9   I've conducted was about endocrinological substances
 10   that information to their own clinical decision                10   and research and experimentation such as with animal
 11   making. Which part of that, you know, counts as                11   research on the effects on sexual behavior of
 12   counseling vs. something else, again, I'm not sure             12   various hormones and so on.
 13   exactly what that -- I'm not exactly sure what that,           13      Q   Do you prescribe medications?
 14   what that means. Is an assessment separate from                14      A   No, psychologists don't prescribe
 15   counseling is almost a philosophical question                  15   medications in Canada.
 16   because the purpose of the assessment is the initial           16      Q   So you've never prescribed puberty
 17   phase of counseling so one knows which part of                 17   blockers to any individual, correct?
 18   counseling to provide, so I guess I'm not                      18      A   I don't myself write the prescriptions,
 19   understanding the question or it depends on what               19   but, of course, as part of the care of youth is the
 20   somebody considers counseling to be vs. some other             20   assessment of the mental health professionals who
 21   activity within the practice of clinical psychology.           21   then decide or help to decide when a person is
 22      Q   Well, you mentioned diagnosis. Have you                 22   prepared for endocrinological interventions and that
 23   ever diagnosed a child or adolescent with gender               23   the endocrinologist would handle the physical end
 24   dysphoria?                                                     24   and decide whether the person is physically ready
 25      A   Again, what counts as diagnosis is the                  25   for it, so especially for trans issues and gender
                                                           Page 19                                                               Page 21
 1    series of assessment questions, the consideration of            1   identity issues, because it requires the input of so
 2    the various possibilities and a description of what,            2   many different professions, again, it's as I say
 3    of what would lead to or suggest the best course or             3   done by an inter-disciplinary team, with each person
 4    potential courses of action for a patient, but                  4   handling the aspect of the case relative to their,
 5    diagnosis also in some circumstances, especially in             5   to their own background.
 6    clinical record keeping for insurance purposes or               6      Q    So as part of that inter-disciplinary
 7    hospital record purposes, is who signs the piece,               7   team, have you participated in the decision to
 8    piece of paper in order to make it official and                 8   prescribe puberty blockers to any individual?
 9    enter it into the records.                                      9      A    Yes, I believe so.
10                So I participate as I was saying                   10      Q    About how many people?
11    before in the clinical teams where that decision is            11      A    This would be about a half dozen. Again,
12    being made, but the nature of the record keeping               12   the majority of these cases are the consideration of
13    system for clinical records requires a single                  13   the various options of the same, at the same time
14    person. In the Canadian health care context, that's            14   and part of general clinical planning. It's rarely
15    typically an M.D. within the, within the hospital              15   a matter of black and white okay, this week the
16    because the psychologists are paid via salary and              16   person qualifies as opposed to last week or next
17    the M.D.s are paid via specific clinical tasks, so             17   week. It's usually part of a broader assessment
18    that requires the M.D. to be the person of record              18   over time, and of course, there exists more than
19    within the medical record.                                     19   earlier delays in when the, each phase of care is
20        Q And you're not a medical doctor, correct?                20   feasible.
21        A Correct. My background is as within the                  21      Q    And do you recall the age ranges of this
22    faculty of medicine, and of course, I was employed             22   half dozen group of patients?
23    in the relevant medical departments. My degree                 23      A    These would be early teens, primarily.
24    itself is, the relevant degree of my own is a Ph.D             24      Q    And do you recall the time period that you
25    in clinical psychology.                                        25   were part of this decision to prescribe puberty

                                                                                                                 6 (Pages 18 - 21)
                                        www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 8 of 122
                             James M. Cantor                    May 2, 2024
                                                             Page 22                                                               Page 24
  1   blockers to this, these half dozen patients?                      1   more direct participation via inter-disciplinary
  2      A   Early 2000s.                                               2   teams. Later, then it was my supervising my own, my
  3      Q   Okay. As part of an inter-disciplinary                     3   own students as they were participating in such
  4   team, have you ever participated in the decision to               4   teams.
  5   prescribe cross-sex hormones to any individual?                   5      Q     Do you have any personal knowledge of the
  6      A   Primarily to adults, late adolescents. I                   6   assessment methodologies that have been used at UAB
  7   guess primarily to adults and late adolescents.                   7   Children's Hospital?
  8      Q   And approximately how many people?                         8      A     Well, because my testimony is, of course,
  9      A   Somewhere on the order of, now that I'm                    9   about the state of the science itself, the
 10   including adults again, it would be somewhere in the             10   application of it to any given jurisdiction is up to
 11   range of 100.                                                    11   that jurisdiction. I haven't tried studying, you
 12      Q   And what was the approximate time range                   12   know, the particular ones going on at UAB. My
 13   that you were participating in the decision to                   13   testimony, of course, pertains to the content of the
 14   prescribe cross-sex hormones to these patients?                  14   relevant science, and then how any jurisdiction
 15      A   This would have been from the late '90s                   15   applies it is up to that jurisdiction.
 16   through -- my nature of the role within such teams               16      Q     Do you have any personal knowledge of the
 17   changed over time. Roughly from the late '90s to                 17   treatment methodologies that have been used at UAB
 18   roughly 2010, 2015.                                              18   Children's Hospital?
 19      Q   Okay. Do you have any experience,                         19      A     Again, because my testimony pertains to
 20   personal experience with monitoring a patient                    20   the, to the content of the science and its proper
 21   undergoing puberty blocking treatments?                          21   interpretation, the application of that to the
 22      A   It depends on which aspect of monitoring                  22   individual, to any individual clinic, hospital or
 23   one is talking about. The medical and physiological              23   jurisdiction is up to the policymakers in that
 24   monitoring in a human patient would be handled by                24   jurisdiction.
 25   the endocrinologist rather than the mental health                25      Q     Do you have any personal knowledge about
                                                             Page 23                                                               Page 25
  1   team, but, of course, the whole purpose of the                    1   what the doctors at UAB Children's Hospital have
  2   endeavor is monitoring their mental health status                 2   discussed with their adolescent patients about the
  3   and whether there are improvements in the person's                3   risks and benefits of gender affirming care?
  4   mental health, so my participation in the teams                   4      A     I haven't attempted to, I haven't
  5   again is participating in the monitoring and the                  5   attempted to ascertain exactly what particular
  6   interpretation of the observations of the various                 6   methods any particular clinic uses except for any
  7   other members of the clinical team.                               7   time that I'm asked to compare the existing research
  8      Q   So just to confirm, you have personal                      8   literature to whatever policy any clinic anywhere in
  9   experience monitoring the mental health status of                 9   the world suggests that it's doing, but I have not
 10   patients undergoing puberty blocking treatments?                 10   attempted to make any investigation or pursuit of
 11          MR. FRAMPTON: Objection to the form. Go                   11   any information in, of any specific clinic in this
 12      ahead and answer.                                             12   case.
 13      A   Again, that depends on what one means by                  13      Q     You've submitted several expert reports in
 14   monitoring. Earlier in my career was a little bit                14   this case, correct?
 15   more direct, and later in my career when it was my               15      A     Yes, I have.
 16   own students that I was training and I was                       16      Q     So I'm going to mark your May 19th, 2023,
 17   supervising their participation, then less direct.               17   report as Exhibit 1. Andrew, this is doc 2. Andrew
 18      Q   Okay. Do you have any personal experience                 18   is going to be pulling up the exhibit on the screen.
 19   with monitoring an adolescent patient on hormone                 19   You can also read the report if it's in front of
 20   therapy?                                                         20   you, so let's give Andrew a moment to do that.
 21      A   Same. Of course, by the time patients are                 21           (Exhibit 1 marked.)
 22   undergoing hormone therapy, they are older, and                  22   BY MS. MONTAG:
 23   these would over time be the, be the ones                        23      Q     Doctor, is this a copy of your May 19th,
 24   participating later, and my participation, direct or             24   2023, report?
 25   indirect, follows the same pattern. Earlier it was               25           MR. FRAMPTON: Is he able to scroll

                                                                                                                     7 (Pages 22 - 25)
                                         www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 9 of 122
                             James M. Cantor                    May 2, 2024
                                                             Page 26                                                               Page 28
  1      through the document?                                          1   gender identity was always a substantial part of it.
  2      Q   Yes. Andrew, can you scroll down? You                      2               The reason for that largely is
  3   may need to scroll through it.                                    3   because there are several different aspects of human
  4      A   Stop there, please. Scroll up a little                     4   sexuality which overlap, contribute to and receive
  5   bit. Yes, it appears to be the same document.                     5   input from if I can say it that way the different
  6      Q   Okay. I'm going to refer to paragraph                      6   kinds of gender identity because different aspects
  7   numbers and page numbers throughout. By page                      7   of human sexuality influence the different kinds of
  8   number, I'm looking at the number printed on the                  8   gender identities or what gets called a gender
  9   bottom of the page, but let me know if anything is                9   identity. It's sexology and sex research is the
 10   not clear, so in paragraph 1, page 1, you state that             10   only field as I say with the inter-disciplinary
 11   you are a sexual behavior scientist. What is a                   11   nature to, to provide a comprehensive understanding
 12   sexual behavior scientist?                                       12   of the various aspects of the various phenomenon
 13      A   Well, I can't say that it's a controlled                  13   comprising what today is often called gender
 14   term. It was the best way that I think that                      14   identity.
 15   captures the range of my expertise. Very often                   15      Q    In paragraph 1, page 1, you state that
 16   people in my field would call ourselves sex                      16   you're an expert in research methodology of
 17   researchers. The nature of my background is in the               17   sexuality. What does that mean?
 18   research, the research methodology that about what               18      A    Again, within sex research, it's a very,
 19   makes human sexuality human sexuality, what in                   19   very broad field that involves many different types
 20   humans makes us interested in whatever it is that                20   of research from relatively simple, you know,
 21   we're interested in, how do we, what is the evidence             21   interviewing skills right through polls of the kinds
 22   in the nature/nurture debates over the various types             22   that the Kinsey studies were through neuroscience
 23   of human sexuality. Within my field, of course, we               23   through endocrinology through the assessment for the
 24   study anything from sexual dysfunction such as                   24   effectiveness and safety of different, different
 25   erectile disorders, anorgasmia to people's, you                  25   kinds of sex therapy, the different kinds of
                                                             Page 27                                                               Page 29
 1    know, sexual interest patterns, what makes them,                  1   medications that either that can augment human
 2    what makes a person straight or gay, what makes a                 2   sexuality or as side effects interfere with, with
 3    person into whatever kinks they might be into,                    3   human sexuality through the policy making for the
 4    whatever motivates humans in order to engage in                   4   many different aspects of human sexual behavior that
 5    sexual, in sexual crimes. It is itself a highly                   5   interact with either the legal systems or social
 6    inter-disciplinary field because, of course, so many              6   systems so that they can be managed within society.
 7    parts of human biology from neuroscience to                       7               So because I have a history of having
 8    endocrinology are all input into psychiatry,                      8   engaged in aspects of research functions that few
 9    psychology itself, of course, all contribute to                   9   people in my field have, you know, from basic
10    human sexuality.                                                 10   statistics and neuroscience all the way through
11         Q How does sexual behavior relate to gender                 11   clinical procedures, I am, you know, generally able
12    identity?                                                        12   to assess the research methodology that, that's used
13         A That's quite a philosophical, an                          13   throughout my field. I'm very often, a great deal
14    interesting philosophical question unto itself.                  14   of my senior, more senior parts of my career were
15    Traditionally, the various aspects of gender                     15   specifically about assessing the research studies.
16    identity throughout the many definitions that it's               16   For example, as outlined in my CV, I've served, have
17    had over the years, but exactly what counts as                   17   served as an editor in chief of a research journal
18    gender identity itself is under debate, but, of                  18   in which I was in charge of assessing the research
19    course, gender identity has really since it was ever             19   quality and the research methods of again a wide
20    described or the aspects of that comprise the                    20   range of different types, different types of
21    different kinds of gender identity have always been              21   studies. Similarly, I've been one of the reviewers
22    parts of human, of human sexuality. The names of                 22   for research grants for various branches of
23    the fields have changed over time. Originally, it                23   government which are in charge of assessing
24    was called sexology. In some parts of the world,                 24   proposals to conduct different kinds of research, so
25    it's still called sexology, and in each of these,                25   my task is again very often to assess the proposals,

                                                                                                                   8 (Pages 26 - 29)
                                         www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 10 of 122
                              James M. Cantor                    May 2, 2024
                                                            Page 30                                                               Page 32
  1   their limitations, the potential, their potential                1   of the areas with a substantial history of trying to
  2   benefits in order to decide which of, from one end               2   compromise several different issues all at once,
  3   which projects are worth doing, which programs are               3   there doesn't exist a concrete boundary. The most,
  4   worth funding and which submitted manuscripts                    4   the best -- the issues that typically go into such a
  5   getting reviewed are worth publishing.                           5   decision are simultaneously recognizing the
  6      Q    In paragraph 2, you state that you are                   6   scientific question as I outlined it. For any
  7   "the author of over 50 peer reviewed articles in my              7   phenomenon that would work against evolution, we
  8   field, spanning the development of sexual                        8   have a scientific puzzle.
  9   orientation, gender identity, hyper-sexuality and                9             At the same time, atypical
 10   atypical sexualities, collectively referred to as               10   sexualities are highly stigmatized and different
 11   paraphilias." What is an atypical sexuality?                    11   types of stigmatized in different ways, and that
 12      A    I can't say that there's an official                    12   changes in different cultures and, different
 13   definition or set of criteria. I use the word                   13   cultures and different time periods. The best known
 14   purposefully in order to, in order to indicate its              14   example would be the change over the course of the
 15   breadth. The scientific question has always been we             15   20th century of how homosexuality was treated,
 16   start, of course, with evolution. There is an                   16   initially considered, deemed a mental illness within
 17   enormous evolution pressure for every species that              17   the psychiatric profession and then removed from the
 18   reproduces sexually that, that the evolutionary                 18   American Diagnostic Manual over the course of time
 19   pressure is for males to be attracted to                        19   as part of, you know, trying to combat the stigma
 20   reproduceable age females and vice versa, so when we            20   associated with it.
 21   run into a situation where somebody experiences                 21             I myself typically use the term
 22   sexual attractions that would work against                      22   asexual specifically in order to be a neutral term
 23   evolution, that would make an individual case,                  23   to acknowledge its statistically, its status
 24   person, specimen, depending on the context, less                24   statistically as a minority but without attributing
 25   likely to produce fertile children, we have a                   25   any value judgment to it. It's merely a statistical
                                                            Page 31                                                               Page 33
  1   research puzzle.                                                 1   description rather than a comparison of, a
  2             There must be in such cases some                       2   comparison to that which is or is not acceptable to
  3   function, some process, some pressure that is                    3   whomever under whatever criteria.
  4   maintaining the existence of that phenomenon despite             4      Q    So just to confirm, you cannot reference
  5   that evolution would predict that it be removed from             5   an article in the scientific literature that shares
  6   the gene pool essentially, so identifying the causes             6   the view that being transgender is an atypical
  7   of any of those phenomena is as I say an interesting             7   sexuality?
  8   scientific question and has been the primary                     8          MR. FRAMPTON: Object to the form. Go
  9   function of a great deal of my, my research career,              9      ahead and answer.
 10   and that knowledge then, you know, pertains to how              10      A    There's no shortage of papers that express
 11   do we use that knowledge in order to augment and                11   each of the or that participate in the debate over
 12   improve the clinical portions of -- well, of, of my             12   what counts as what, but in order to, in order for
 13   own career and of the people who, the people who                13   there -- I would have to look specifically if there
 14   apply science in engaging in evidence based practice            14   is a single paper which simultaneously provides the
 15   and evidence based care whenever there's a sex or               15   various frequent definitions of each of the terms
 16   gender issue involved.                                          16   involved in that, which include, for example, which
 17      Q    In your view, is being transgender                      17   include what counts as atypical, what counts as
 18   considered an atypical sexuality?                               18   asexuality, what counts as gender identity and the
 19      A    Yes, that would be a consistent view                    19   various phenomena, what I will call the gender
 20   throughout, throughout my field and throughout the              20   identity umbrella. As I detail in my report, there
 21   history of sex research.                                        21   are several phenomena which can lead a person to
 22      Q    And can you reference an article in the                 22   feel uncomfortable with some aspect of how they and
 23   scientific literature that shares that view?                    23   their gender are treated within society and they
 24      A    As I say, there's no official definition                24   themselves represent completely different phenomena,
 25   of what's atypical, and there, because this is one              25   so, and people as I say use or avoid various terms

                                                                                                                  9 (Pages 30 - 33)
                                          www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 11 of 122
                              James M. Cantor                    May 2, 2024
                                                            Page 34                                                              Page 36
  1   sometimes for their scientific accuracy, sometimes               1   the province of Alberta that I opposed their
  2   for their perceived political implications and                   2   consideration at the time when they were removing,
  3   sometimes for their, for their perceived stigma.                 3   when they were considering the de-listing of
  4             So, so although the literature as a                    4   medicalized transition for as I say otherwise
  5   whole very solidly and consistently includes gender              5   qualified adults from their health care system, and
  6   identity within sexuality and recognizes its                     6   I was one of the primary advocates when the same
  7   minority status, I would have to look to see if                  7   situation was going on here in Ontario. I would
  8   there's an individual paper that used each of those              8   have to again look at my records for the exact date
  9   terms exactly the way that I do. One example would               9   of it, but those were the primary issues in which I
 10   be the, an association called the Scientific Study              10   was speaking publicly. Within the past five years,
 11   of Sex or Quad-S. Itself even in its title from its             11   of course, the debates going on in various
 12   very founding was explicit that it was studying                 12   jurisdictions has been over the transition of minors
 13   sexuality and sex and sexual behavior, but it also              13   rather than adults.
 14   is an association for which gender identity is one              14      Q    Can you identify a writing authored by you
 15   of its primary concerns. That organization and very             15   in the last five years where you have supported the
 16   many organizations, including activist                          16   rights of transgender populations?
 17   organizations, also emphasize the minority status of            17      A    Again, I would have to look to see the
 18   atypical gender identities or non-cis gender                    18   dates of the particular, of the ones that I
 19   identities.                                                     19   mentioned. I would also I suppose have to go
 20             Of course, the word minority is                       20   through my old tweets in order to recognize, in
 21   essentially a synonym of atypical, so the idea is               21   order to identify again whether they fit in the,
 22   very, very well ensconced, but the individual word              22   within the past five years or not.
 23   that a group uses reflects the history and habit of             23      Q    You've testified as an expert in support
 24   that particular organization, so as I say, I would              24   of barring transgender youth from participating in
 25   have to look to see if somebody is using each of the            25   sports consistent with their gender identity,
                                                            Page 35                                                              Page 37
  1   terms the way that I do, but there's a very, very                1   correct?
  2   long and substantial consensus that the idea itself              2      A    I can't recall a particular instance where
  3   is, you know, very well confirmed within my field.               3   I wrote an opinion specifically about a policy.
  4   I don't think that that's really a debate.                       4   Much more typically, I'm contrasting whatever
  5      Q    Turning to paragraph 5, which is on page                 5   proposals with the existing science. My role is, my
  6   3. Give Andrew a second to get there. You write,                 6   role and my desire for my own contributions for any
  7   "Throughout my career, my writings and public                    7   debate is to convey to the public and to the
  8   statements have consistently supported rights for                8   decision makers whatever the science is as best as
  9   transgender populations and the application of                   9   the science can be described so that the
 10   science to help policymakers best meet their                    10   policymakers can then integrate that science as best
 11   diversities." Did I read that correctly?                        11   as possible into whatever decision or policy is
 12      A    Yes, that is correct. There are many                    12   being integrated. I would have to see whatever
 13   examples of me supporting the rights and the                    13   specific document you have in mind.
 14   opportunities for people for whom it's clinically               14      Q    And you've also testified in support of a
 15   appropriate to receive the clinical services,                   15   ban on transgender youth using a restroom consistent
 16   including medical services, and the appropriate                 16   with their gender identity, correct?
 17   circumstances as I say to medically or socially                 17      A    Again, I, my contributions are really
 18   transition.                                                     18   about summarizing the science, what is known, what
 19      Q    Can you identify a public statement in the              19   is not known, areas that need to be conducted in the
 20   past five years where you have supported the rights             20   future so that the people, you know, engaged in
 21   of transgender populations?                                     21   whatever decision making can make that decision on
 22      A    I can't remember the specific dates and                 22   the availability of the best science, but any
 23   the nature -- I can't remember the specific dates.              23   particular policy again is really up to those
 24   The primary examples would be within here in Canada,            24   policy, policymakers and that's up to them in that
 25   when I wrote publicly in order to say that within               25   jurisdiction and the people involved. My role is to

                                                                                                                10 (Pages 34 - 37)
                                          www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 12 of 122
                              James M. Cantor                    May 2, 2024
                                                             Page 38                                                               Page 40
  1   help them make that decision on the basis of the                  1      A     That's, that's a bit complicated and there
  2   relevant science.                                                 2   are some assumptions built into what some of the
  3        Q But you have testified in litigation that                  3   terms in that question, there are some assumptions
  4   challenges a law that bars transgender youth from                 4   in the meanings of the terms of that question that I
  5   using a restroom consistent with their gender                     5   can't automatically ascribe to, again, because my
  6   identity, correct?                                                6   purpose is the proper application of the science to
  7        A I've provided the science in such cases                    7   any given circumstance. Part of that science is who
  8   exactly so that the decision makers can make that                 8   counts and what counts as a gender identity and as a
  9   decision on the basis of the science. I'm generally               9   transgender person to begin with.
 10   aware of the purpose to which the science is being               10              One of the, in fact, one of the
 11   put, but my role is to advocate for the use of the               11   primary scientific questions pertinent to the
 12   science in the decision making rather than the                   12   present case is whether the enormous explosion
 13   decision itself.                                                 13   suddenly occurring in the number of people who are
 14        Q And you've testified in support of the                    14   self identifying and being diagnosed with gender
 15   party advocating for those restrictions on                       15   dysphoria genuinely have gender dysphoria or if
 16   transgender youth?                                               16   they're being, if they are experiencing some other
 17        A I would hesitate to say that I've                         17   issue and are being misidentified and misdiagnosed
 18   testified for or against any particular person or                18   as gender dysphoric or if their gender identity,
 19   policy or side as I, as I say, and I hesitate even               19   we're talking about their gender identity is
 20   to use the word advocacy, but to the extent I'm an               20   meaningful to begin with, so to the extent that
 21   advocate at all, it's for the science itself and                 21   anybody's being protected, it's not clear that, it's
 22   it's the use in decision making, but whatever                    22   not clear that the people being, that the people for
 23   non-science related aspects are relevant to that                 23   whom the law is relevant are genuinely transgender
 24   policy is not my role. My role is the science or                 24   or have an atypical gender identity in the first
 25   compare whatever idea or proposal against the                    25   place.
                                                             Page 39                                                               Page 41
  1   science itself.                                                   1              So I can't automatic -- so when we're
  2      Q    But is it correct that you were retained                  2   talking about, when we're trying to identify the
  3   by the party advocating for those restrictions on                 3   proper method of distinguishing who would benefit
  4   transgender youth?                                                4   from medicalized transition, there are protection --
  5      A    As I say, I was aware of the purpose to                   5   it's both sides being protected, both people who are
  6   which the various parties wanted to apply the                     6   trans and people who are being mistakenly identified
  7   science, and that was the side, and the side that is              7   as trans. The more accurately we can draw that
  8   aware that the science supports their policy is the               8   line, the best we're protecting everybody, so I
  9   science that -- is the side that would be interested              9   don't think there is a way to, I don't think -- to
 10   in engaging me, but my role as I say is I am very                10   better identify the people who would benefit from
 11   careful to keep to the science itself rather than                11   medicalized transition is itself protecting trans
 12   the policy, rather than any policy.                              12   populations at the same time as protecting people
 13      Q    Is your expert testimony in lawsuits in                  13   who are being misidentified as trans.
 14   support of laws that narrow legal protections for                14      Q     Moving along to paragraph 10 on page 4,
 15   transgender individuals consistent with supporting               15   you state, "In legal matters, the most familiar
 16   rights for transgender populations?                              16   situation pertains to whether a given clinician
 17          MR. FRAMPTON: Object to the form.                         17   correctly employed relevant clinical standards.
 18      Witness can answer.                                           18   Often it is other clinicians who practice in that
 19      A    I'm sorry. Could you repeat that, please?                19   field who will be best equipped to speak to that
 20      Q    Is your expert testimony in lawsuits in                  20   question. When it is the clinical standards that
 21   support of laws that narrow legal protections for                21   are themselves in question, however, it is the
 22   transgender individuals consistent with supporting               22   experts in the assessment of scientific studies who
 23   rights for transgender populations?                              23   are the relevant experts." Based on this assertion,
 24          MR. FRAMPTON: Again, same objection. The                  24   are clinicians or experts in the assessment of
 25      witness can answer.                                           25   scientific studies best equipped to offer their

                                                                                                                11 (Pages 38 - 41)
                                         www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 13 of 122
                              James M. Cantor                    May 2, 2024
                                                            Page 42                                                              Page 44
  1   opinions in this case?                                           1   gender affirming care in legal matters is the fact
  2      A    Well, what I --                                          2   that you are not a practitioner?
  3          MR. FRAMPTON: Objection to the form. Go                   3          MR. FRAMPTON: Objection to the form. Go
  4      ahead.                                                        4      ahead.
  5      A    What I'm describing is the fundamental                   5      A    Well, it's not true that I'm not a
  6   philosophy in evidence based medicine. Again, it's               6   practitioner when said that way, but, of course, the
  7   ubiquitous, it is ubiquitous throughout every modern             7   basis of my testimony is the content of the
  8   clinical field. I don't think that that's really up              8   scientific literature and my background and
  9   to debate. Even the relevant, or even, for example,              9   experience in how to evaluate it. Conflicts of
 10   the Endocrine Society of the American Academy of                10   interest are used as a, as an exclusionary
 11   Pediatrics and so on are entirely explicit within               11   criterion, and because I don't make any income from
 12   their conflict of interest policies in indicating               12   the assessment or clinical treatment of children, I
 13   that the people who by engaging clinical tasks are              13   lack that conflict of interest. As detailed in my
 14   in a conflict of interest when evaluating, you know,            14   subsequent reports, a great deal of the opinions and
 15   whether they should be performing that task, that               15   evidence has been provided from people exactly with
 16   task at all.                                                    16   that conflict of interest, even though the standard
 17              There's no way to -- when people are                 17   in, throughout the medical and clinical fields is
 18   billing for performing a service, well, those people            18   for the participation of such people to be
 19   are necessarily biased when asked does the service              19   restricted.
 20   you provide, you know, does it work. The people who             20      Q    Is it your view that anyone who treats
 21   are, who are able to, the people best qualified to              21   patients for gender dysphoria is not a qualified
 22   assess that question are the people who lack that               22   expert on gender affirming care?
 23   conflict of interest and are able to assess the                 23      A    I don't think it's accurate to refer to
 24   quality of science supporting it as I say without a             24   conflict of interest issues as a qualifier. As I
 25   conflict of interest in the answer.                             25   say, typically, qualifications are, qualifications
                                                            Page 43                                                              Page 45
  1      Q Of the State's experts, which of those                      1   as an expert -- to answer that question properly
  2   experts would you consider to be clinicians, if you              2   requires everybody using the same definition of the
  3   know?                                                            3   term qualification and of the term expert and as I
  4      A I would have to double check their, their                   4   say, conflict, conflict of interest. There are
  5   assertions in their reports. My recollection is                  5   aspects of clinical care for which clinical
  6   that they were all clinicians.                                   6   experience can be, can be relevant. The term expert
  7      Q Of the State's experts, which of those                      7   in a legal proceeding is different from the term
  8   experts would you consider to be experts in the                  8   expert in a scientific consideration, in a
  9   assessment of scientific studies, if you know?                   9   scientific issue, so I would hesitate to
 10      A I'm sorry. I realized you asked the                        10   overgeneralize.
 11   State's experts. I was thinking of the Plaintiff's              11             A person in a, who knows the relevant
 12   experts. I don't recall offhand who the State's                 12   material can be legitimately qualified as an expert
 13   other experts were.                                             13   in the sense that they know the relevant material
 14      Q Okay. Understood. Moving down to                           14   but be disqualified because they also possess a
 15   paragraph 11, third sentence down, you state,                   15   conflict of interest, but because, but possessing a
 16   "Because the people engaged in providing clinical               16   conflict of interest doesn't mean their knowledge
 17   services are necessarily in a conflict of interest              17   is, is any less. The standard within clinical and
 18   when claiming that their services are effective,                18   medical professions is to avoid in the development
 19   formal evaluations" -- excuse me. "Formal                       19   of policies and clinical standards, to avoid both
 20   evaluations of evidence are routinely conducted by              20   fact and perception that there was a conflict of
 21   those without direct professional involvement and               21   interest involved in writing those procedures.
 22   thus without financial or other personal interest in            22             So as I say, a person can be
 23   whether services are deemed to be safe or                       23   qualified but still restricted because of the
 24   effective." Is it your position that what makes you             24   conflict of interest, but that doesn't necessarily
 25   qualified as an expert on the medical research on               25   mean that a person in the conflict of interest is

                                                                                                                12 (Pages 42 - 45)
                                            www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 14 of 122
                              James M. Cantor                    May 2, 2024
                                                              Page 46                                                               Page 48
  1   therefore necessarily lacks the relevant                           1   of anybody's political, moral or emotional views.
  2   information. Rather, that person would be                          2      Q    Would such a person have a conflict of
  3   inappropriate in, in, in developing the policy                     3   interest in opining on gender affirming care in a
  4   because a neutral observer would not be able to                    4   legal matter?
  5   differentiate whether the opinions that they                       5          MR. FRAMPTON: Objection to the form. Go
  6   provided were done in service of the science or in                 6      ahead.
  7   service of whatever their conflict was.                            7      A    What counts as a conflict of interest is
  8      Q       Is it possible for individuals who oppose               8   in itself policy, a policy question, and as I say,
  9   gender affirming medical care for minors to have an                9   in the major clinical and professional associations,
 10   interest in whether services are deemed safe and                  10   the conflicts of interest that are described are
 11   effective?                                                        11   both direct and indirect financial conflicts, and
 12      A       It's, it is certainly possible in the                  12   they also talk about, they also mention the
 13   sense that, you know, in complicated issues for                   13   intellectual conflicts of interest, you know, when
 14   which many people have knowledge of various aspects               14   one's own research or previously expressed views are
 15   or various emotions or political beliefs about what               15   being, are being evaluated. I'm not aware of such a
 16   the answer should, my own contribution is as I say                16   conflict of interest policy describing what somebody
 17   that decisions are based on scientific evidence                   17   would describe as a moral interest.
 18   rather than a person's emotions or political                      18             More frequently such policies --
 19   beliefs.                                                          19   well, not the conflict of interest policies, but the
 20      Q       For example, could a psychiatrist who                  20   guidelines for establishing clinical guidelines
 21   opposes gender affirming care to minors have a                    21   include, of course, the ethical principles, and what
 22   financial interest in banning gender affirming                    22   a person labels an ethical principle vs. moral
 23   medical intervention based on a belief that                       23   principle again is up for, up for debate, but so
 24   psychiatric treatment would see increased demand?                 24   long as one, to the extent that a group sticks to
 25      A       I'm sorry. Could you ask that again?                   25   the principles of evidence based medicine, again,
                                                              Page 47                                                               Page 49
  1      Q       Sure. Could a psychiatrist who opposes                  1   the whole purpose of using the processes of evidence
  2   gender affirming care to minors have a financial                   2   based medicine is for a legitimate defensible or
  3   interest in banning gender affirming medical                       3   best defensible or best offerable set of conclusions
  4   intervention based on the belief that psychiatric                  4   to be, to be the subject of the policy.
  5   treatment would see increased demand?                              5      Q    Scrolling down to paragraph 15 on page 6,
  6      A       It's difficult to imagine given the                     6   you state that you do not offer opinions about the
  7   current circumstance of there being such a situation               7   best public policy. As a general matter as a
  8   because the great majority, including throughout the               8   scientist, do you have any reservations about
  9   research literature, in the great majority of the                  9   blanket criminal bans on medical care?
 10   cases, the people who are undergoing transition are               10          MR. FRAMPTON: Objection to the form.
 11   already in mental health care, whether it's by a                  11      A    I'm sorry. Could you ask that once again?
 12   psychiatrist, psychologist, social worker or other                12      Q    As a general matter as a scientist, do you
 13   mental health provider, so since these people are                 13   have any reservations about blanket criminal bans on
 14   primarily already receiving such services, there                  14   medical care?
 15   wouldn't be a change in the number of people                      15          MR. FRAMPTON: Same objection.
 16   receiving such services.                                          16      A    That's a bit of a contradiction. That
 17      Q       Could a physician with moral objections to             17   question to me is a bit of a contradiction. As a
 18   gender affirming care have a personal interest in                 18   scientist, I don't have any opinion about public
 19   whether gender affirming care is deemed safe or                   19   policy. As a scientist, I only have, you know,
 20   effective?                                                        20   opinions about scientific issues. Again, I or any
 21      A       Such situations are indeed possible, which             21   scientist, you know, can assess or compare any given
 22   is exactly why we need to use the principles of a                 22   policy with the content of the science. We can
 23   systematic review and evidence based practice in                  23   apply the, we can apply the science in trying to
 24   order to ensure that the actual policies and                      24   assess what alternatives might be available, in
 25   decisions are based on the science itself regardless              25   trying to predict what the outcomes of any given

                                                                                                                 13 (Pages 46 - 49)
                                              www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 15 of 122
                              James M. Cantor                    May 2, 2024
                                                            Page 50                                                               Page 52
  1   policy or lack of a policy or alternative potential              1   Exhibit 2. Andrew, that's doc 3.
  2   policies might be, but to decide whether and to what             2            (Exhibit 2 marked.)
  3   extent any policy should be enacted by any group in              3   BY MS. MONTAG:
  4   any jurisdiction is an integration of the science                4      Q      Dr. Cantor, is this a copy of Orange 2020?
  5   with all of the other aspects that go into public                5      A      I believe it is, yes.
  6   policy, including resource allocation, the                       6      Q      And this article only discusses one
  7   alternative, the alternatives available, the powers              7   instance of suicide; is that correct?
  8   and authority of the given body enacting, enacting               8      A      I would have to reread the full article to
  9   the rules and so on.                                             9   check. The situation itself and, of course, the
 10              That distinction is the difference                   10   information I provide is that this was one as an
 11   between the systematic review process, review                   11   example of the situations which as I said, you know,
 12   process which is used in order to produce the best              12   triggered the re-evaluation that Sweden started. I
 13   information we have, and then how that, and how that            13   didn't intend this to be a comprehensive review of
 14   information is integrated into a clinical practice              14   all of the cases that occurred then.
 15   guideline, which then integrates the other aspects,             15      Q      All right. So Andrew, let's scroll down
 16   the other aspects such as people's value systems,               16   to the tenth paragraph. Okay. So third paragraph
 17   even the financial costs that an insurance system or            17   from the bottom, Dr. Cantor, and you can take a
 18   health care policy would be allocated to one issue              18   moment to read this and let me know when you're
 19   vs. other competing issues.                                     19   ready.
 20      Q     Okay. So we've been going about an hour                20            MR. FRAMPTON: Let me just ask, is there a
 21   and 14 minutes or so. I'm at a good stopping point,             21      way for him to review the actual document, or
 22   so what do you think about taking a ten-minute                  22      is he only able to see what y'all are scrolling
 23   break?                                                          23      him to?
 24      A     I'm fine with that.                                    24      Q      If he'd like to read these four pages,
 25          MR. FRAMPTON: It's good here.                            25   Andrew can do that. I don't know that we'll be able
                                                            Page 51                                                               Page 53
  1       Q Okay. So we're at 10:25. We'll come back                   1   to do that for every document today. Some are
  2   at 10:35, and we can go off the record.                          2   hundreds of pages, but, you know, if he'd like to
  3           MR. FRAMPTON: Okay. Thank you.                           3   read this, Andrew can go back up to the top and let
  4           (Brief recess.)                                          4   us know when to scroll to the next page. Does that
  5   BY MS. MONTAG:                                                   5   work?
  6       Q Andrew, could you pull up Exhibit 1? And                   6      A      Well, by coincidence, the section that's
  7   go to paragraph 26 on page 11. Okay. Dr. Cantor,                 7   available now is already mentioning one, more than
  8   here you reference a series of cases of regret and               8   one case. For example, the paragraph that starts
  9   suicide following medical transition that were                   9   with the phrase in April, a name in their language
 10   reported in Swedish media, and here you cite an                 10   that I can't pronounce, was, you know, describes a
 11   article by Orange in 2020, correct?                             11   documentary profiling a former trans person,
 12           MR. FRAMPTON: Objection to the form.                    12   Sametti. The paragraph that you were referring to
 13       A I didn't refer to those series of regrets.                13   that begins at the same time is a reference to
 14   I was summarizing the contents of the Orange                    14   another such case and so on.
 15   document, which in turn described those series of               15      Q      So that paragraph Sametti, is that
 16   regret. That was to, of course, indicate the                    16   referring to a suicide?
 17   context in which, which triggered Sweden to begin               17      A      Again, I would have to review the rest of
 18   its investigations into the issue.                              18   the document to get the full story, and my purpose
 19       Q And Orange 2020 is an article in the news                 19   in, you know, citing this at all was to provide an
 20   publication the Guardian, correct?                              20   example, to provide an example rather than to
 21       A I would have to check my own reference                    21   provide a full assessment of the full number of,
 22   list for where it came from, but that sounds --                 22   full number of cases. The situation that was
 23       Q Okay. Oh, I'm sorry.                                      23   occurring in Sweden wasn't, isn't really, was never
 24       A Yes, that's correct.                                      24   a matter of debate.
 25       Q I'm going to mark the next document as                    25      Q      So just based on what's on the screen

                                                                                                                 14 (Pages 50 - 53)
                                         www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 16 of 122
                              James M. Cantor                    May 2, 2024
                                                             Page 54                                                              Page 56
  1   right now, are you aware of this article describing               1      Q    Okay. Does the first sentence under
  2   a series of suicides in Sweden?                                   2   Introduction state, "We prepared this report to
  3      A    I would have to reread it to be, to be                    3   fulfill a request from the Florida Agency for Health
  4   sure, but the sequence of events that were going on               4   Care Administration"?
  5   within Sweden, as I said, you know, one could                     5      A    Yes, that's what it says.
  6   produce such a comprehensive review. That was never               6      Q    Okay. And this was prepared in May 2022
  7   my purpose in citing this one.                                    7   according to the very top heading?
  8      Q    Okay. In this paragraph that starts at                    8      A    Yes, it was.
  9   the same time, Filter Magazine, you can read this                 9      Q    Are you aware at this time the Florida
 10   reference. This is referring to a 32 year old                    10   Agency for Health Care Administration was gathering
 11   transgender woman, correct?                                      11   evidence to defend restrictions on gender affirming
 12      A    Yes, it appears to be.                                   12   care?
 13      Q    And are you aware of this article                        13           MR. FRAMPTON: Objection to form. Go
 14   discussing any suicides with respect to transgender              14      ahead.
 15   minors?                                                          15      A    I'm aware that there were proceedings
 16      A    I would have to reread the full article.                 16   going on at that time and that they were, you know,
 17      Q    But you're not aware of any?                             17   in considerations of the, they were considering the
 18      A    Again, I can't recall. I would have to go                18   policies, the current policies and having changed
 19   through, look more, look more thoroughly.                        19   them. I don't recall any of the specifics of the
 20      Q    You can pull that down and turn back to                  20   policy, and as I say, my, my role is always to
 21   your May 2023 report, Exhibit 1. So we're going to               21   provide the science to whoever asks for a summary of
 22   paragraph 76 on page 31.                                         22   the science, regardless of how they might be
 23      A    Yes.                                                     23   applying it.
 24      Q    And here you reference a McMaster                        24      Q    You didn't mention in your report that the
 25   University systematic review, correct?                           25   review is commissioned by the Florida Agency for
                                                             Page 55                                                              Page 57
  1      A    The people who conducted the review that I                1   Health Care Administration, correct?
  2   was discussing in that paragraph are associated with              2      A     I would have to re-review my own report.
  3   that university. I don't recall if there was any                  3   As I say, the part that's relevant to me and my
  4   official involvement of the university or any of its              4   testimony is the quality of the science rather than
  5   departments itself.                                               5   uses to which society or any person wants to put it.
  6      Q    Okay. Subheading B states the McMaster                    6      Q     Andrew, can you go back to Exhibit 1? So
  7   University Systematic Review of Systematic Reviews;               7   in paragraph 76, does this mention the Florida
  8   is that correct?                                                  8   Agency for Health Care Administration?
  9      A    Yes, that was the title that I used in                    9      A     No, it does not. It's consistent as I say
 10   order to, or the title I should say that I adopted               10   with the part that was relevant to me and relevant
 11   that other people were using in order to identify                11   to the, to my report and relevant to my testimony.
 12   them, yes.                                                       12   It was the content of the science itself.
 13      Q    Okay. So I'm marking the next document as                13      Q     Has this systematic review been published
 14   Exhibit 3. Andrew, this is doc 4.                                14   in a peer reviewed publication?
 15          (Exhibit 3 marked.)                                       15      A     Not that I recall, no.
 16   BY MS. MONTAG:                                                   16      Q     Do you know if this systematic review was
 17      Q    And Andrew, if you could scroll to the                   17   peer reviewed?
 18   next page. Is this a copy of the systematic review               18      A     I don't recall it being, no. That's one
 19   that you were referencing?                                       19   of the advantages of systematic reviews, because the
 20      A    Yes, it appears to be.                                   20   process itself requires transparency of it. Anybody
 21      Q    Who commissioned this review?                            21   who wants to, peer, other scientists or otherwise,
 22      A    It was the State of Florida.                             22   is always free to double check any of its, any of
 23      Q    Was it the Florida Agency for Health Care                23   its contents.
 24   Administration?                                                  24      Q     Do you know if the authors were paid to
 25      A    I don't recall the specific department.                  25   conduct this systematic review?

                                                                                                                 15 (Pages 54 - 57)
                                          www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 17 of 122
                              James M. Cantor                    May 2, 2024
                                                            Page 58                                                               Page 60
  1      A   I don't know that for a fact. I would be                  1      Q    The paragraph right above the second
  2   assuming.                                                        2   sentence. It reads, "Although some may question the
  3      Q   Did the authors of this review disclose                   3   decision of not including surrogate outcomes for
  4   any conflicts of interest in their paper?                        4   which there is evidence available, e.g., bone
  5      A   I don't recall. I would have to check the                 5   density, blood pressure" --
  6   original, but the purpose of the systematic review               6      A    Hang on, hang on. The paragraph above the
  7   is exactly in order to keep it at arm's distance                 7   5.4 marker starts with -- yep, that's where I was,
  8   from the group that is commissioning the review.                 8   but I don't see the sentence you were reading.
  9   The usual circumstance, the ubiquitous circumstance              9      Q    The second sentence.
 10   is that a group that wants to apply it as part of               10      A    Although some may question. Okay.
 11   developing their own policy is aware that the                   11      Q    Okay. "Decision makers should rarely
 12   members of that group are in a conflict of interest,            12   consider these outcomes and should instead focus on
 13   so the purpose of outsourcing it to groups whose                13   outcomes that do matter to people and stakeholders,
 14   expertise is in the evaluation of the science is so             14   e.g., fractures, cardiovascular events." Do you
 15   that that evaluation is done by people without that             15   agree with the authors that outcomes such as bone
 16   conflict of interest, so again, that's the purpose              16   density should rarely be considered?
 17   of the entire endeavor, but I would have to check               17      A    I don't think a global statement can be
 18   the original document to see if they indicated as               18   made about that. It depends on the question. It
 19   they outlined the circumstances in which they were              19   depends on the policy in question. It depends on
 20   engaged.                                                        20   the purposes of the, of the reviewers and of the
 21      Q   If you know, what are the academic                       21   people engaging the review.
 22   backgrounds of the authors of this systematic                   22      Q    Going back to your May 2023 report,
 23   review?                                                         23   Exhibit 1, and we're going to paragraph 106 on page
 24      A   Oh, they are, I'm aware of them because                  24   46. Are you there?
 25   they are exactly so well known within the evidence              25      A    Now, I'm there.
                                                            Page 59                                                               Page 61
  1   based medicine field.                                            1      Q    There you write about how gender identity
  2      Q   But do you know their academic                            2   is subjective, correct?
  3   backgrounds?                                                     3      A    Different people use gender identity to
  4      A   Not the specifics of them. Not the                        4   refer to different phenomena, and there are several
  5   specifics of them, yeah.                                         5   different aspects which inform gender identity, and
  6      Q   Do you know whether they have research                    6   there are debates over what does and doesn't or
  7   interest in gender affirming medical care?                       7   should or shouldn't count. What I'm referring to in
  8      A   To the best of my knowledge, they do not,                 8   the context of my report is that the way that gender
  9   but I would have to look as I say to be sure.                    9   identity is being assessed and treated is purely
 10      Q   You were also retained by the State of                   10   upon the subjective report of the client in general.
 11   Florida regarding its restrictions on gender                    11   In fact, it's the, the Plaintiff's experts
 12   affirming care for which this review was                        12   repeatedly refer to gender identity as an innate
 13   commissioned, correct?                                          13   sense or internal, internal sense, which, of course,
 14      A   Yes, early in their proceedings.                         14   is the result purely of -- which is almost a
 15      Q   And that was the Decker v. Wieda                         15   definition of subjective.
 16   (phonetic) case?                                                16      Q    To confirm, do you believe gender
 17      A   I would have to check the name. As listed                17   dysphoria is a legitimate medical condition?
 18   on my CV, I'm involved in multiple cases and it's               18      A    That depends on exactly what a person,
 19   easy for me to mix up names, so I will double check,            19   first, what a person means by gender dysphoria, the
 20   I would have to double check to be sure, but that               20   means by which somebody is assessing gender
 21   sounds correct.                                                 21   dysphoria and even what does vs. does not count as
 22      Q   So Andrew, on Exhibit 3 -- that's doc 4 --               22   a, as a medical condition. For example, gender
 23   turning to page 5, the last sentence above                      23   dysphoria is, because it's a, in the American
 24   Subsection 5.4. Do you see it, Dr. Cantor?                      24   psychiatric manuals, it's diagnosable by non-medical
 25      A   I see 5.4. Which paragraph are you --                    25   personnel, including myself, psychologists, so

                                                                                                                 16 (Pages 58 - 61)
                                         www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 18 of 122
                              James M. Cantor                    May 2, 2024
                                                             Page 62                                                              Page 64
  1   whether that counts as a medical or non-medical                   1   medical doctor, correct?
  2   diagnosis is a matter of legitimate debate. There                 2         A    Yes, that is correct. My degree is in
  3   is more than one motivation for a person, that could              3   clinical psychology.
  4   lead to a person feeling uncomfortable with, with                 4         Q    Turning to paragraph 126 of your report on
  5   their gender as I, you know, outlined in some detail              5   page 55. Are you there?
  6   in my report. Also, very much of the current set of               6         A    Yes, I am.
  7   issues follow from whether people are being                       7         Q    The second sentence reads, "Because only a
  8   misdiagnosed as gender dysphoric, so the question                 8   minority of gender dysphoric children persist in
  9   is, the relevant issue is less whether the entity                 9   feeling gender dysphoric in the first place,
 10   ever exists for anybody or whether it's being                    10   'transition on demand' increases the probability of
 11   misapplied and whether it's legitimately used for                11   unnecessary transition and unnecessary medical
 12   everybody for whom it is being applied.                          12   risks." What is transition on demand?
 13      Q    Do you agree there are other conditions                  13         A    That would be people who begin to receive
 14   ascertained only by self reporting?                              14   medical interventions before the exploration of any
 15      A    There are, when a -- there are conditions                15   alternatives when the patient's presentation of
 16   that can be reasonably diagnosed based upon                      16   their own diagnosis is assumed to be true without
 17   subjective self report if, for example, there are no             17   meaningful evaluation of any other possibilities.
 18   objective indicators, you know, contradicting that               18         Q    Do you have any personal experience
 19   self report, but that's exactly opposite to the                  19   observing a gender clinic engaging in transition on
 20   situation that we have with gender dysphoria. With               20   demand?
 21   gender dysphoria, all of the objective evidence is               21         A    Most of my information comes from the
 22   that all of the observable tissue is perfectly                   22   formal evaluations that have been conducted of such
 23   healthy, so in the case of gender dysphoria, a                   23   clinics, but I myself have not engaged in such an
 24   diagnosis is being made despite every objective                  24   investigation.
 25   criterion where in other conditions, the diagnosis               25         Q    And you have no personal basis to assert
                                                             Page 63                                                              Page 65
  1   is made without there being, you know, such                       1   that UAB Children's has provided transition on
  2   contradictions.                                                   2   demand?
  3      Q    You agree migraines are a condition                       3             MR. FRAMPTON: Objection to form. Go
  4   ascertained only by self reporting?                               4      ahead.
  5      A    No, not, not exactly. There exists --                     5      A      I am not providing any testimony on UAB's
  6   although we don't necessarily need to do a brain                  6   clinic itself but as I say, on the science on which
  7   scan or to obtain physiological evidence in order                 7   such, such decisions would be made.
  8   to, in order to diagnose an individual patient, the               8      Q      And you have no personal basis to assert
  9   scientific question is whether there has been                     9   that any medical provider in Alabama has been
 10   objective evidence demonstrating the validity of the             10   providing transition on demand to adolescents?
 11   condition at all, and we do have such physical                   11             MR. FRAMPTON: Same objection. Go ahead.
 12   evidence of there being, for example, the presence               12      A      I'm not providing any testimony about any
 13   of pain, the activity of the pain responders in the              13   individual clinician in Alabama.
 14   brain during migraines. There's nothing in the                   14      Q      Turning to paragraph 137, which is on page
 15   subjective report of the discomfort associated with              15   59.
 16   migraine. It doesn't contradict any physical                     16      A      Yes.
 17   evidence, which as I say is unlike the situation we              17      Q      Here you're discussing adolescent onset
 18   have with gender dysphoria.                                      18   gender dysphoria, correct?
 19      Q    Would you agree depression is a condition                19      A      Yes, I am.
 20   ascertained only by self reporting?                              20      Q      And you cite Littman 2018 as one source?
 21      A    The same situation applies. There exists                 21      A      Yes, I am. That was one of the initial
 22   objective indicators with which the subjective                   22   identifiers for the significant information that
 23   report is consistent, making it very different from              23   made this new presentation leading to gender
 24   the situation with gender dysphoria.                             24   dysphoria got and why it was so distinct from the
 25      Q    And you testified earlier you're not a                   25   previously known types.

                                                                                                                 17 (Pages 62 - 65)
                                         www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 19 of 122
                              James M. Cantor                    May 2, 2024
                                                             Page 66                                                             Page 68
  1      Q    Littman 2018 refers to Lisa Littman's                     1   perfectly appropriate.
  2   study entitled Parent Reports of Adolescents and                  2      Q   Does your critique about surveys here in
  3   Young Adults Perceived to Show Signs of a Rapid                   3   paragraph 59 apply to Littman's 2018 paper?
  4   Onset of Gender Dysphoria?                                        4      A   The statement applies to the research
  5      A    That sounds like the correct title, yes.                  5   question being asked. It is inappropriate as the
  6      Q    Okay. Andrew, can we scroll back up to                    6   almost cliche statement goes, correlation is not
  7   paragraph 59 on page 25? Are you there?                           7   causation. When one is looking for the effects or
  8      A    I'm there, yes.                                           8   effectiveness or safety of a treatment, one is
  9      Q    Okay. You state here that surveys do not                  9   making a causal conclusion. For that kind of a, to
 10   represent --                                                     10   answer that kind of a question, one cannot use a
 11      A    I'm sorry. You said page 25? I ended up                  11   survey. In order to identify correlations among
 12   on paragraph 25.                                                 12   clusters of variables, a survey is appropriate.
 13      Q    Oh, sorry. Let me know when you're there.                13      Q   If you know, how did Littman recruit
 14      A    Got it.                                                  14   participants for her 2018 paper?
 15      Q    Okay. You state here in paragraph 59,                    15      A   I don't recall offhand if it was from an
 16   "Surveys do not represent objective evidence. This               16   on line support group or by word of mouth.
 17   is especially true of non-random surveys and polls               17      Q   Does it sound right that it was via
 18   recruited through on line social networks of the                 18   websites of parents who shared a specific view of
 19   like minded." Dr. Cantor, what was the design on                 19   gender transition?
 20   Littman's 2018 study?                                            20          MR. FRAMPTON: Object to the form.
 21          MR. FRAMPTON: Objection to the form. Go                   21      A   I don't, I would not be at all surprised
 22      ahead.                                                        22   if it was from a website again for people, you know,
 23      A    Well, the design was appropriate to the                  23   in a similar, in a similar circumstance. Whether
 24   research question being asked. She was looking for               24   they shared a similar view, I don't even know how,
 25   the correlations and the various features that are               25   how it would assess that.
                                                             Page 67                                                             Page 69
  1   being reported by the parents observed in the,                    1      Q Let's scroll down to paragraph 138, and
  2   within the children, so she, the conclusions in that              2   that's page 160.
  3   paper, of course, match the methods and the                       3      A I'm there.
  4   limitations of the methods that were employed. It                 4      Q Okay. You state that, "Current studies
  5   is exactly how we begin to ask a research, research               5   are limited to surveys typically of volunteers from
  6   questions.                                                        6   activist and support groups on the internet." What
  7      Q   Would you consider her design to include a                 7   were you describing there?
  8   non-random survey?                                                8      A Sorry. Which sentence?
  9      A   As I say, for the questions that she was                   9      Q "Current studies are limited to surveys
 10   asking, a non-random survey would be exactly                     10   typically of volunteers from activist and support
 11   appropriate. The first step in presuming a research              11   groups on the internet."
 12   question is to make a broad statement and then begin             12      A Oh, yes. In this context, I'm discussing
 13   to follow up the various possibilities to explain                13   again the outcome studies which are asserting the
 14   whatever it was that was observed.                               14   effectiveness and safety of treatments. Those are
 15      Q   So just to make sure I understand, you                    15   the kinds of studies that require relatively
 16   would consider her design to include a non-random                16   advanced research methods.
 17   survey?                                                          17      Q And were you describing the Littman 2018
 18      A   That describes the method that she used,                  18   paper there?
 19   but any conclusion about the appropriate,                        19      A The Littman study is not, is not an
 20   appropriateness of any given method is compared with             20   outcome study. It was not, you know, reporting
 21   the question being asked. Had Littman, for example,              21   whether something was, was safe or effective. As I
 22   been asking what the treatment outcome was, then                 22   said, whether a study is good or not is how well
 23   this method would be inappropriate, but the question             23   matched it is to the research question that it's
 24   she was asking was for clusters of variables to                  24   asking, and the Littman study was perfectly
 25   begin a series of questions. For that, it's                      25   appropriate for the question it was asking.

                                                                                                               18 (Pages 66 - 69)
                                         www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 20 of 122
                              James M. Cantor                    May 2, 2024
                                                             Page 70                                                               Page 72
  1      Q    Going to paragraph 137, so the one just                   1   but not the cases that are, you know, now the large
  2   above that, and I'm looking at the second full                    2   majority of the cases appearing in clinics
  3   sentence on page 60.                                              3   describing gender dysphoria suddenly without having
  4      A    Yes.                                                      4   had a childhood history of it.
  5      Q    Okay. It says, "The patterns reported by                  5      Q    Do you know if parents of ROGD kids have
  6   Littman have now been independently replicated by                 6   publicly stated positions on gender affirming care
  7   another study, which also found it to be a                        7   for minors?
  8   predominantly female phenomenon associated with very              8      A    I haven't looked, no.
  9   high rates of social media use among youth with                   9      Q    Would an affiliation with Parents of ROGD
 10   other mental health issues and in association with               10   Kids constitute a personal conflict of interest in
 11   peers expressing gender dysphoria issues." And you               11   co-authoring this article?
 12   cite Diaz 2023. Diaz 2023 refers to a paper                      12      A    Conflicts of interest in publishing
 13   entitled Rapid Onset Gender Dysphoria, Parent                    13   individual research papers are not the same as the
 14   Reports on 1655 Possible Cases; is that right?                   14   conflict of interests that are relevant in
 15      A    That title sounds correct, yes.                          15   establishing, in establishing policy. For example,
 16      Q    Okay. And it was authored by Suzanna Diaz                16   the scientists or anybody who's publishing a paper
 17   and J. Michael Bailey?                                           17   in a peer reviewed journal very typically are
 18      A    That sounds correct, yes.                                18   pursuing information about a topic or an idea that
 19      Q    Okay. I'm marking the next document as                   19   they have previously expressed, so that's a matter
 20   Exhibit 4, and Andrew, it is doc 5.                              20   of routine course when publishing a paper but is
 21          (Exhibit 4 marked.)                                       21   very, very different when establishing a, a clinical
 22   BY MS. MONTAG:                                                   22   care policy which affects or can so easily
 23      Q    Dr. Cantor, are you aware that Suzanna                   23   potentially affect the well-being of other people in
 24   Diaz is a pseudonym?                                             24   clinical care.
 25      A    Yes, I am.                                               25      Q    So is your answer that an affiliation with
                                                             Page 71                                                               Page 73
  1      Q    And Suzanna Diaz lists the affiliation of                 1   Parents of ROGD Kids would not constitute a personal
  2   Parents of ROGD Kids, New York, New York, USA, in                 2   conflict of interest in co-authoring this article?
  3   note one?                                                         3          MR. FRAMPTON: Object to the form. Go
  4      A    Yes.                                                      4      ahead.
  5      Q    Do you know what Parents of ROGD kids is?                 5      A    What constitutes a conflict of interest
  6      A    I'm roughly aware of it. I haven't tried                  6   for publishing journal articles is not the same
  7   pursuing any of its, any details across it. As                    7   criteria as what constitutes a conflict of interest
  8   usual, I, you know, assess science on the basis of                8   for establishing clinical policy.
  9   the science itself.                                               9      Q    This article was published in the Archives
 10      Q    So what, what is Parents of ROGD Kids?                   10   of Sexual Behavior in March 2023, correct?
 11      A    Oh, I only know it as a support group for                11      A    That's correct, yes.
 12   parents who find themselves in this situation and                12      Q    Andrew, maybe scroll up. Okay. And the
 13   are trying to share information and mutual support               13   publisher is Springer?
 14   over the experience.                                             14      A    Yes, I believe it is.
 15      Q    And what experience are you referring to?                15      Q    And Springer retracted this article?
 16      A    As in their title, that one of their                     16      A    I don't recall the particular -- I don't
 17   children are, is experiencing, you know, gender                  17   remember where in the hierarchy the changes were,
 18   dysphoria, but they're not, but who don't fit any of             18   where in the hierarchy the decision was made and
 19   the phenomena for which, you know, our science on                19   then the paper was, you know, re-published in the,
 20   gender dysphoria, for which the only original                    20   in a different journal, same paper, same, you know,
 21   information about gender dysphoria was designed, the             21   the peer review process, so its content again is
 22   original types again as outlined in my report with               22   exactly as legitimate, and of course, in the
 23   the early onset cases pertaining to prepubescent                 23   intervening time, a great deal, several other papers
 24   children or the late onset cases generally in                    24   have been published producing exactly the same
 25   adulthood, in middle age, generally in adulthood,                25   information as appears in my report, including now

                                                                                                                 19 (Pages 70 - 73)
                                          www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 21 of 122
                              James M. Cantor                    May 2, 2024
                                                             Page 74                                                               Page 76
  1   systematic reviews.                                               1             So as I say, the open access movement
  2       Q And you see it says retracted article as a                  2   is a part of trying to make it easier for the public
  3   watermark here?                                                   3   to receive, receive access to the, to the research
  4       A I see that's printed on this copy, yes.                     4   being published. That was well endorsed by,
  5       Q I'm marking the next document as Exhibit                    5   especially by the large scale funders of research
  6   5. Andrew, that's document 6.                                     6   such as the National Institutes of Health in the
  7          (Exhibit 5 marked.)                                        7   U.S., CIHR in Canada. Because the public is funding
  8   BY MS. MONTAG:                                                    8   so much of the research, the desire was so that the
  9       Q And Dr. Cantor, this is entitled                            9   public would have access to the results of the
 10   Retraction Note: Rapid Onset Gender Dysphoria,                   10   research they were funding, and so this process was
 11   Parent Reports on 1655 Possible Cases, and in the                11   meant to help facilitate that.
 12   first paragraph, this states, "The publisher and                 12      Q    Are you aware that open access to the DS
 13   editor in chief have retracted this article due to               13   2023 article was funded by the Society for Evidence
 14   non-compliance with our editorial policies around                14   Based Gender Medicine?
 15   consent. The participants of this study have not                 15      A    If I was aware of it, I had since
 16   provided written informed consent to participate in              16   forgotten.
 17   scholarly research or to have their responses                    17      Q    Are you familiar with the Society for
 18   published in a peer reviewed article. Additionally,              18   Evidence Based Gender Medicine?
 19   they have not provided consent to publish to have                19      A    I am familiar with it, yes.
 20   their data included in this article." So do you                  20      Q    Do you know whether the Society for
 21   agree seeing this here that Springer retracted this              21   Evidence Based Gender Medicine has particular views
 22   article?                                                         22   on gender affirming medical care for minors?
 23       A I'm aware of the retraction process, of                    23      A    In general, their view is that the care
 24   course, but the whole truth is, of course, includes              24   processes are, you know, using the accepted
 25   the re-publication of this, of this same article in              25   processes of evidence based, evidence based
                                                             Page 75                                                               Page 77
  1   another, in another journal, and the conclusions of               1   medicine.
  2   it exactly as indicated in my report have been                    2      Q    Dr. Cantor, according to your CV, you're a
  3   supported in now multiple other articles, including               3   member of the editorial board of the Archives of
  4   a systematic review of the totality of the evidence.              4   Sexual Behavior, correct?
  5      Q   And we'll get to the re-publication in a                   5      A    Yes, that is correct. I have been for
  6   moment. If a scientific publication states that                   6   many years now.
  7   open access to that paper has been funded by a                    7      Q    And that's still true as of today?
  8   particular entity, what does that mean?                           8      A    Yes, it is.
  9      A   The open access, I don't know whether it's                 9      Q    Were you involved with the decision to
 10   better called a movement or tradition or habit,                  10   publish the DS 2023 paper?
 11   ultimately is an attempt to prevent the pay walls                11      A    No, I was not.
 12   that have been used in which block the public access             12      Q    Did you review the manuscript of the DS
 13   to information provided in journal contents.                     13   2023 paper before its initial publication?
 14   Typically, if a member of the public wanted to                   14      A    No, I did not.
 15   download an article so they could read it for                    15      Q    Did you object to the decision to retract
 16   themselves, it could be they have to pay a fee to                16   the DS 2023 paper?
 17   receive it. I've seen anywhere between, you know,                17      A    Not that I recall. I do sometimes remark
 18   $30 and $50 U.S. in general per article, so some                 18   on such things. I don't recall if I did so for this
 19   authors, writers have instead been paying a fee                  19   one.
 20   upfront, the actual authors of the research article,             20      Q    Is it correct that you've no personal or
 21   so that the publisher then receives its money that               21   firsthand experience treating patients for what is
 22   it would have received from downloads of the                     22   called rapid onset gender dysphoria?
 23   article, and with that fee paid upfront, that                    23      A    No, that's not exactly true. In the range
 24   article is then available to anybody who wants to                24   of people that I see clinically, they have a broad
 25   download it.                                                     25   range of backgrounds, and sometimes that does indeed

                                                                                                                  20 (Pages 74 - 77)
                                         www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 22 of 122
                              James M. Cantor                    May 2, 2024
                                                             Page 78                                                               Page 80
  1   include people with a history of what could                       1   experimental typically denotes unverified by
  2   legitimately be labeled ROGD.                                     2   experimental evidence." Do you have a citation for
  3      Q    Have you ever participated in the decision                3   that assertion?
  4   to diagnose someone with rapid onset gender                       4      A    Several exist. It's not a controversial
  5   dysphoria?                                                        5   statement, so I didn't bother trying to include one.
  6          MR. FRAMPTON: Object to the form.                          6   I don't think it would be difficult to, difficult to
  7      A    That's a little bit hard to say. In an                    7   find one.
  8   appropriate diagnostic process, one is assessing                  8      Q    Staying in that paragraph, you further
  9   every aspect of the person and trying to identify a               9   state, "A treatment would continue to be
 10   label that would lead to the most appropriate care.              10   experimental until the demonstration of one,
 11      Q    Rapid onset gender dysphoria is not                      11   reliable clinically meaningful improvement, and two,
 12   included in the DSM-5 TR, is it?                                 12   the reliable estimation of safety risks in
 13      A    That wouldn't be possible. ROGD was                      13   randomized controlled trials (RCTs) or research of
 14   identified after the, after the publication of that              14   equivalent level of evidence." Do you have a
 15   manual.                                                          15   citation for this assertion?
 16      Q    When was the TR published?                               16      A    The same. It's exactly because this is a
 17      A    Well, the TR didn't make any -- the TR in                17   very, very standard definition throughout clinical
 18   DSM-5 TR is text revision. The whole purpose of                  18   science, I didn't think it would be worth seeking
 19   that is to make explicit that it did not make any                19   one, but I don't think it would be difficult to find
 20   changes to the diagnoses or the diagnostic criteria              20   one.
 21   itself. The only changes were to the, the text                   21      Q    What does research of equivalent level of
 22   provided in it describing those diagnoses and                    22   evidence mean?
 23   updated knowledge about them. What is vs. is not                 23      A    For some research questions, it's possible
 24   within the DSM was determined at the publication of              24   within a single study to answer several issues all
 25   the DSM-5 before the TR.                                         25   at the same time. In some circumstances, those
                                                             Page 79                                                               Page 81
  1      Q    And the DSM-5 TR was published in 2022,                   1   questions can only be answered one piece at a time,
  2   correct?                                                          2   and so it takes a series of papers or cluster of
  3      A    That sounds correct, yes.                                 3   studies in order to demonstrate each of the relevant
  4      Q    Are you aware of any medical body that                    4   criteria one study at a time, and then it's a matter
  5   recognizes rapid onset gender dysphoria as a medical              5   of accumulating the information all together within
  6   condition?                                                        6   one place in order to come to the larger conclusion.
  7      A    I'm not aware of anybody asserting that it                7      Q   Let's turn to page 21. Let me know when
  8   is a medical condition. The term is used to                       8   you're there.
  9   describe, to describe a phenomenon which is, of                   9      A   21 you said? So we're going back?
 10   course, very common throughout mental health,                    10      Q   We're going back.
 11   through mental health care. It's a label that's                  11      A   I'm there.
 12   used to describe the situation. What does and                    12      Q   Okay. The first sentence of the header
 13   doesn't count as a diagnosis is a, you know,                     13   for Subsection C says, "The highest level
 14   complicated multi-, multi-faceted question. The                  14   experimental study of clinical safety and
 15   best analogy would be, for example, sexual minority              15   effectiveness is the randomized controlled trial
 16   stress. It is discussed widely throughout the                    16   (RCT)." Can any research be equivalent to an RCT in
 17   literature that it exists, that, you know, people                17   your view?
 18   need to receive appropriate treatment for it, but it             18          MR. FRAMPTON: Objection to the form. Go
 19   is not of itself a diagnosis.                                    19      ahead.
 20      Q    Back to your report, this is Exhibit 1,                  20      A   Well, as I say, the purpose of an RCT is
 21   and moving on to paragraph 166. Let me know when                 21   that it simultaneously excludes the multiple
 22   you're there.                                                    22   different factors which can mimic effectiveness in
 23      A    I'm there.                                               23   treatment studies, so it's -- which is what makes it
 24      Q    You state that, "Outside research studies                24   the gold standard. If one -- but it could also be
 25   and within public and legal context, the term                    25   possible to investigate each of the, those

                                                                                                                 21 (Pages 78 - 81)
                                          www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 23 of 122
                              James M. Cantor                    May 2, 2024
                                                             Page 82                                                           Page 84
  1   individual factors, any one of which can mimic                    1   experimental since the evidence base is
  2   effective treatment in order to rule out as                       2   observational studies, not RCTs?
  3   possibilities that any of them, that any of them                  3          MR. FRAMPTON: Objection to the form.
  4   were factors. An RCT as I say is a way to do it all               4      A   Again, it depends on exactly what one
  5   at once, but in the absence of that, one would then               5   means by, by experimental. The treatment for,
  6   seek the various other types of research in order to              6   puberty blockers for precocious -- precocious
  7   exclude those alternative possibilities one at a                  7   puberty is a combination of several factors,
  8   time.                                                             8   including the diagnosis is on the basis of very
  9      Q    Just to confirm, is it your view that                     9   objective evidence. The lack of alternatives for
 10   until there's an RCT on medical gender affirming                 10   physical treatments and, you know, the accumulated
 11   care, no treatment can be considered anything beyond             11   outcome studies, outcome studies that we have for
 12   experimental?                                                    12   it, each of those factors make it very, very
 13           MR. FRAMPTON: Same objection. Go ahead.                  13   different from gender dysphoria.
 14      A    That's not entirely true. The term                       14      Q   So scrolling to paragraph 200 on page 88.
 15   experimental as I say in my report is used in                    15   Are you there?
 16   different ways and different contexts. The primary               16      A   Almost. Now, I'm there.
 17   context in which it's been used in the U.S. based --             17      Q   Okay. You cite here to Jesse Singal, who
 18   as it's been used by American clinical associations              18   you describe as a knowledgeable journalist
 19   has been not in the context of determining                       19   investigating transgender issues. Do you know if
 20   scientific status but in the other factors that are              20   Mr. Singal has a background in scientific research?
 21   involved in it. For example, as the Cass reviews                 21      A   I'm not aware of him having a formal
 22   recently pointed out, you know, what is and is not               22   degree in science itself. To the best of my
 23   experimental to a scientist is only true in the case             23   knowledge, his background is relevant to science
 24   of while conducting a particular experimental study.             24   journalism.
 25             In the American health care system,                    25      Q   Do you know what Mr. Singal's
                                                             Page 83                                                           Page 85
  1   the term experimental is used by health insurance                 1   qualifications are to evaluate scientific articles?
  2   systems as part of excluding from coverage                        2       A Outside of what I said to the -- I have,
  3   experimental treatments. Physicians, therefore, and               3   you know, tried a comprehensive evaluation of
  4   various guild associations of physicians are in the               4   everything, of everything that he said or of every
  5   position of needing to deny that something is                     5   topic that he's written on. Of the ones that I have
  6   experimental in order for that case to be covered by              6   read, which are generally about, about this issue,
  7   its insurance. In the broader assessment of at what               7   they've consisted as invariably as I can recall of
  8   point a treatment that begins in development and                  8   fact checking and of valid statements comparing
  9   then proceeds to more, to be established, there is                9   claims that are made against the criteria that are
 10   rarely a single objective, clearcut point at which               10   used, you know, in fact, in that fact checking. His
 11   something graduates from experimental to                         11   journalism includes bringing material to the, to
 12   established, so I can't say -- I'm sorry. Could you              12   the, you know, published experts of that particular
 13   say the initial question again?                                  13   field, inviting authors of the works that he's
 14      Q     Is it your view that until there's an RCT               14   evaluating to provide their own comments. Again,
 15   on medical gender affirming care, no treatment can               15   exactly the way that a scientific journalist should.
 16   be considered anything beyond experimental?                      16           (Exhibit 6 marked.)
 17           MR. FRAMPTON: Object to the form. Go                     17   BY MS. MONTAG:
 18      ahead.                                                        18       Q Marking the next document as Exhibit 6,
 19      A     Ah. So I can't say that as a, as a global               19   and Andrew, this is doc 7. Dr. Cantor, does this
 20   statement. So I can't say that as a global                       20   appear to be a copy of Mr. Singal's article that
 21   statement, and of course, also have to acknowledge               21   you've cited?
 22   that the term experimental itself is being used to               22       A I think so. This isn't the format that I
 23   mean different things in different contexts.                     23   remember seeing it in, but the, the identifying
 24      Q     Do you consider the use of puberty                      24   information matches.
 25   blockers to treat precocious puberty to be                       25       Q All right. So this is a PDF. You know,

                                                                                                               22 (Pages 82 - 85)
                                          www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 24 of 122
                              James M. Cantor                    May 2, 2024
                                                            Page 86                                                              Page 88
  1   the link got transferred to a PDF, so that's why it              1   of, you know, papers or sometimes other article
  2   looks different.                                                 2   authors' conclusions, and his views are to compare
  3       A As I say, the text of it looks as I                        3   those to the legitimate methods of science, and so
  4   remember it, but this is a different format than I               4   his views consist of pointing out where those
  5   remember.                                                        5   contradictions are.
  6       Q Great. Is Mr. Singal's article peer                        6      Q    Mr. Singal's criticizing the Chen study in
  7   reviewed?                                                        7   this article, correct?
  8       A No, not that I'm aware of.                                 8      A    That's my rough recollection of it. I
  9       Q Is Mr. Singal's article published in a                     9   would have to reread it to check.
 10   scientific journal?                                             10      Q    And you contend that Chen cherry picked
 11       A As I say, he's a science journalist. He's                 11   the evidence regarding completed suicides, correct?
 12   not claiming to be, not claiming that it's original             12      A    I would have to again reread the details
 13   science of his own. It's legitimate coverage and                13   of the article. The parts of it that are most
 14   legitimate description of the content of the                    14   relevant are that the Chen study included three
 15   relevant material.                                              15   people who completed suicide, which for a single
 16       Q And this was published on Substack; is                    16   sample from a single clinic that is trying to
 17   that correct?                                                   17   prevent it, that is an enormous number. It is -- so
 18       A So far as I know, yes.                                    18   the Chen study itself as I say is highly
 19       Q Is Substack a scientific journal?                         19   questionable. One of its most profound failures was
 20       A No.                                                       20   to cite its methodology in full. For example, it
 21       Q Does Substack have an editorial board that                21   doesn't even mention whether the participants in the
 22   reviews articles for accuracy before publication?               22   study were undergoing psychotherapy or other mental
 23       A Well, for this particular work, of course,                23   health treatment at the same time. Because that
 24   I can do that evaluation myself. I've read exactly              24   kind of confound has been one of the issues making
 25   the same works, and that is not difficult for me to,            25   so many of the existing studies inconclusive,
                                                            Page 87                                                              Page 89
  1   to compare it against, you know, what any peer                   1   Dr. Chen's study left that factor out all together,
  2   reviewer would.                                                  2   making it impossible for anyone to know to what
  3      Q    Can any person publish an article on                     3   extent that could be a problem with the Chen study,
  4   Substack?                                                        4   contributes to our having to call it uninformative.
  5      A    Although in theory, anybody can publish                  5   It simply didn't provide its own methods with
  6   whatever it is that they want, a person, a                       6   sufficient detail for it to be reliably assessed.
  7   professional journalist in order to maintain that                7      Q    Okay. So let's go back to your report
  8   level of journalism has to hold himself or herself               8   that's Exhibit 1, and I'm looking at paragraph 199,
  9   to a higher standard than that, and as I say, I                  9   and right toward the end of it, it states here --
 10   myself am more than capable of assessing exactly the            10   let me know when you're there. The next page,
 11   same content.                                                   11   Andrew. Are you there, Dr. Cantor?
 12      Q    You know if Mr. Singal has any conflicts                12      A    Yes.
 13   of interest that would affect his analysis?                     13          MR. FRAMPTON: I'm sorry. What page are
 14      A    Not that I know of within, again,                       14      you directing him to just so I can --
 15   acknowledging, you know, what it is that, you know,             15      Q    Paragraph 199, the last sentence.
 16   constitutes a conflict of interest in different, in             16          MR. FRAMPTON: Okay. Thank you.
 17   different arenas. His critical evaluation of the                17      Q    It says here, "Although the report did not
 18   works in this field are pretty well known. I don't              18   include data on co-morbid mental health diagnoses,
 19   think across any of the very many commentaries that             19   it noted that two patients receiving cross-hormone
 20   he's published, I can't think of anybody finding a              20   treatment died by suicide."
 21   single -- no pun intended -- factual error in any               21      A    Yes. Yes.
 22   claim he's made.                                                22      Q    So do you agree it was two patients who
 23      Q    And what are those well known views?                    23   died by suicide, not three as you just mentioned?
 24          MR. FRAMPTON: Object to the form.                        24      A    Yeah, yes. That is correct.
 25      A    Well, again, he's describing the content                25      Q    Is there any evidence that would allow

                                                                                                                23 (Pages 86 - 89)
                                          www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 25 of 122
                              James M. Cantor                    May 2, 2024
                                                            Page 90                                                               Page 92
  1   someone to definitively conclude that the suicides               1   that also would at least greatly interfere with her
  2   that occurred among the Chen study participants were             2   capacity for breast feeding later in adulthood.
  3   caused by the gender affirming interventions being               3      Q      How so?
  4   provided?                                                        4      A      She wouldn't have developed the relevant
  5      A   I'm not aware of anyone making that claim,                5   anatomy required to produce, to lactate.
  6   including myself. Making a causal claim as I said                6      Q      Is that true in all circumstances?
  7   earlier requires, you know, very specific                        7      A      Again, I would always hesitate to say
  8   circumstances so we can rule out the other                       8   anything is always true. It is exactly because of
  9   possibilities. However, the, in the assessment of                9   the lack of research in such, in such situations
 10   risks, we need -- when causing suicide is among the             10   that makes it experimental. There has not yet been,
 11   possible risks, we need to act appropriately, but               11   these kinds of cases have not yet presented the
 12   that's very different from marking the opposite                 12   kinds of numbers where we had any reliable research
 13   conclusion that a treatment causes a, causes a                  13   on it at all. The patients are, you know,
 14   benefit.                                                        14   consenting to procedures for which many of the
 15              I don't believe -- in my report, I                   15   potential outcomes are simply unknown.
 16   did not include and it is not my testimony that the             16      Q      Do you have a citation for the proposition
 17   suicides were caused by the, the Chen study -- by               17   that puberty blockers and hormone therapy can result
 18   participating in the Chen experiment. The relevant,             18   in a permanent loss of capacity for breast feeding
 19   the relevant conclusion is that very much of the                19   in adulthood?
 20   purpose of what the providers are calling gender                20      A      I'm sorry. Ask that again?
 21   affirming care is to prevent suicides, so that                  21      Q      Can the court reporter read that back,
 22   suicides as such -- that death by suicide is being              22   please?
 23   reported in, in a much larger than usual proportion             23          REPORTER: Sorry. I didn't hear you
 24   of patients is a rather dramatic indicator of the               24      clearly, so maybe --
 25   failure of the care to prevent part of what it was              25      Q      Oh, let me try to ask the question again.
                                                            Page 91                                                               Page 93
  1   meant to prevent. As I say, in my report, I'm not                1   Do you have a citation for the proposition that
  2   claiming and I'm not aware of anybody claiming that              2   puberty blockers and hormone therapy can result in a
  3   the suicides were caused by the treatment.                       3   permanent loss of capacity for breast feeding in
  4      Q   Okay. Turning back to your report,                        4   adulthood?
  5   paragraph 206. That's page 90.                                   5      A      I would have to go back and check my
  6      A   I'm there.                                                6   original notes when I composed this. Again, this is
  7      Q   Okay. You assert, "The decision to                        7   information that wasn't particularly, wasn't
  8   undergo medicalized transition also represents the               8   particularly controversial, isn't particularly
  9   decision to never have biological children of one's              9   controversial, so I would have -- but I don't expect
 10   own." Is this true in all cases?                                10   any trouble if I, to find one of them.
 11      A   I would hesitate to say just about                       11      Q      Okay. Going down to Subsection F on page
 12   anything in, in science are true with all, with all             12   93. That's entitled Elevated Risk of Parkinsonism
 13   cases, but when providing information to patients so            13   in Adult Females, but this is from surgical removal
 14   that they can provide informed consent, we have to,             14   of both ovaries, not puberty blockers or hormone
 15   of course, provide them the information that of                 15   therapy, correct?
 16   what's most likely and the range of possibilities               16      A      The sequence of events doesn't break
 17   and the relative risks of each one.                             17   apart, it doesn't break apart quite so easily. The
 18      Q   So going to down to Subsection B on page                 18   studies have pretty ubiquitously reported that each
 19   90, so scrolling down a little bit, Andrew. The                 19   stage of the transition of minors is associated with
 20   title here is Permanent Loss of Capacity for Breast             20   a much higher likelihood of pursuing the subsequent
 21   Feeding in Adulthood. This loss of capacity is from             21   stages of medicalized transition, so in order to
 22   surgery, not puberty blockers or hormone therapy,               22   assess properly the risk, potential risks and
 23   correct?                                                        23   benefits that anybody is undergoing, it requires a
 24      A   No. If a biological female were on                       24   simultaneous assessment of each of the steps as a
 25   puberty blockers followed by testosterone treatment,            25   single, you know, coherent body of treatments

                                                                                                                24 (Pages 90 - 93)
                                          www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 26 of 122
                              James M. Cantor                    May 2, 2024
                                                             Page 94                                                               Page 96
  1   because the outcomes of undergoing medicalized                    1      A    I would have to go and check to see if it
  2   transition, not all of the outcomes of undergoing                 2   fulfilled each of the criteria. As best as I was
  3   medicalized transition are apparent by examining                  3   able to determine, it included all of the relevant
  4   each individual stage in isolation from the others.               4   research that I had in my own notes at the same
  5      Q    But not all people who get puberty                        5   time, so it would be perfectly fair to call it
  6   blockers or hormone therapy go on to have surgery,                6   comprehensive. I would have to take a closer look
  7   correct?                                                          7   at it if it fulfilled the other, other components of
  8      A    As I stated before, participating in any,                 8   what would constitute a systematic review.
  9   in any one step makes the next step much more                     9      Q    Do you know if the review itself was peer
 10   likely, but it's, it's rare for there ever to be a               10   reviewed before publication?
 11   situation in which somebody can make a reliable                  11      A    Not to the best of my knowledge, no. As I
 12   conclusion about all or none of patients in a                    12   say, it was, because its contents were entirely
 13   situation like this.                                             13   consistent with my own notes and I know that
 14      Q    Would someone who has received puberty                   14   literature thoroughly, I can, it wasn't difficult
 15   blockers and hormone therapy who did not go on to                15   for me to tell that all the relevant information was
 16   have surgery have this elevated risk of Parkinsonism             16   contained within it.
 17   that you discuss in paragraph 2016 -- I mean 216?                17      Q    Going down to Subsection 8 on page 95 -- I
 18      A    There exists only a very small number of                 18   mean H, excuse me. This is titled Short-Term/
 19   studies examining the neurological implications of,              19   Immediate Side Effects of Puberty Blockers Include
 20   of transition. One of the most recent ones included              20   Sterile Abscesses, Leg Pain, Headache, Mood Swings
 21   in my supplemental, in my supplemental report, but               21   and Weight Gain. However, there are no citations
 22   because as I say there exist so few studies, there               22   for or mention of sterile abscesses or leg pain in
 23   is no way to know. Although some effects on brain                23   the subsequent paragraphs. What's your basis for
 24   organization have been identified, as I say, we have             24   including these symptoms in your section title?
 25   not yet been able to determine which ones become                 25          MR. FRAMPTON: Object to form. Go ahead.
                                                             Page 95                                                               Page 97
  1   more likely, which ones become less likely or how                 1      A    They were amongst the descriptions I
  2   much in any of this research of what we're observing              2   believe within the Cass review itself. I would have
  3   in the animal studies where we do this will indeed                3   to go back to double check, but as I say, these are,
  4   translate to the human studies, so, so we, so we                  4   these are not particularly controversial statements.
  5   can't rule it out and I can't say -- we can neither               5      Q    Going down to paragraph 238 on page 101,
  6   rule it in or rule it out. We can only say that it                6   the last sentence. And Andrew, it's showing up as
  7   is a legitimate prediction and risk for which we                  7   blank. I don't know if it's still loading or -- but
  8   need continued research.                                          8   Dr. Cantor, I know you have a copy. Are you there?
  9      Q    But just to confirm, in paragraph 216                     9      A    Yes, I have the paper.
 10   here, what you are asserting is that women who                   10      Q    Okay. It says, the last sentence says,
 11   undergo surgical removal of both ovaries have                    11   "If years spent on puberty blockers in the hopes
 12   substantially elevated odds of developing                        12   that that will relieve distress distract from
 13   Parkinsonism, correct?                                           13   systematic efforts to directly address
 14      A    That's a piece of the research that tells                14   co-morbidities through psychotherapy and it diverts
 15   us that it is reasonable to be making these kinds                15   the minors from treatment which exhibits substantial
 16   of, these kinds of predictions and that it is indeed             16   evidence of effectiveness from improving mental
 17   very possible that this will be an outcome, so                   17   health and lacks the multiple and significant side
 18   before anybody can start informing a patient to say              18   effects of puberty blockers." Are you aware of any
 19   that a treatment is safe or give them an estimate of             19   studies that conclude that psychological treatment
 20   what the long-term risks are, we need to follow up               20   alone is effective for treating gender dysphoria?
 21   these potential risks that are being suggested by                21      A    The evidence for it doesn't require that.
 22   other lines of research.                                         22   Clinical decisions are made on the basis of four
 23      Q    Going down to paragraph 217, you reference               23   simultaneous components. The primary one is the
 24   an independent review by the New York Times. Was                 24   risk to benefit ratio, and that is assessed in the
 25   that a systematic review of the literature?                      25   context of the other two, which are the presence of

                                                                                                                25 (Pages 94 - 97)
                                           www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 27 of 122
                              James M. Cantor                    May 2, 2024
                                                            Page 98                                                              Page 100
  1   alternatives and the reliability of, with which the              1   waiting, correct, in this paragraph?
  2   diagnosis and the other information can be made in               2      A    I referred to it as that, recognizing how
  3   the first place. It is exactly because                           3   that period is called currently in the literature,
  4   psychotherapy has a much, much, much lower risk of               4   but, of course, the Dutch studies, you know, were
  5   physical negative side effects that it becomes the               5   published before that term was used.
  6   default, and interventions that have higher risk                 6      Q    Would you agree that the Dutch approach
  7   profiles and the potential to cause harm, they need              7   recommends this watchful waiting period for
  8   to demonstrate that they are worth those risks.                  8   prepubertal children, not adolescents?
  9            As I mentioned earlier and as I                         9      A    The Dutch studies were published and
 10   pointed out in my report, a great deal of the                   10   produced before there was, before the report of the
 11   outcome studies provided people with both the                   11   ROGD cases. A very central point in the treatment
 12   medical interventions and with the psychotherapy at             12   for ROGD is that it does indeed represent a
 13   the same time. Those studies are being cited as                 13   completely separate phenomenon that differs in every
 14   demonstrating the benefit of the medical, of the                14   objective way available to us. That's one of the
 15   medical interventions, but, of course, the very same            15   errors that is being applied by many writers, is
 16   study and the very same outcomes equally demonstrate            16   that they're trying to apply the conclusions of the
 17   the effectiveness of psychotherapy, but because the             17   Dutch study on a different population and a
 18   psychotherapy has a much lower risk profile, it                 18   different set of circumstances and to use that to
 19   becomes the default until the physical interventions            19   justify the treatment of people showing ROGD cluster
 20   can be demonstrated not to be equal, not to be                  20   of variables, so not only did the Dutch study not
 21   merely potential, but to have sufficiently reliable             21   mean to apply that to the, to ROGD, they are pretty
 22   information demonstrating its superiority, so that              22   explicit in saying it's a mistake to try to do so,
 23   is, again, that is the standard ubiquitous method of            23   but there are very many people trying to do exactly
 24   research, of clinical research ethics.                          24   that, anyway.
 25      Q   Can you point to any studies specifically                25      Q    So I'm not sure you exactly answered my
                                                            Page 99                                                              Page 101
  1   that conclude that psychological treatment alone is              1   question. Would you agree that the Dutch approach
  2   effective for treating gender dysphoria?                         2   recommends this watchful waiting period for
  3      A    I'm not testifying that it alone has been                3   prepubertal children?
  4   demonstrated to be effective. The relevant, you                  4      A    Although they didn't use that term, they
  5   know, clinical question and the burden of proof is               5   recommend that strategy, yes, for that clinical
  6   that it remains the default because it is the least              6   population, yes.
  7   risky of the available options, so until we have                 7      Q    Okay. In paragraph 248 on page 104, you
  8   evidence that the more risky options are superior,               8   assert that, "Clinicians in the United States
  9   it as I say remains the default.                                 9   regularly ignore limitations on the use of hormones
 10      Q    Turning to paragraph 246, that's on page                10   and puberty blockers specified by the Dutch
 11   102.                                                            11   protocol." What's your basis for the statement that
 12      A    Yes.                                                    12   clinicians are regularly ignoring the limitations of
 13      Q    This paragraph mentions that under the                  13   the Dutch protocol?
 14   Dutch approach, there's no social transition before             14      Q    The most obvious of them is the age 12,
 15   age twelve, correct?                                            15   the minimal age of age 12. Part of the Dutch
 16      A    Yes, that is correct.                                   16   protocol was the awareness as I say of the large
 17      Q    And that's the watchful waiting period?                 17   majority of early onset cases, that is of the
 18          MR. FRAMPTON: Object to the form.                        18   childhood onset cases cease to feel gender, gender
 19      A    They didn't refer to it as that, but it                 19   dysphoric. That criterion that invites that
 20   amounts to the same, to the same thing. They were,              20   observation is being ignored by very many clinicians
 21   they never contested and they agreed with the                   21   today. That the Dutch protocol did not include
 22   conclusion that the large majority of the childhood             22   social transition, again, that's something that was,
 23   onset cases ceased to feel gender dysphoric over the            23   that is being added by clinics today, even though
 24   course of puberty.                                              24   that makes their patients very different from the,
 25      Q    Okay. You refer to it as watchful                       25   from the Dutch protocol.

                                                                                                              26 (Pages 98 - 101)
                                          www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 28 of 122
                              James M. Cantor                    May 2, 2024
                                                            Page 102                                                           Page 104
  1             Within the Dutch protocol and its                       1   because we have no equivalent research in any
  2   initial description, they were very explicit in                   2   direction about the adolescent onset or rapid onset
  3   saying that part of the advantage of waiting -- the               3   gender dysphoria cases, that we simply don't have
  4   majority of their patients were biological boys --                4   anything to go on. It's one of the many unknowns.
  5   is that it increases the potential success of any                 5      Q    Okay. Thank you. So I'm actually at a
  6   subsequent surgery, specifically in vaginoplasty.                 6   pretty good stopping point. Hal, I don't know if
  7   Vaginoplasty would typically use the skin that's                  7   you want to take a lunch now, Dr. Cantor, how you're
  8   being taken from the penis which is being removed,                8   feeling. We could keep going. It's really up to
  9   folded inside and use that skin sometimes with                    9   you.
 10   stretching in order to form the inner lining of the              10      A    I can always eat.
 11   vaginal canal, but some pubertal growth of the penis             11      Q    Okay.
 12   is required in order to have enough tissue to make               12          MR. FRAMPTON: Sounds like he's ready for
 13   that surgery viable.                                             13      lunch.
 14             Many clinics today are starting                        14      Q    How much time do you want? Does half an
 15   puberty blockers immediately upon any sign of                    15   hour sound okay, or do you want more time?
 16   puberty, so the penis and genital anatomy is still               16          MR. FRAMPTON: We can, we can try and
 17   prepubertal and there isn't enough tissue or penile              17      do --
 18   skin left for the same procedure of the surgery, so              18      Q    Want to say 45 minutes?
 19   each of those are examples of having exaggerated or              19          MR. FRAMPTON: Yeah, I think we'll
 20   overstepped or, you know, removing cautions that the             20      probably just walk downstairs in the hotel
 21   Dutch made explicit and essentially just ignoring                21      conference room we're at and get something
 22   them.                                                            22      pretty quickly. Let's shoot for 30, 45,
 23      Q    Have you personally observed any                         23      somewhere in there.
 24   clinicians ignoring the limitations of the Dutch                 24      Q    Okay. Why don't we plan to come back
 25   protocol?                                                        25   around 12:45, and if you need a few more minutes,
                                                            Page 103                                                           Page 105
  1      A    I don't -- I'm not sure how it's possible                 1   that's totally fine. Does that sound okay?
  2   to watch somebody ignoring something. The only                    2          MR. FRAMPTON: Is that good with you,
  3   possibility is, you know, a documentation of cases                3      Dr. Cantor?
  4   for which it simply didn't happen.                                4      A    I'm from New York. I can eat fast.
  5      Q    But your report does state here in                        5          MR. FRAMPTON: All right. We got it.
  6   paragraph 248 that the limitations of the Dutch                   6      Q    Okay. So we will go off the record and
  7   protocol are regularly ignored by clinicians in the               7   plan to come back at 12:45. Thank you.
  8   U.S.?                                                             8          (Lunch recess.)
  9      A    Yes, that is correct. For example, the                    9          (Exhibit 7 marked.)
 10   demonstration that children are being put on puberty             10   BY MS. MONTAG:
 11   blockers before age 12 is to ignore the caution that             11      Q    Dr. Cantor, I'm going to mark your
 12   the Dutch protocol has, which is wait until, you                 12   February 2, 2024, supplemental report as Exhibit 7.
 13   know, age 12, so I'm not sure what else would                    13   This is up here on the screen. I know you have a
 14   constitute observing that to happen except to have               14   copy. Is this a copy of your report?
 15   the documentation that it did happen.                            15      A    Yes, it seems to be.
 16      Q    And just to go back to something you were                16      Q    Okay. Now earlier we briefly discussed
 17   talking about a moment ago, the watchful waiting                 17   the Diaz 2023 study. Do you recall that?
 18   period, is it your testimony that watchful waiting               18      A    Yes.
 19   only applies in cases of rapid onset gender                      19      Q    And in your supplemental report in a
 20   dysphoria?                                                       20   footnote, and I'm looking at footnote 5 on page 14.
 21           MR. FRAMPTON: Object to the form.                        21   Let me know when you're there.
 22      A    I think I'm saying the opposite. The                     22      A    I'm there.
 23   purpose of the watchful waiting period was described             23      Q    Okay. You note that Diaz 2023 was
 24   and has always been described as, as a factor in the             24   re-published in the Journal of Open Inquiry in the
 25   clinical treatment of the early onset cases. It's                25   Behavior Sciences. What type of journal is the

                                                                                                           27 (Pages 102 - 105)
                                         www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 29 of 122
                              James M. Cantor                    May 2, 2024
                                                             Page 106                                                    Page 108
  1   Journal of Open Inquiry in the Behavioral Sciences?                1   Archives of Sexual Behavior, if you know?
  2      A    I'm sorry. Did you ask about its title                     2      A I don't know. You'd have to ask the
  3   or --                                                              3   journal and the publisher, the original authors and
  4      Q    What type of journal is it?                                4   the, and the publishers.
  5      A    Oh, it's also a peer reviewed journal, and                 5      Q Okay. Turning back to paragraphs 5 to 8,
  6   rather that being focused on sex research, it's                    6   and I'm on pages 2 to 3.
  7   focused on topics which are relatively                             7      A I'm there.
  8   controversial.                                                     8          MR. FRAMPTON: Sorry. Are we in the
  9      Q    So it's a peer view journal as that term                   9      supplement? Just want to make sure.
 10   is commonly understood within the scientific                      10      Q Yes, we're in the supplemental report.
 11   community?                                                        11          MR. FRAMPTON: Okay. Thank you.
 12      A    I would have to check that to be sure.                    12      Q These paragraphs are summarizing a 2023
 13   That's my recollection when I looked at the time                  13   study on social transition by Morandini, correct?
 14   that I got -- as I said, I only looked tangentially.              14      A I'm sorry. Which paragraphs did you --
 15   I only looked tangentially. I'm not, I'm not, not                 15   oh, paragraphs --
 16   sure. I would have to go back and check.                          16      Q I'm looking at paragraphs 5 to 8 on pages
 17      Q    Okay. What entity publishes this journal,                 17   2 to 3.
 18   if you know?                                                      18      A Yes, that is correct.
 19      A    I don't recall. I don't think I looked.                   19          (Exhibit 8 marked.)
 20      Q    Have you ever had an affiliation with this                20   BY MS. MONTAG:
 21   journal?                                                          21      Q Okay. I'm marking the Morandini study as
 22      A    No, I have not.                                           22   Exhibit 8, and Andrew, that's doc 9. Dr. Cantor,
 23      Q    Do you know when the journal was                          23   just to confirm, this is the study you're
 24   established?                                                      24   referencing in your report?
 25      A    I don't recall.                                           25      A Yes, it is.
                                                             Page 107                                                    Page 109
  1      Q Did you play any role in having Diaz 2023        1                    Q And this study examines social transition
  2   re-published?                                         2                only, correct?
  3      A No, I did not.                                   3                    A That's, that's its topic, yes.
  4      Q Would you consider this journal to be a          4                    Q It did not examine medical treatments for
  5   prominent scientific journal in your view?            5                gender dysphoria?
  6      A I would have to look up the details, the         6                    A This specific one, no, not that I recall.
  7   details behind it. My assessment of the paper, of     7                This team published that information separately.
  8   course, was on the basis of the paper itself. I       8                    Q Are you aware whether SB-184 prohibits
  9   wasn't relying on the reputation of the journal in    9                social transition?
 10   order to tell me anything about the quality of the   10                    A I don't recall that it, that it does. The
 11   information.                                         11                relevant, its contents pertain, pertained to the
 12      Q Why did you not include in your                 12                medical aspects of transition. The relevance, of
 13   supplemental report the fact that the original Diaz 13                 course, of social transition is that it appears to
 14   2023 article was retracted?                          14                be associated with a greatly increased probability
 15      A Didn't we -- again, the relevant part to        15                of undergoing medicalized transition.
 16   me was the content of the paper. It was not my       16                    Q The study examined the mental health of
 17   interest and I never thought and still don't think   17                the children and adolescents with gender dysphoria
 18   that the proceedings behind his publication were     18                at the time they were referred to the gender
 19   relevant. It's the content of the research itself    19                identity development service; is that correct?
 20   that was relevant, and I just assumed that my        20                    A That's where they, they collected those
 21   indication of its re-publication and the update of   21                data, yes.
 22   where it can be, where it could be found essentially 22                    Q Do you agree that the study found that
 23   covered all the relevant information.                23                children and adolescents who had socially
 24      Q Why was the Diaz 2023 article not revised 24                      transitioned and those who had not did not differ
 25   and re-published in the original journal, the        25                with regard to mental health status in the short

                                                                                                        28 (Pages 106 - 109)
                                         www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 30 of 122
                              James M. Cantor                    May 2, 2024
                                                           Page 110                                                              Page 112
  1   term?                                                            1   kind of research is to have both -- is the
  2      A     That was the basic finding.                             2   ascertainment and consideration both of the subject
  3      Q     Would you agree that the study did not                  3   of assessment of patients describing their own
  4   examine long-term mental health outcomes?                        4   situations and the objective data that's available
  5      A     Yes, that is, that is correct.                          5   from their, from their medical records. It would,
  6      Q     I'm going back to your supplemental                     6   you know, be a great scientific error to elevate
  7   report, and I'm looking at page 9. I'm sorry.                    7   subjective evidence to be more relevant than
  8   Paragraph 9 on page 3. Starting at paragraph 9,                  8   objective evidence.
  9   you're discussing two new studies, correct?                      9      Q    Is it correct that the researchers didn't
 10      A     Yes.                                                   10   survey the patients?
 11      Q     One by Glintborg and one by Kaltiala?                  11      A    That's, to the best of my recollection,
 12      A     Yes, that is correct.                                  12   yes, they used the medical records directly as their
 13           (Exhibit 9 marked.)                                     13   source of information.
 14   BY MS. MONTAG:                                                  14      Q    In your experience, when a patient is
 15      Q     I'm marking the Glintborg study as Exhibit             15   undergoing treatment for a condition and the
 16   9, and that's doc 10, Andrew. This study is                     16   treatment appears to be working, is that an
 17   entitled Gender Affirming Treatment and Mental                  17   indication that the treatment should be stopped?
 18   Health Diagnoses in Danish Transgender Persons, a               18          MR. FRAMPTON: Object to the form. Go
 19   Nationwide Register Based Cohort Study, correct?                19      ahead.
 20      A     Yes, that is correct.                                  20      A    It's neither -- neither of those
 21      Q     And this was an observational study?                   21   conditions includes all the information necessary
 22      A     Yes, that would be, that would be true.                22   for making such a decision, and there are a couple
 23      Q     Okay. How did the researchers measure                  23   of assumptions built into it. For example, if
 24   participants' mental health?                                    24   there's a, the assumption -- if the patient is
 25      A     Let me check my recollection. Is it                    25   improving, the natural question is on what basis do
                                                           Page 111                                                              Page 113
  1   possible for me to scroll through it from this side?             1   we know that a patient is improving, and we still
  2      Q     Sure. Let's go to page 342. Oh, these                   2   have the usual important aspects of any medical
  3   PDFs keep having some difficulties, so we'll need to             3   decision, what are the risks in continuing, so that
  4   reload it. Just a second.                                        4   can be weighed against, you know, even if one takes
  5           MR. FRAMPTON: I'm just checking to see if                5   for argument that the benefits are, are
  6      I happen to have a paper copy of that one, but                6   accumulating, there might in my hypothetical
  7      I don't think I do.                                           7   example, some new risk might have been observed such
  8      Q     No worries. Just give us one second.                    8   that ending the treatment despite the improvement is
  9   Sorry for the delay. Okay. Looking at -- one more                9   worthwhile because of the newly identified risk.
 10   page down, Andrew. So 342 under discussion, you see             10      Q   Do you agree that when a treatment appears
 11   where it says, "In this register based study, we                11   to be working, it's usually a good indication that
 12   investigated mental health outcomes from hospital               12   it should be continued?
 13   contacts and prescribed medications in Danish                   13          MR. FRAMPTON: Same objection. Go ahead
 14   transgender persons after contact with the National             14      and answer.
 15   Center of Gender Identity." Does that refresh your              15      A   There's not enough information in -- no
 16   recollection?                                                   16   global statement can be made in either direction.
 17      A     Roughly, as it does my own report. They                17   Those are only two of, you know, several of the
 18   were using the hospital records and the national                18   components that need to go into making such a
 19   data base.                                                      19   decision.
 20      Q     Is it correct that the researchers didn't              20      Q   Well, for example, if a patient diagnosed
 21   review medical files to see whether patients                    21   with depression is prescribed Prozac and their
 22   reported improvement?                                           22   depression appears to be improving, that alone would
 23      A     That's my recollection. I would have to                23   not be an indication to simply stop the Prozac,
 24   look through the paper in more, in more detail, but,            24   would it?
 25   of course, one of the aspects of conducting this                25      A   As I said, that's not enough information

                                                                                                            29 (Pages 110 - 113)
                                           www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 31 of 122
                              James M. Cantor                    May 2, 2024
                                                            Page 114                                                             Page 116
  1   for making a decision. If the beneficial effect on                1   was the comparison of people who did and did not
  2   the depression were happening at the same time as                 2   undergo reassignment. The other questions that they
  3   some negative effect also accumulating such as a                  3   were investigating were changes in the demographics
  4   physiological reaction or if it's a different                     4   of the group relative to the change in demographics
  5   medication being used in a patient who becomes                    5   of the rest of the population.
  6   pregnant and it becomes a potential risk towards the              6      Q   Do you agree this study was predominantly
  7   unborn child, then that would be a perfectly                      7   of adults?
  8   legitimate reason to stop a treatment. Just the                   8      A   Yes and no. Again, for an epidemiological
  9   knowledge that benefits are accumulating, those are               9   work, the analyses are done in what we call a
 10   not all the variables that are or should be used in              10   stratified manner. They didn't indicate that the
 11   making such a decision.                                          11   average age was dropping, but, of course, the range
 12      Q    This study did not include that the                      12   which constitutes adulthood is much longer than the
 13   patients receiving gender affirming care were worse              13   range which constitutes childhood, so in a
 14   than before treatment, correct?                                  14   population based study, it's predominantly adults in
 15          MR. FRAMPTON: Object to the form.                         15   the sense that the population is predominantly
 16      A    I would have to reread the study in order                16   adults, but one would conduct, conduct a comparison,
 17   to double check that, you know, all of the different             17   you know, within a childhood age range or within an
 18   variables that they had to make sure that none of                18   adulthood age range. One set of results would not
 19   the variables, such a situation was, was occurring.              19   cancel out the other.
 20   In this particular paper, there have been, you know,             20      Q   You agree that this study found that the
 21   other reports indicating that there have been lower              21   number of psychiatric visits increased more among
 22   functioning over the course of treatment in other                22   those receiving medical treatment for gender
 23   samples. That's an example of one of those                       23   dysphoria than those who were not?
 24   situations that makes the ultimate conclusion when               24      A   That's my recollection of it, yes.
 25   considered together that this entire body of                     25      Q   Is the number of psychiatric visits a
                                                            Page 115                                                             Page 117
  1 literature shows very inconsistent findings, so we                  1   measure to determine that medical treatment is
  2 can't make any reliable predictions.                                2   ineffective in treating gender dysphoria?
  3          (Exhibit 10 marked.)                                       3      A    It's one of the potential indicators, yes.
  4 BY MS. MONTAG:                                                      4   Usually, with such a, an indicator which somebody
  5      Q    I'm marking the Kaltiala study as Exhibit                 5   might legitimately call a warning flag, it
  6 10. Andrew, this is doc 11. The Kaltiala study is                   6   immediately indicates that the appropriate
  7 entitled Have the Psychiatric Needs of People                       7   investigators should start following that finding up
  8 Seeking Gender Reassignment Changed as Their Numbers 8                  and looking with greater effort and detail.
  9 Increase? A Registered Study in Finland, correct?    9                     Q    Do you agree that the researchers didn't
 10      A    Yes, that is correct.                                    10   review medical files to see whether patients
 11      Q    And this was an observational study?                     11   reported improvement?
 12      A    Yes, it was.                                             12      A    The data base that they used would not,
 13      Q    The analysis compared those with and                     13   would not contain that kind of information. It's
 14 without gender dysphoria?                                          14   not possible to assess, and the authors were very
 15      A    I don't recall which control group they                  15   careful not to assert a conclusion beyond the data
 16 used. Just give me a moment to check my own report.                16   that was available to them. In each of these
 17 Okay. And I'm sorry. What was your question once                   17   questions, each of the many different ways there are
 18 again?                                                             18   to illuminate a portion of a question is one facet
 19      Q    The analysis compared those with and                     19   of it at a time and then at the systematic review
 20 without gender dysphoria?                                          20   level or very often even at a narrative review level
 21      A    Not that I recall.                                       21   accumulate each of the individual clues in order to
 22      Q    What do you recall this study to be                      22   identify the overall pattern. It's relatively
 23 evaluating?                                                        23   unusual for a single study to simultaneously both
 24      A    Oh, there it is. Okay. Yes. No, the                      24   identify, investigate and conclude amongst all of
 25 relevant part was the part that I put in my report                 25   the different possibilities what's going on,

                                                                                                             30 (Pages 114 - 117)
                                         www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 32 of 122
                              James M. Cantor                    May 2, 2024
                                                            Page 118                                                             Page 120
  1   especially in such a complicated situation like                   1   care for these people to make sure that we are not
  2   this.                                                             2   inadvertently making the situation worse, so when
  3      Q    You would agree the researchers didn't                    3   this, this single observation is put together with
  4   survey the patients?                                              4   all of the other observations and indicators of
  5      A    I only have from the study what is                        5   potential worsening or failures of improvement
  6   available within the study. As I cite, this is a                  6   together with the known and established documented
  7   team who's been investigating this set of issues for              7   risks, again, it is one component in a very, very
  8   many years and are continuing to investigate it                   8   concerning pattern that we are not helping and we
  9   today, but this single report as I say is only one                9   are instead making, putting these people in less
 10   aspect of the relevant question.                                 10   rather than greater mental health.
 11      Q    Do you agree that the study did not                      11      Q    Do you agree that mental health treatment
 12   conclude that the patients receiving gender                      12   often requires a long-term investment of time?
 13   affirming care were worse than before treatment?                 13      A    There do indeed exist such situations,
 14           MR. FRAMPTON: Object to the form.                        14   yes, of course, and it is against that when one is
 15      A    They identified as a, as I said, a warning               15   assessing the potential success, effectiveness of
 16   flag for which that is one legitimate possibility                16   any treatment that we're evaluating the risks and
 17   and therefore merits the kind of follow-up with the              17   the benefits. With medical interventions, of
 18   more complicated and studies that require more                   18   course, many of the side effects are immediate and
 19   resources. They identified a warning as a health                 19   others are long term. When we see evidence that
 20   care system should always be on the watch for, and               20   somebody is worsening, it is exactly because we lack
 21   it suggests that we need to pay right -- pay closer              21   long-term data that we need to be extremely cautious
 22   attention, which, again, is exactly the function of              22   in, in administering any such treatments and to be
 23   such a system.                                                   23   extremely thorough in, in assessing its outcomes,
 24      Q    Would you agree that if asked, the                       24   both short term and long term, so the evidence from
 25   patients who continued mental health treatment might             25   this study again demonstrating warnings suggests
                                                            Page 119                                                             Page 121
  1   have reported that their symptoms improved?                       1   that we cannot quickly and easily and reflexively,
  2      A    Well, once we're talking about what's                     2   you know, administering these treatments except in
  3   feasible in data that aren't fair, one can                        3   the most rigorous of research circumstances.
  4   hypothesize many, many different possibilities.                   4      Q   Are you familiar with Dr. Kaltiala?
  5   That's exactly what makes it important to follow up               5      A   Yes, I am.
  6   such, such investigations. Very much of all                       6      Q   Have you ever spoken with Dr. Kaltiala?
  7   research begins with indirect methods in order to                 7      A   Only briefly. We've met at a conference.
  8   give us an idea of what the possibilities are and                 8   I'm only recalling one conference.
  9   then to follow up those possibilities one by one, so              9      Q   What was the substance of the conversation
 10   it's possible that this warning flag is a false                  10   you had with Dr. Kaltiala; do you recall?
 11   alarm. It's possible that the warning flag                       11      A   Oh, the content of the data that she was
 12   indicates something, something more, more severe.                12   presenting and the pattern of findings, the changes
 13      Q    Do you agree that continued receipt of                   13   within society that, that are, that are going on
 14   mental health services does not necessarily indicate             14   that have enabled the current situation that we're
 15   poor mental health?                                              15   in, the polarization of many of society's comments,
 16      A    Taken by itself, one can't make a                        16   which has made it more difficult to conduct high
 17   definitive conclusion. It's one element of an                    17   quality science.
 18   ongoing line of research. Of course, when the                    18      Q   Are you familiar with Dr. Kaltiala's views
 19   entire endeavor is to improve one's mental health,               19   regarding gender affirming care?
 20   the observation and the documentation that the                   20      A   Well, her views have changed dramatically.
 21   person actually is requiring more rather than less               21   In fact, they've reversed over time. She is one of
 22   mental health support is an immediate indicator that             22   the prime examples and many would say role model for
 23   we're not seeing a non-ambiguous success and that                23   someone who at the beginning took for granted what
 24   it's legitimate to wonder if we're seeing success at             24   was being discussed by many advocates as the, as the
 25   all and if we are bound by our clinical ethics in                25   need to provide what was then being described and

                                                                                                            31 (Pages 118 - 121)
                                          www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 33 of 122
                              James M. Cantor                    May 2, 2024
                                                           Page 122                                                               Page 124
  1   perceived as benefits of early transition. As she,               1   as one of the conditions in which improvement can be
  2   you know, is head of I think the, one of the --                  2   mimicked. That is if the people who found that they
  3   there were two. One of the two clinics in her                    3   were not qualified to receive hormones dropped out,
  4   country where she, you know, interviewed a very,                 4   then the average of that group would look higher,
  5   very large portion of the patients, and she observed             5   not because anybody improved but because the people
  6   and has made very, very explicit since that the                  6   who were lower than average dropped out of the
  7   successes that were being described in public were               7   study.
  8   simply not what she was observing. If anything, she              8              And so because the method that he
  9   has widely discussed that she was observing that the             9   used contains these other factors that can mimic
 10   mental health of these youth was deteriorating, so              10   success, one cannot legitimately claim that he found
 11   she, despite having been one of the founders in her             11   improvement. What he found was that, you know, the
 12   country to have established the availability of                 12   two different groups differed in their average, but
 13   transition for children, her review has reversed and            13   from that one cannot, one cannot describe from that
 14   she is continuing to do, to document in whatever way            14   that he found evidence of improvement.
 15   available what's going on, what might be done                   15      Q     Does the fact that this is a retrospective
 16   instead and how we might better help these people to            16   study mean that the study has no value?
 17   improve.                                                        17      A     I would hesitate to say that, either. In
 18      Q    Turning back to your supplemental report,               18   a study of this design, improvement is at least in
 19   this is Exhibit 7, doc 8, Andrew. Looking at                    19   theory one of the possible interpretations of the
 20   paragraph 16 on page 5.                                         20   data. It is because of the, it's because research
 21      A    I'm there.                                              21   with this design provides ambiguous results, we
 22      Q    Okay. In this section, you're discussing                22   can't tell is this because of improvement among the
 23   the McGregor study; is that right?                              23   patients or one of these other factors that can
 24      A    Yes.                                                    24   mimic improvement. The value, or when properly
 25          (Exhibit 11 marked.)                                     25   interpreted, the value of such a paper is to
                                                           Page 123                                                               Page 125
  1   BY MS. MONTAG:                                                   1   indicate because it's possible that there was a
  2      Q    All right. I'm marking the next document                 2   genuine improvement, we would then go on to perform
  3   as Exhibit 11. Andrew, that's doc 12. Dr. Cantor,                3   the next most complicated, the next most
  4   do you agree this is a study comparing 40 youth who              4   sophisticated kind of story -- study in order to try
  5   received puberty blockers to 398 youth who did not?              5   to distinguish was this genuine improvement or was
  6      A    That's my recollection of it, yes.                       6   this one of those tangential factors that only looks
  7      Q    And do you agree that the study found that               7   like improvement.
  8   having puberty blocked was associated with lower                 8      Q     Turning back to your supplemental report,
  9   internalizing problems?                                          9   in paragraph 18 on page 6. Let me know when you're
 10      A    Not exactly. That's how McGregor                        10   there.
 11   interpreted and described his findings, but the                 11      A     I'm there.
 12   method that he used doesn't actually allow for that             12      Q     Okay. You're describing what you call a
 13   conclusion.                                                     13   flaw in the study by stating that they compared 40
 14      Q    Okay. Do you agree that McGregor found                  14   children who sought and received puberty blockers
 15   that having puberty blocked was associated with                 15   and are now seeking cross-sex hormone treatment,
 16   lower anxiety problems?                                         16   i.e., children who assess, who were assessed and
 17      A    Again, I can't say that's what he found                 17   passed the mental health screening with the roughly
 18   despite how he might describe the patterns in, in               18   400 adolescents seeking cross-sex hormones who had
 19   his data. He used a retrospective method, you know,             19   not yet been screened for mental health at all.
 20   starting after, for example, after the people who               20   When you say the 40 children assessed and passed the
 21   dropped out of the research already dropped out, so             21   mental health screening, what screening are you
 22   it's not possible under those conditions to have                22   referring to?
 23   found improvement. We just see differences in                   23      A     Essentially, the gatekeeping procedures
 24   averages, which could also be attributable to again             24   that that clinic used. Depending on the clinic, the
 25   one of the situations that I was describing before              25   exact criteria very often differ, but it is, again,

                                                                                                            32 (Pages 122 - 125)
                                        www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 34 of 122
                              James M. Cantor                    May 2, 2024
                                                             Page 126                                                               Page 128
  1   within each of the clinical protocols for                          1   waiting list, which is, of course, not when they're
  2   transition, minors or adults, it indicates the need                2   being assessed for readiness for that treatment.
  3   for mental health assessments and for the ruling out               3   That is, as I said, that's the usual procedure in
  4   of other factors which in that case might be                       4   just about any one of these clinics, and their
  5   mimicking gender dysphoria, or it would indicate                   5   description of it is exactly consistent with that.
  6   that the person does not have the capacity to, to                  6      Q    My question was does the study say
  7   provide meaningful informed consent.                               7   anywhere that the 398 adolescents who did not
  8             So the patients who were receiving                       8   receive puberty blockers had not received a mental
  9   treatment were the people who underwent the mental                 9   health screening. Is there something you can point
 10   health assessment and were judged to be of                        10   to that states that?
 11   sufficient, for example, cognitive capacity and                   11      A    I don't know what in how they described
 12   awareness and other elements of mental, mental                    12   could allow for any other interpretation. That's
 13   health in order to receive the treatment. The                     13   what makes the waitlist a waitlist. They said that,
 14   people who did not receive the treatment had not yet              14   they say, they noted explicitly exactly when the
 15   undergone that screen, so when one observes a                     15   patients received that assessment, which is upon
 16   difference in average of levels of mental health                  16   their consideration for the next stage, one of them
 17   between these two groups, we once again can't tell                17   being for the beginning of the puberty blockers and
 18   is it because of the treatment that they were                     18   the other one being for the beginning of the
 19   undergoing or because the people with the poorest                 19   cross-sex hormones. The comparison group, their
 20   mental health were removed from the sample. Well,                 20   comparison was specifically the people who had, were
 21   were removed from one sample but not the other                    21   by then receiving the puberty blockers, which comes
 22   sample, so the difference in the averages are                     22   after the assessment for readiness for puberty
 23   because of the screening process, not because of the              23   blockers and the comparison with the people who had
 24   treatment.                                                        24   not yet, who were still on the, on the waiting list,
 25      Q    Is a mental health screening discussed in                 25   so there's, there is no other way to interpret those
                                                             Page 127                                                               Page 129
  1   this study?                                                        1   statements.
  2      A    I don't recall if they put it in the study                 2      Q    Does the study say anywhere that the 398
  3   itself or if it was a general procedure of the                     3   adolescents had not received other mental health
  4   clinic, of the clinic in general and they didn't put               4   support in their lifetimes?
  5   it in the, in the study. Either way, it's, either                  5          MR. FRAMPTON: Object to the form. Go
  6   way, it's, it would be an error.                                   6      ahead.
  7      Q    Does the study say anywhere that the 398                   7      A    I don't see how they could know that. As
  8   adolescents who did not receive puberty blockers had               8   I say, they were comparing people on the waitlist of
  9   not received a mental health screening?                            9   the assessment and the records keeping, including
 10      A    I don't recall the exact phrase that they                 10   the person's history of prior treatments. That's
 11   used. Can you bring up the method section of that                 11   information that would be recorded upon the
 12   one?                                                              12   assessment. The people on a waiting list have not
 13      Q    Scroll down, Andrew. He's going to have                   13   yet been assessed.
 14   to re-load it. So there's the method section at the               14      Q    Would you agree that the study mentions
 15   bottom of the page. Let us know when you want us to               15   that all youth in the study may have greater
 16   scroll to the next page.                                          16   parental support than other transgender youth?
 17      A    Go ahead. Yes, that's essentially it. In                  17      A    I'm sorry. Where are you referring to?
 18   the first paragraph, they indicate, you know, where               18      Q    We can go to page 806, and this is just in
 19   during the process that they received that                        19   the first paragraph right at the top of the page if
 20   assessment and where it starts with measure that                  20   you want to read it.
 21   indicate the primary measure they used for that                   21      A    Yes, and what was your question again?
 22   assessment, and they received that assessment, you                22      Q    Would you agree that the study mentions
 23   know, when they're being considered for preparation               23   that all youth in the study may have greater
 24   for the actual intervention itself, with a                        24   parental support than other transgender youth?
 25   comparison group where people who were on the                     25      A    I don't think they made a conclusion that

                                                                                                              33 (Pages 126 - 129)
                                          www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 35 of 122
                              James M. Cantor                    May 2, 2024
                                                            Page 130                                                             Page 132
  1   would, you know, allow anybody to say all because                 1       A Is it possible? Each of these are
  2   they're offering, you know, potential confounds                   2   possible, and the onus on any policy and on any
  3   essentially that might be interfering with the                    3   caregiver is before to embark bark on any study to
  4   simple interpretation of the data. They're pointing               4   make sure that we are appropriately managing the
  5   out, again, legitimately that differences in the                  5   potential risks against the potential benefits.
  6   mental, in the mental health of their two groups is               6   When we're interpreting a research study, what we
  7   not associated with a treatment but associated with               7   need to do is what any scientist needs to do, is to
  8   a different functioning and support that they have                8   go through each of the possibilities and assess the
  9   from, from their parents. That is indeed possible,                9   evidence that suggests either for or against each
 10   but they're not asserting that that's true. They're              10   of, each of those possibilities.
 11   offering that as a potential interpretation for why              11             In the current circumstance, when
 12   a difference in these averages were found, indeed, a             12   we're talking about medical interventions that have
 13   potential for why their own data does not, in fact,              13   substantial medical risks associated with them, we
 14   show improvement. It's just a reflection of the                  14   need first to exclude all of the, all of the other
 15   different kinds of support they're receiving from                15   possibilities, and a terrible flaw in the McGregor
 16   their families.                                                  16   study is not only did they not assess the evidence
 17      Q    Okay. Turning back to your supplemental                  17   for and against each of these different
 18   report, paragraph 19.                                            18   interpretations, they didn't indicate even noticing
 19      A    Yes.                                                     19   that it was there.
 20      Q    You state another error is that the study                20       Q Dr. Cantor, would you agree that this
 21   compared childhood onset gender dysphoria with                   21   study does not state anywhere that it is comparing
 22   adolescent onset gender dysphoria; is that correct?              22   youth with childhood onset gender dysphoria with
 23      A    Yes, it is.                                              23   adolescent onset gender dysphoria?
 24      Q    Where in the study does it say that the 40               24       A Their failure to recognize that
 25   individuals who received puberty blockage had                    25   possibility is as I say in my report one of its
                                                            Page 131                                                             Page 133
  1   childhood onset gender dysphoria and the 398 who did              1   grave errors.
  2   not had adolescent onset gender dysphoria?                        2      Q    But you agree that the study does not
  3          MR. FRAMPTON: Object to the form.                          3   state that anywhere?
  4      A    Well, the very nature of their error is                   4      A    I am faulting the study for failing to say
  5   that they did not recognize that that's the pattern               5   that.
  6   being, being shown in their own data. In my report                6      Q    Okay. Turning back to your report,
  7   and in all of the research that it cites and just                 7   paragraph 36, page 13, I'm looking at the bottom of
  8   about all of the research that's been published, the              8   page 13. Are you there?
  9   objective, the differences between these two groups               9      A    Yes.
 10   include the differences almost by definition in                  10      Q    You're discussing Littman 2023, correct?
 11   their ages, the prepubescent ages vs. the adolescent             11      A    Yes, I am.
 12   age range. The other primary objective difference                12      Q    And specifically, you're discussing a
 13   is in the sex ratio. It's majority male in the                   13   finding that more than a third of respondents,
 14   early onset cases but great majority female in the               14   mostly female, reported that a majority of their
 15   adolescent onset cases. In the section of their                  15   friends identified as transgender, correct?
 16   report where they describe the demographics, they                16      A    Yes, that is correct.
 17   indeed describe that one of the groups was much                  17      Q    And in the last line of page 13, you
 18   larger proportion male and was of lower age. That                18   state, "In my opinion, this finding is entirely
 19   is a direct indicator that they were comparing these             19   inconsistent with claims that transgender identity
 20   two different groups against, against each other                 20   is innate and immutable like sexual orientation" --
 21   rather than comparing the same group but under                   21      A    I'm sorry. Where are you reading from?
 22   different treatment conditions.                                  22      Q    So the bottom of page 13 and going to the
 23      Q    Isn't it possible that the 398 adolescents               23   top of page 14.
 24   who did not receive puberty blockers also had                    24      A    And you're starting at what part of that
 25   childhood onset gender dysphoria?                                25   sentence?

                                                                                                            34 (Pages 130 - 133)
                                          www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 36 of 122
                              James M. Cantor                    May 2, 2024
                                                           Page 134                                                              Page 136
  1      Q     The sentence that says in my opinion.                   1   third type. To this more recently identified type,
  2      A     Oh, I see now, starting at the last line.               2   they do not appear to have any, any physiological
  3   Okay.                                                            3   correlates analogous to the first two. It is
  4      Q     So let me just read it again. It states,                4   exactly because of that difference that we cannot
  5   "In my opinion, this finding is entirely                         5   attribute the information we had about those two
  6   inconsistent with claims that transgender identity               6   types to this newly presenting type that only began
  7   is innate and immutable like sexual orientation                  7   to appear in the social media age. That is part of
  8   rather than influenced by social and psychological               8   what, what suggests the idea that it is a result of
  9   factors."                                                        9   social contagion brought about by social media in
 10           (Exhibit 12 marked.)                                    10   the social media age.
 11   BY MS. MONTAG:                                                  11      Q    Is it your position that in 2011,
 12      Q     Dr. Cantor, I'm marking the next exhibit               12   adolescents could not, did not recognize that they
 13   or next document as Exhibit 12, and Andrew, this is             13   were transgender?
 14   doc 13. Dr. Cantor, do you recognize this                       14           MR. FRAMPTON: Object to the form.
 15   publication?                                                    15      A    That's not what as we say is carving
 16      A     Yes, I do.                                             16   nature at its joints. The early onset cases which
 17      Q     This is a letter to the editor?                        17   among whom we first start observing differences,
 18      A     That is correct.                                       18   they start as prepubescent children, they grow older
 19      Q     And you're the author, correct?                        19   and they become adolescents, so an adolescent with
 20      A     Yes, I am.                                             20   gender dysphoria is not the same thing as somebody
 21      Q     Okay. If we could flip to the last                     21   with adolescent onset gender dysphoria. Similarly,
 22   paragraph on page 864. You wrote that, "Also                    22   the late onset cases, the ones who typically come
 23   meriting emphasis is that although these data just              23   into clinics well into adulthood, they in retrospect
 24   confirm that the heterosexual type has a feminized              24   realize and describe having had feelings of being
 25   brain pattern, the data nonetheless confirmed that              25   different when they were adolescents, even though
                                                           Page 135                                                              Page 137
  1   heterosexual transsexuals have a brain structure                 1   there were no externally identifiable differences
  2   distinct from that of typical non-transsexual                    2   among them while they were adolescents.
  3   persons. Their gender identity is not a transient                3      Q    Do you believe that adolescent onset
  4   or ephemeral characteristic but a likely innate and              4   gender dysphoria was a condition that existed in
  5   immutable characteristic emerging from their                     5   2011?
  6   particular brain structure." Did I read that                     6      A    I can only know, of course, what's in the
  7   correctly?                                                       7   evidence, and there was no evidence in 2011 -- we
  8       A Yes, that is correct. In this paper, I                     8   had some evidence in 2011 that there was a
  9   was talking, of course, about the two types of                   9   demographic shift in who was coming to clinics, but
 10   gender dysphoria that had been identified at that               10   we had not at that point yet observed the as I keep
 11   time, the early onset or childhood onset cases vs.              11   saying explosion of cases where they are by far the
 12   the adult onset cases. This is now, you know,                   12   predominant type of case, and of course, the papers
 13   several years before the explosion as I describe it             13   that, the research that I was referring to in this
 14   of this other type of case that had not previously              14   letter of mine then draws upon the taxonomic
 15   been identified. It is that in a case which did not             15   research that was done all the way through that
 16   appear to exist when I published this in 2011 but               16   point and had been conducted for several decades
 17   now appears to be the large majority of people                  17   preceding it.
 18   appearing to clinics, even though they do not at all            18      Q    Turning back to this letter to the editor,
 19   resemble the better, the two better established -- I            19   is it fair to say that you asserted that for at
 20   should say two well established types that were                 20   least some transgender individuals, gender identity
 21   observed ahead of time.                                         21   is not a transient or ephemeral characteristic,
 22              So what I say here is exactly true                   22   correct?
 23   and it pertains to the two types that I describe in             23      A    Again, that can't be said as a blanket
 24   that, that paragraph. I did not write and did not               24   statement for everybody, for everybody with gender
 25   intend and, and it doesn't apply to this, to this               25   dysphoria or people with, or for every gender

                                                                                                             35 (Pages 134 - 137)
                                           www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 37 of 122
                              James M. Cantor                    May 2, 2024
                                                            Page 138                                                             Page 140
  1   identity that got labeled since then. Part of the                 1   autogynephilia, so what we're observing in the brain
  2   entire problem is that almost beginning in 2011-2012              2   is evidence of the motivations that can, for
  3   when this explosion and great change started that                 3   example, that lead some people to want to change
  4   now, people are labeling any of many different                    4   their sex physically, but we do not have evidence of
  5   things. They're using the term gender identity, but               5   there being anything in the brain that
  6   none of them is associated with the kind of, with                 6   differentiates the people with this motivation and
  7   the level of rigorous evidence that was used that                 7   then go on to change their bodies vs. experience
  8   led to the conclusion of there being two types, two               8   this motivation and decide not to change their
  9   different phenomenon that can lead to gender                      9   bodies. That is the, what we're observing in the
 10   dysphoria ahead of time.                                         10   brain that appears to be related to sexual
 11      Q    And is it fair to say that in this letter,               11   orientation or to experiencing a paraphilia, not the
 12   you asserted that for at least some transgender                  12   gender dysphoria itself.
 13   individuals, their gender identity was a likely                  13      Q    I just want to make sure I understand,
 14   innate and immutable characteristic, correct?                    14   because you say here in this letter to the editor,
 15      A    Correct insofar as it refers to the two                  15   you say you're talking about two populations,
 16   specific types of gender identity that I keep                    16   childhood onset gender dysphoria and adult onset
 17   referring to in the paper. That is the early onset               17   gender dysphoria, and you state here in the last
 18   type and the late onset, onset type. We had no                   18   sentence, "Their gender identity is not a transient
 19   evidence that -- the adolescent onset type hadn't                19   or ephemeral characteristic but a likely innate and
 20   been identified, recognized, researched. We had no               20   immutable characteristic emerging from their
 21   information available to it. I don't refer to it in              21   particular brain structure." So my question is,
 22   the paper, in this letter, and it would be an error              22   were these two populations you say you're referring
 23   to generalize the evidence in support of what was                23   to here, and we're not talking adolescent onset.
 24   going on in these two different types that I'm                   24      A    Yes.
 25   contrasting with a third type that really did not                25      Q    For the childhood onset and the adult
                                                            Page 139                                                             Page 141
  1   seem to exist at that time at all.                                1   onset, do you still agree with this statement or you
  2       Q Would you agree that at least for some                      2   no longer agree with it?
  3   transgender people, gender identity is likely innate              3          MR. FRAMPTON: Object to the form.
  4   and immutable?                                                    4      A    I agree with it in the sense that I'm
  5           MR. FRAMPTON: Object to the form.                         5   referring to the motivations that is leading the
  6       A For some in the sense that I am talking,                    6   person to potentially change their, change their
  7   if that one is continuing to talk about the two                   7   bodies. That feeling of their attraction patterns,
  8   types that I'm referring to in this letter, the                   8   whether it's (inaudible) philia or a sexual
  9   adult onset type and the, and the early onset type,               9   orientation matter, that attraction pattern is not
 10   but as I say, it would be a mistake to generalize                10   going to change, or we have no evidence to suggest
 11   that to the form, to the forms or the situations                 11   that those motivations, those attractions will
 12   that are being called other gender identities since              12   change.
 13   that time.                                                       13      Q    Turning back to your report where you're
 14       Q So just to make sure I understand, is it                   14   discussing Littman 2023, that study exclusively
 15   your position that for the early onset and adult                 15   relied on de-transitioner and self reports, correct?
 16   onset population, gender identity for at least some              16      A    That's my recollection, yes.
 17   of these people is likely innate and immutable?                  17      Q    Did you consider this paper to be the most
 18       A Not exactly. It's, it's not the gender                     18   scientifically rigorous of the new studies regarding
 19   identity -- the piece, the nature of the association             19   de-transition; is that right?
 20   is that the, the brain phenomenon that we're                     20      A    I would reflexively hesitate to say the
 21   observing in the early onset type is the type that's             21   most without putting some time and effort to check
 22   associated with sexual orientation, with                         22   to see if there's an exception, but the general
 23   homosexuality. The brain patterns that we're                     23   state of the research on de-transition is roughly at
 24   observing in the adult onset type appear to be                   24   this level, and Littman's studies of them are in
 25   associated with gender dysphoria, specifically                   25   general, are in general the best among them, but I

                                                                                                            36 (Pages 138 - 141)
                                           www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 38 of 122
                              James M. Cantor                    May 2, 2024
                                                            Page 142                                                               Page 144
  1   can't make a definitive statement or rule out the                 1      A      I'm just checking. The usual editorial
  2   possibility that there's an exception that I'm not                2   process starts with -- it's the difference in years
  3   recalling.                                                        3   that make me just want to make sure that it isn't a
  4      Q    Okay. Turning to Exhibit 7, your                          4   different paper or if it's the same paper whose date
  5   supplemental report, if you could look at paragraph               5   has changed when it went from on line availability
  6   34.                                                               6   to in print availability.
  7      A    I'm there.                                                7      Q      Sure. And it says here published on line
  8      Q    You start this paragraph by stating, "The                 8   December 1st, 2023.
  9   most scientifically rigorous of these is Littman, et              9      A      As I say, that's the most logical part.
 10   al., 2023." Is that right?                                       10   With the number of studies getting produced, I'm
 11      A    Yes, that's correct.                                     11   just --
 12      Q    So have you changed your position that the               12      Q      Are you aware of another study that Lisa
 13   most scientifically rigorous of these studies is                 13   Littman published in 2023?
 14   Littman 2023?                                                    14      A      Not offhand. Oop, one second. Ah, okay.
 15          MR. FRAMPTON: Object to the form. Go                      15   Yes, the same one. I was checking. It's called the
 16      ahead.                                                        16   DOI, the digital object identifier, so that stays
 17      A    I wouldn't say that I changed my mind.                   17   the same even when the years change. So yes,
 18   I'm just aware that the research on this particular              18   they're the same study.
 19   aspect, especially in this particular field, is                  19      Q      Okay. Always good to check. Turning to
 20   evolving very, very quickly, so when I was writing               20   page 72, second column. Wait for Andrew to scroll.
 21   this, of course, I exactly as I described checked to             21   Just give him a second.
 22   see what else was available. I'm just acknowledging              22      A      No sweat.
 23   that it is possible that somewhere in my reading                 23      Q      Okay. So page 72. Okay. So I'm looking
 24   pile that there is another such study.                           24   at the limitations discussion in the first -- second
 25      Q    Do you have other citations of studies                   25   column, first paragraph. "The authors acknowledge
                                                            Page 143                                                               Page 145
  1   that you would deem to be as equally scientifically               1   that they cannot know whether our informants were
  2   rigorous as Littman on this topic?                                2   representative of de-transitioners and desisters
  3       A Roughly. As I say, she uses measures that                   3   because recruitment was conducted via what they term
  4   are exactly appropriate to the questions that she's               4   relevant internet sites and social media", correct?
  5   asking. She's sampling both in the best positions                 5      A      Yes, that is correct.
  6   to describe it, but in a very quickly moving,                     6      Q      And the Littman 2023 authors acknowledge
  7   especially in a controversial area, things move,                  7   that their design does not allow them to estimate
  8   things move quickly. I don't offhand recall a                     8   how common de-transition and desistance are,
  9   substantial increase in, in methodology, but again,               9   correct?
 10   I reflexively hesitate to make a definitive                      10      A      Yes, that is indeed to the authors' credit
 11   statement without first checking.                                11   when conducting this kind of research to know what
 12       Q And just to clarify, my question was other                 12   can be learned from the study and what ought to be
 13   studies, studies other than Littman that you would               13   learned from the study because their purpose in this
 14   cite to that are of equal scientific rigor that have             14   one is to identify the cluster of characteristics
 15   come out since this study.                                       15   that describe these people. This again is not an
 16       A There have been similar such, there have                   16   outcome study. They are legitimately and correctly
 17   been -- I can't recall one offhand of this precise               17   identifying that it's because of factors like this
 18   topic, but again, I would have to just double check              18   that a study like this needs to be followed up with
 19   and make sure that there isn't one that I'm either               19   that much more advanced type of study afterwards.
 20   not recalling or haven't gotten to reading yet.                  20   The value of any particular study should never be
 21          (Exhibit 13 marked.)                                      21   either overestimated or underestimated.
 22   BY MS. MONTAG:                                                   22      Q      And the Littman 2023 study does not
 23       Q I'm marking the next document as Exhibit                   23   identify a cause or causes of gender dysphoria,
 24   13. Andrew, that's doc 14. Dr. Cantor, this is                   24   correct?
 25   Littman 2023; is that right?                                     25      A      Correct. They are very careful to make

                                                                                                              37 (Pages 142 - 145)
                                          www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 39 of 122
                              James M. Cantor                    May 2, 2024
                                                           Page 146                                                               Page 148
  1   sure that that's, that nobody concludes that from                1   cross-sex hormone treatments?
  2   their study, and as I say, it's to the authors'                  2      A      That is correct. Typically, the cross-sex
  3   credit to, to identify what can be concluded and                 3   hormones would begin somewhere between ages of 14
  4   what should not be concluded. That doesn't by                    4   and 16.
  5   itself mean the study is wrong. It means this                    5      Q      In paragraph 58 of your report,
  6   merits further study because it is a definite                    6   supplemental report, you state that neither the
  7   possibility.                                                     7   Stolk systematic review nor WPATH write any
  8      Q    This paper was published in the Archives                 8   indication of how effective fertility counseling can
  9   of Sexual Behavior, correct?                                     9   be with, and "For example, a 10 year old or
 10      A    That's correct.                                         10   prepubescent child making the irreversible decision
 11      Q    As a member of the editorial board of the               11   never to become a biological parent." What's your
 12   Archives of Sexual Behavior, did you play a role in             12   basis for the assertion that prepubescent children
 13   this article being published?                                   13   are making an irreversible decision to never become
 14      A    No, I did not.                                          14   a biological parent?
 15      Q    Turning back to your supplemental report                15          MR. FRAMPTON: Object to the form. Go
 16   at paragraph 55, page 24.                                       16      ahead.
 17      A    I'm there.                                              17      A      It's the combination of each individual
 18      Q    Okay. You use the term irreversible                     18   ubiquitous research papers indicating what's going
 19   sterilization. How do you define that term?                     19   on at each stage of transition. As I alluded to
 20      A    Not using any particularly technical                    20   earlier, even before this stage, it's the undergoing
 21   definition, I'm pointing out that amongst those                 21   of social transition is associated with a much, much
 22   dangers when a prepubescent endocrine system is                 22   greater possibility of undergoing puberty blocking.
 23   exposed to cross-sex hormones, it virtually always              23   Similarly, undergoing puberty blocking is associated
 24   loses the capacity for to go back to where it was,              24   with an extremely high rate of going on to the
 25   to go back to where it was and to produce fertile               25   cross-sex, cross-sex hormone treatment. The stage
                                                           Page 147                                                               Page 149
  1   tissue with the current technology available.                    1   at which the irreversibility occurs is when the
  2      Q    Okay. And what is your basis for that?                   2   prepubescent gonadal tissue is exposed to the
  3      A    Once again, that's not a particularly                    3   cross-sex hormones.
  4   controversial statement. That's pretty standard in               4      Q      So is it your position that a prepubescent
  5   endocrinological science. That's been very well                  5   child who has undergone social transition only is
  6   known for a long time.                                           6   making an irreversible decision never to become a
  7          (Exhibit 14 marked.)                                      7   biological parent?
  8   BY MS. MONTAG:                                                   8      A      That's not exactly the situation. While a
  9      Q    Okay. I'm marking the next document as                   9   child is on puberty blocking medication, their body
 10   Exhibit 14. Andrew, this is doc 15. This is a copy              10   remains prepubescent. When they are at the age at
 11   of Stolk, et al. 2023; is that right?                           11   which cross-sex hormones are getting considered,
 12      A    Yes, it is.                                             12   again, they would be, for example, somewhere around
 13      Q    In paragraph 58 of your report, you state               13   age 14. Now, a child already on puberty blockers is
 14   that, "Stolk, et al., recognized that cross-sex                 14   at a prepubescent stage even though they're at age
 15   hormone treatment beginning at Tanner stage two ends            15   14, which for an unblocked child would be towards
 16   the possibility of future fertility." Where does                16   the end of puberty, so that child's brain which has
 17   Stolk say this?                                                 17   not yet been exposed to the pre-, to the hormones at
 18          MR. FRAMPTON: Object to the form. Go                     18   puberty because they're on the puberty blockers,
 19      ahead.                                                       19   they have not yet experienced sexual arousal. They
 20      A    I'd have to reread the article itself. As               20   have not yet experienced sexual desire. They have
 21   I say, that's not a particularly controversial                  21   not yet experienced the onset or the handling of
 22   statement. I'd have to go through, reread its lit               22   relatively adult level decisions.
 23   review to see exactly where it said that.                       23               It is a prepubescent brain and
 24      Q    You acknowledge that generally, puberty                 24   therefore a prepubescent mind deciding whether to go
 25   blockers are prescribed at Tanner stage two, not                25   on to the cross-sex hormones, so it is then the

                                                                                                            38 (Pages 146 - 149)
                                          www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 40 of 122
                              James M. Cantor                    May 2, 2024
                                                            Page 150                                                            Page 152
  1   onset, or then the administration of those cross-sex              1   because so much of this really pertains to mental
  2   hormones which exposes that still prepubescent body               2   health. Social transition and the interventions
  3   to the cross-sex hormones, which produces sterility,              3   that go along with it are, becomes in an odd way
  4   which is irreversible.                                            4   almost a turf battle. If a psychologist or social
  5      Q    I just want to make sure I understand,                    5   worker and a psychiatrist engage in the very, very
  6   because you previously said, agreed that puberty                  6   same interventions with a child, we would call it a
  7   blockers are prescribed at Tanner stage two,                      7   medical intervention when the psychiatrist is doing
  8   correct?                                                          8   it, but we would call it a non-medical intervention
  9      A    It can be as early as Tanner stage two.                   9   when a social worker or psychologist does it, even
 10   There would be no point administering them earlier,              10   though the person were doing it, too, is the same
 11   and there also exists patients who attend clinics                11   person and the thing being done is the same thing
 12   and do not begin puberty blockers at Tanner stages               12   because we know that the social transition is so
 13   three or four.                                                   13   strongly associated with much more unambiguously
 14      Q    Tanner stage two is an indication that                   14   medical interventions, the hormone blockers,
 15   puberty has already begun, correct?                              15   cross-sex hormones, surgeries and so on.
 16      A    It is the very beginning of. It is the                   16             Because they're so closely
 17   first signs of puberty.                                          17   associated, it is as I say much more ambiguous to
 18      Q    So when you said that prepubescent                       18   draw the line, you know, which ones of these counts
 19   children are receiving puberty blockers, isn't that              19   as medical vs. not. Engaging in behaviors that, you
 20   incorrect because they have at least entered Tanner              20   know, lead to and entail unambiguously medical
 21   stage two?                                                       21   interventions again require the same ethical
 22          MR. FRAMPTON: Object to the form.                         22   considerations, require the same ethical
 23      A    No. Different tissues of the body, you                   23   considerations as the medical interventions that
 24   know, develop at different, at different rates. You              24   they are likely to lead to.
 25   know, the body does not, these are not dichotomous               25      Q    Is it your testimony that social
                                                            Page 151                                                            Page 153
  1   stages. These are not discrete stages such that the               1   transition alone can constitute medical gender
  2   entire shift happens one day, one is prepubescent,                2   affirming care?
  3   the next day one is pubescent, and stage itself                   3          MR. FRAMPTON: Object to the form.
  4   lasts for many months or over a year, so the, any                 4      A    What I'm pointing out is that one can't
  5   comparison when one has a gender dysphoric child for              5   consider social transition alone to begin with
  6   whom one is planning to undergo puberty blocking,                 6   because it's pretty well established how closely
  7   one is watching for the very first signs of the                   7   associated it is with the steps that follow it.
  8   growth of pubic hair, fuzzy lip, whatever, voice                  8      Q    Do you believe that children who take
  9   cracking, acne in someone, so one would typically                 9   puberty blockers for precocious puberty are making
 10   observe that at the very, very first stage of what               10   an irreversible decision to never become a
 11   is a four- to six-year process, so by every, you                 11   biological parent?
 12   know, objective indicator we have, this body is as               12      A    No, the treatment for precocious puberty
 13   prepubescent as a body can be but still for which                13   doesn't include the cross-sex hormones, which is
 14   one is considering the puberty blockers.                         14   what triggers the sterility.
 15      Q   So would you consider an individual in                    15      Q    So puberty blockers in themselves do not
 16   Tanner stage two to be prepubescent?                             16   prevent someone from becoming a biological parent if
 17      A   No, they would be showing the very, very                  17   puberty blockers are stopped, correct?
 18   first signs of beginning puberty.                                18      A    Again, these treatments, it is not
 19      Q   Can you identify any medical practice                     19   legitimate to consider these treatments alone to
 20   guidelines that recommends providing gender                      20   begin with because of the, because of the
 21   affirming medical care to minors before puberty?                 21   associations between each step of the interventions
 22      A   The existing guidelines generally don't                   22   and its association with taking the next step of
 23   describe the interventions that do occur before                  23   these interventions.
 24   puberty as medical, but the, what counts as medical              24      Q    So is it your position that every
 25   becomes very ambiguous in these circumstances                    25   transgender adolescent on puberty blockers goes on

                                                                                                             39 (Pages 150 - 153)
                                          www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 41 of 122
                              James M. Cantor                    May 2, 2024
                                                            Page 154                                                              Page 156
  1   to take cross-sex hormones without stopping in                    1      A    Psychotherapy doesn't cause sterility.
  2   between?                                                          2          (Exhibit 15 marked.)
  3      A    That is not my testimony, no. As I say,                   3   BY MS. MONTAG:
  4   the associations are very, are very close and it is               4      Q    You go on to say that the WHO 2014
  5   the large, large majority of them, but I would                    5   publication in paragraph 63 and preceding the
  6   especially in mental health and behavioral health                 6   summary chart on page 28, so I'm marking that
  7   hesitate to say all, but it is as I say the large,                7   publication as Exhibit 15, and Andrew, this is doc
  8   large majority, and policy decisions need to be made              8   16, so turning to page 172.
  9   on that basis.                                                    9          MR. FRAMPTON: Coty, while he's doing
 10      Q    The decision to take puberty blockers is                 10      that, finish your line of questioning, do what
 11   not in itself an irreversible decision to never                  11      you need to do, but we're a little over an hour
 12   become a biological parent, correct?                             12      now, so I think a break would be appropriate
 13      A    I'm not saying that it was. Again, the                   13      when you reach a stopping place.
 14   step in the series of interventions at which, at                 14      Q    Sure. I have a few more minutes, and then
 15   which the sterility happens is at the administration             15   I'm happy to take a break.
 16   of cross-sex hormones on the, on prepubescent, on                16          MR. FRAMPTON: Yeah, that's fine.
 17   prepubescent anatomy. The steps that happen before               17      Q    Just give us one moment. Okay. Thank
 18   that, again, all the indications are, are about                  18   you. Okay. So I'm looking at the second row of
 19   making that eventuality more and more likely.                    19   this chart where the situation is uncertain benefit,
 20      Q    Okay. Turning back to your supplemental                  20   certain harm, and under type of recommendation, is
 21   report, paragraph 62 on page 27.                                 21   it correct that WHO says, "Strong recommendation
 22      A    I'm there.                                               22   against the intervention", and then in parentheses,
 23      Q    You state that, "When the evidence shows                 23   "or in favor of a less harmful/costly comparator",
 24   that two treatments have potentially equivalent                  24   end parentheses?
 25   effectiveness but that one clearly poses less risk               25      A    Oh, uncertain benefit/type of
                                                            Page 155                                                              Page 157
  1   such as with psychotherapy vs. medicalized                        1   recommendation. Yes.
  2   transition, then the recommendation is a strong                   2      Q    Okay. And then scrolling to the next
  3   recommendation against the higher risk treatment",                3   page, under type of situation, potential
  4   and you're citing here Chong, et al. Here you're                  4   catastrophic harm, under type of recommendation,
  5   asserting that psychotherapy and medicalized                      5   correct that WHO says, "Strong recommendation
  6   transition have potentially equivalent                            6   against the intervention (or in favor of the less
  7   effectiveness; is that right?                                     7   harmful/less expensive comparator)"?
  8      A    That is what the research shows, yes.                     8      A    Yes, those entries are exactly what I'm
  9      Q    And what's the basis for the assertion                    9   describing, that this is indeed, you know, a
 10   that psychotherapy has potentially equivalent                    10   demonstration that psychotherapy would be preferred,
 11   effectiveness to gender affirming medical care?                  11   the preferred method.
 12      A    That's the accumulation of all of the                    12      Q    Turning back to page 28 of your
 13   relevant outcome studies. In this particular case,               13   supplemental report, this is a chart here. You
 14   it's of the cohort studies, all of which I cited in              14   frame these recommendations differently, correct?
 15   my report, demonstrating that the studies which                  15      A    I might have used different phrasing, but
 16   indicate an improvement in mental health are the                 16   this is the same, as I say, this is standard, these
 17   studies that gave both psychological treatment                   17   are standard in the clinical ethics.
 18   together with the physiological treatments. Because              18      Q    So for the situations, I'm looking just at
 19   these two were given at the same time, it is just as             19   uncertain benefits, certain harm, and then down to
 20   possible that it was the psychotherapy as it was the             20   potential catastrophic harm. For both of those, you
 21   physiological treatments that were causing the                   21   state that the recommendation is, "Strong
 22   improvement.                                                     22   recommendation against the more harmful/costly
 23      Q    And what's the basis for the statement                   23   option"; is that correct?
 24   that psychotherapy clearly poses less risk than                  24      A    Yes, that is correct.
 25   gender affirming medical care?                                   25      Q    And this chart is based on the WHO 2014

                                                                                                             40 (Pages 154 - 157)
                                           www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 42 of 122
                              James M. Cantor                    May 2, 2024
                                                             Page 158                                                             Page 160
  1   publication?                                                       1      Q I'm at a good stopping point. It's 2:14.
  2      A    And yes, I picked that one because it's                    2   Should we come back at 2:25?
  3   one of the best known, but as I say, these are, this               3          MR. FRAMPTON: That's fine with me.
  4   is standard clinical ethics, and these, exactly as I               4      A Sure.
  5   was describing, this is why if one applies to this                 5      Q We can go off the record.
  6   clinical decision that the usual clinical decision                 6          (Brief recess.)
  7   would be strong recommendations against the medical                7   BY MS. MONTAG:
  8   transition of these children until anybody can                     8      Q So turning to page 34 of your supplemental
  9   establish that it's, the medical transition, you                   9   report, it's Exhibit 7, doc 8. Starting paragraph
 10   know, provides benefits that makes it worth engaging              10   78, Dr. Cantor, this is Subsection E. Have any of
 11   these risks and harms.                                            11   the papers that you cite in this subsection been
 12      Q    But would you agree that the WHO                          12   peer reviewed?
 13   recommendation for these two categories is not                    13      A I'm just checking. In this section, I'm
 14   solely a strong recommendation against intervention?              14   not -- this isn't a section where I'm offering peer
 15      A    I don't think I understand your question.                 15   reviewed evidence. In this section I'm describing
 16      Q    Sure. Let's go back to the WHO 2014, so                   16   the opinions of various experts as, you know, as
 17   Exhibit 15, doc 16. No, doc 16, Andrew. And just                  17   they've been quoted in high end media sources.
 18   to look at it again, we can look at the potential                 18      Q Understood. I'm marking the Abbasi
 19   catastrophic harm here. Just to confirm, this says                19   publication that you reference in paragraph 82 --
 20   here under type of recommendation, "Strong                        20   that's page 35 -- as Exhibit 16, and Andrew, that's
 21   recommendation against the intervention or in favor               21   doc 17 if you can pull it up.
 22   of the less harmful/less expensive comparator"?                   22          (Exhibit 16 marked.)
 23      A    Yes. In this case, the potential                          23   BY MS. MONTAG:
 24   catastrophic harm would be lifetime sterility, and                24      Q Dr. Cantor, this is a copy of Abbasi?
 25   when we have only very weak evidence, which is true               25      A Yes, it is.
                                                             Page 159                                                             Page 161
  1   with this case, then the typical course of action                  1      Q   And this was published in the British
  2   would be a strong recommendation against the                       2   Medical Journal?
  3   intervention that would cause sterility or for the                 3      A   Yes, Abbasi is the editor in chief of it.
  4   intervention that lacks it, which would be                         4      Q   Do you know whether this editorial was
  5   psychotherapy.                                                     5   peer reviewed before publication?
  6      Q    And I just want to confirm that you framed                 6      A   It is editorial in and of itself from the
  7   this differently in your report as just a strong                   7   journal editor in which he's expressing his opinion.
  8   recommendation against intervention and you didn't                 8   He is not, he is not offering and I'm not offering
  9   mention in favor of a less harmful or less expensive               9   it as peer reviewed evidence.
 10   comparator.                                                       10      Q   Would you agree that Abbasi discusses the
 11      A    I don't see how that can be confused. The                 11   need to prioritize research?
 12   phrasing that I used was comparing options. It's                  12      A   That is the basic tenor of what he's
 13   already clear from the context what those two                     13   reminding people of the need of.
 14   options are, and I describe it as more and less, so               14      Q   Did Abbasi call for the criminalization of
 15   it's, you know, comparing the two. I don't see,                   15   gender affirming medical care for minors in his
 16   again, I'm not seeing any kind of a difference, and               16   editorial?
 17   I'm also noting that I did not offer this or                      17      A   I'd have to double check the extent of how
 18   describe this as a re-telling of what WHO said. I                 18   he put it in this particular document, but the --
 19   described the two different publications from which               19   one can't, you know, readily compare how the
 20   this idea was presented and I summarized what each                20   American systems work with how the European systems
 21   of them are. Had it been, had I thought it been                   21   work, or I should say more broadly about how
 22   necessary, I could have, you know, just as easily                 22   medical, how health care is managed in countries
 23   taken a clip and re-posted the exact WHO document.                23   with national health care systems.
 24   As I say, I don't see a difference at all in the                  24      Q   Doesn't Abbasi characterize United States
 25   meanings between these.                                           25   state laws denying gender affirming care as

                                                                                                             41 (Pages 158 - 161)
                                          www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 43 of 122
                              James M. Cantor                    May 2, 2024
                                                          Page 162                                                              Page 164
  1   draconian in this letter, or in this editorial?                 1   procedures which even their own institutions
  2          MR. FRAMPTON: Object to the form.                        2   recommend should be done, it is left with, you know,
  3      A I'd have to reread it to see.                              3   relatively crude strategies of legislatures making
  4      Q Sure. And that's in the last paragraph if                  4   broad, broad statements. The point of what the
  5   you want to read it. And I'll read it aloud.                    5   editor was saying, of what the editor is pointing
  6   Abbasi says, "Taking this route is essential. An                6   out is that what is the need for medical
  7   evidence void not only exposes people to                        7   associations to have done what they failed to do in
  8   overtreatment but can also be used to deny people               8   this case and produce guidelines that are evidence
  9   the care they seek such as through the draconian                9   based.
 10   laws being introduced in some U.S. states." And                10      Q     But I'm just asking you to confirm that
 11   then he cites an article, correct?                             11   Abbasi refers to U.S. laws like the law in this case
 12      A One second. Just checking which it is                     12   as draconian in his editorial; is that correct?
 13   that he's citing. Oh, I see it now, yes. I'm                   13      A     Well, my oath was to tell the whole truth,
 14   sorry. What was your question again?                           14   and to understand that statement requires the
 15      Q I was just asking you to confirm the                      15   context in which he very clearly intended it. I'm
 16   sentence and that he cites an article there. The               16   sorry. I'm getting a low battery signal, which I
 17   Alabama law at issue in this case is referenced in             17   don't understand since we're plugged in.
 18   that article he cites, correct?                                18      Q     Do we need to go off the record?
 19          MR. FRAMPTON: Objection to the form.                    19          MR. FRAMPTON: Let's go off real quick.
 20      A I don't see him citing it -- I don't see a                20          (Brief recess.)
 21   reference to Alabama there --                                  21   BY MS. MONTAG:
 22      Q Sure.                                                     22      Q     So Andrew, can you turn back to Exhibit
 23      A -- as I --                                                23   16, which is doc 17? So Dr. Cantor, I'm asking a
 24          (Exhibit 17 marked.)                                    24   very simple question. I'm not asking about the
 25                                                                  25   differences between U.K. and U.S. law. I'm just
                                                          Page 163                                                              Page 165
  1   BY MS. MONTAG:                                                  1   asking you to confirm that Abbasi states here that,
  2      Q   Looking at footnote 6, and I'm going to                  2   references that laws being introduced in some U.S.
  3   mark the next document as Exhibit 17.                           3   states, he characterizes them as draconian. Would
  4      A   Yes.                                                     4   you agree with that?
  5      Q   Okay. So this is the article, do you                     5      A     The meaning of that sentence cannot be
  6   agree this is the article cited by Abbasi in                    6   understood accurately without that context.
  7   footnote 6? And we can --                                       7      Q     Okay. And I'm also asking you to confirm
  8      A   Yes, it is. I can tell by the page                       8   that in footnote 6 which we have introduced, he
  9   numbers.                                                        9   cites an article that we have introduced as Exhibit
 10      Q   Okay. And just looking down to the fifth                10   17, and in Exhibit 17, the Alabama law at issue in
 11   paragraph, would you agree it states, "Alabama,                11   this case is referenced. Do you agree?
 12   Arkansas, South Dakota and Utah have also passed               12      A     It's, the Alabama law is referenced in
 13   laws banning the provision of treatments for gender            13   that, and as I say, the context in which the editor
 14   dysphoria", correct?                                           14   made his comments is within the, what happens when
 15      A   He lists it among them, but as I say, it's              15   the medical associations fail to engage in the very
 16   very difficult to compare on a head to head basis,             16   evidence based medicine procedures that they
 17   you know, how the American system manages health               17   themselves advocate for.
 18   care vs. how nationalized health care systems manage           18      Q     Okay. Turning back to your supplemental
 19   them. It is because within, including jurisdictions            19   report, in paragraph 90, page 39. You note that
 20   in Canada, within public health care systems, their            20   Dr. Turban published a correction to his article
 21   relatively fine and nuanced system of controls can             21   Access to Gender Affirming Hormones During
 22   be, can be done. The American system depends on                22   Adolescence and Mental Health Outcomes Among
 23   the, what amount to volunteer actions of                       23   Transgender Adults. Did those corrections change
 24   professional guilds themselves. In the U.S.,                   24   the conclusions in the article?
 25   because they have failed to engage in the kinds of             25      A     They didn't change his descriptions of

                                                                                                            42 (Pages 162 - 165)
                                         www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 44 of 122
                              James M. Cantor                    May 2, 2024
                                                              Page 166                                                              Page 168
  1   them. It evidences the poor quality analyses in                     1   BY MS. MONTAG:
  2   which, that went into it and therefore how reliable                 2      Q    Let's move on. I'm marking Appendix A of
  3   those conclusions should be, should be considered.                  3   your supplemental report as Exhibit 19. This is doc
  4             (Exhibit 18 marked.)                                      4   20. I recognize that the appendix references
  5   BY MS. MONTAG:                                                      5   confidential material subject to the protective
  6      Q       Okay. I'm marking the next document as                   6   order in this case, and so we can designate any
  7   Exhibit 18. Andrew, this is doc 19. Going to the                    7   portions of the transcript as confidential as
  8   second sentence here, it states, "A second and                      8   needed.
  9   independent member of the Plus One editorial board                  9      A    I understand.
 10   has re-evaluated the manuscript and reviews and has                10      Q    Dr. Cantor, do you claim to be an expert
 11   confirmed that the article is scientifically sound                 11   on WPATH?
 12   and meets Plus One's publication criteria." Is that                12          MR. FRAMPTON: Objection to the form.
 13   correct?                                                           13      A    I'm not quite sure what that might mean.
 14      A       That's what Turban is describing, you                   14   I'm an expert in the material that it uses, that it
 15   know, as he describes his own version of the events                15   adopts, the processes that it's supposed to engage
 16   that --                                                            16   in and all of the topics in which it, it acts. I
 17      Q       He's describing here what the editorial                 17   have known of its actions and, you know, very many
 18   board found, correct?                                              18   of the people within it for very many years, many of
 19      A       Yes, that is correct. This is not a                     19   its leaders. I can't imagine -- I would have -- to
 20   statement of the editorial board itself.                           20   the extent that it's meaningful to say that somebody
 21      Q       And further, the second sentence from the               21   can be deemed an expert on such a topic at all, it's
 22   bottom states, "These errors do not affect the                     22   difficult to think of many people who would have,
 23   results of the primary analyses or conclusions                     23   who would be more legitimately said to be one, but
 24   reported in the article", correct?                                 24   WPATH itself is not a field of research to itself.
 25      A       I'm not seeing the bottom of the page.                  25      Q    Are you a member of WPATH?
                                                              Page 167                                                              Page 169
  1      Q       And I can read that again. It's the third                1      A    No, I am not.
  2   sentence from the bottom. "These errors do not                      2      Q    Have you ever been a member of WPATH?
  3   affect the results of the primary analyses or                       3      A    No, I have not.
  4   conclusions reported in the article."                               4      Q    Did you participate in the development of
  5      A       That is again, you know, Turban's                        5   SOC-8?
  6   discussion of, Turban's description of, own version                 6      A    No, I did not. Being a participant in it
  7   of the events, not, not the reflection of the                       7   would be a conflict of interest in trying to
  8   editors.                                                            8   evaluate it.
  9      Q       And the last sentence on that first page                 9      Q    What about SOC-7?
 10   states, "A member of Plus One's editorial board                    10      A    Same.
 11   confirmed that the new results support the results                 11      Q    Did you provide any comments as part of
 12   and conclusions of the published article." Is that                 12   WPATH's development of SOC-8?
 13   correct?                                                           13      A    Provide any comments in public?
 14      A       That's Turban's description of the, of the              14      Q    Correct.
 15   events, yes.                                                       15      A    I don't recall any that are published, I
 16      Q       And do you have any reason to believe that              16   don't recall publishing any in any formal area. I
 17   Dr. Turban's descriptions of the events are                        17   don't recall posting any in any discussion groups of
 18   inaccurate?                                                        18   other sex researchers. It's possible that I would
 19      A       I think it's more accurate to say                       19   have tweeted a comment or, a comment relevant to it
 20   incomplete, which of the analyses are the primary                  20   or about a particular aspect of it on Twitter, but
 21   ones and which of the changes are meaningful changes               21   if I did, it would have been limited to some
 22   or not. Depends on the information one is trying to                22   tangential comment. I never tried composing any
 23   glean from the article to begin with.                              23   kind of broad evaluation in a formal context that I
 24             (Exhibit 19 marked.)                                     24   recall, but as I say, it's, I make many comments
 25                                                                      25   about many documents as they're, as they're

                                                                                                               43 (Pages 166 - 169)
                                            www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 45 of 122
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 46 of 122
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 47 of 122
                              James M. Cantor                    May 2, 2024
                                                  Page 178                                                               Page 180




  8   A   It didn't strike me as pertinent, no.
                                                              9          MR. FRAMPTON: Object to the form. You
                                                             10      can answer.




 24   A   I'm sorry. Ask that again.


                                                  Page 179                                                               Page 181




                                                              3      Q    Dr. Cantor, are you an expert on conflicts
  4       MR. FRAMPTON: Object to the form.                   4   of interest?
                                                              5          MR. FRAMPTON: Objection to the form.
                                                              6      A    Within the context of engaging in, in
                                                              7   science, publishing the science and evaluating
                                                              8   scientific, scientific projects.
                                                              9      Q    And what qualifies you to be an expert on
                                                             10   conflicts of interest?
                                                             11      A    I have an enormous amount of training and
                                                             12   experience in doing exactly that. My roles, you
                                                             13   know, as professor, as general manuscript reviewer,
                                                             14   as editor in chief of a journal, review boards for
                                                             15   proposals for research projects, part and parcel of
                                                             16   each of those is to evaluate all of the aspects of a
                                                             17   research project, which include the research ethics
                                                             18   and the conflict of interest that are involved in
                                                             19   pursuing, pursuing a project.
                                                             20      Q    What specific training have you received
                                                             21   on conflicts of interest?
 22       MR. FRAMPTON: Object to the form.                  22      A    That's pretty much a standard part of the
                                                             23   research training within my Ph.D program. It's
                                                             24   integrated into, you know, a large portion of the
                                                             25   course work that we undergo. It was integrated both

                                                                                                     46 (Pages 178 - 181)
                                     www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 48 of 122
                              James M. Cantor                    May 2, 2024
                                                          Page 182                                               Page 184
  1   formally and informally within research
  2   apprenticeship programs, and it is a continuing
  3   portion integrated into continuing education
  4   projects through, you know, professional
  5   associations of different types as well as in-house
  6   trainings in the various associations and various
  7   institutions I've been part of.
  8      Q    Okay. Turning back to Appendix A, at


 10      A    I'm there.



 13      A    Yes, I am.
 14      Q    And then scrolling to the next page, you               14   A   Correct.
 15   write that,




 23      Q    Are you aware of any clinical practice                 23   A   Yes.
 24   guideline that requires                                        24   Q   Okay.
 25      A    Yes, all of them. As I say, that is a
                                                          Page 183                                               Page 185
  1 standard part of the, of the clinical guideline
  2 procedures that is contained within the guidelines                2   A   Correct.
  3 for writing clinical guidelines. It's neither
  4 controversial. It's ubiquitous.
  5          (Exhibit 21 marked.)
  6 BY MS. MONTAG:
  7      Q    Let's mark the next document as Exhibit
  8 21. Andrew, this is doc 22. Okay. And this
  9 document is marked                                 Dr. Cantor,
 10 do you agree this is a copy of the
                                         And Andrew, maybe
 12 scroll up so he can see the top.
 13      A    It was the second page I was looking for,
 14 please. Yes, this looks like it.
 15      Q    Okay.




                                                                     19       MR. FRAMPTON: Objection to the form. Go
                                                                     20   ahead.



                                                                     23   Q   Sure.


 25      Q    All right. So let's go through them.

                                                                                                  47 (Pages 182 - 185)
                                         www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 49 of 122
                              James M. Cantor                    May 2, 2024
                                                            Page 186                                                              Page 188
  1          MR. FRAMPTON: Same objection. Go ahead                     1   guidelines for establishing guidelines.
  2      and answer.                                                    2      Q    Does that apply only to clinical practice
                                                                        3   guidelines involving gender affirming care?
                                                                        4      A    No. That is ubiquitous throughout
                                                                        5   clinical care, especially medical clinical care.
  6      Q   Yes.                                                       6      Q    So just to make sure I understand, your
  7          MR. FRAMPTON: Same objection. Go ahead.                    7   position would be that an oncologist could not
                                                                        8   participate in the development of a clinical
                                                                        9   practice guideline on the treatment of cancer?
                                                                       10          MR. FRAMPTON: Objection to the form.
 11      Q   Okay.                                                     11      A    No, that's not what I said. It's that
                                                                       12   such conflicts need to be alerted, need to be
                                                                       13   flagged for the leaders of the, of the project
 14          MR. FRAMPTON: Object to the form.                         14   itself and managed appropriately. There are, you
                                                                       15   know, many, many documents discussing this quite in,
                                                                       16   quite in detail. It's the typical strategies for
                                                                       17   managing that conflict of interest or for such
                                                                       18   people to be able to provide input through adviser
                                                                       19   roles, for example, but not be voting members of the
                                                                       20   committee itself. Usually, it's a matter of a
                                                                       21   committee availing themselves of the, for the input
                                                                       22   of such people to be available but for there not to
                                                                       23   have the power or authority to make the final, final
 24      Q   Okay.                                                     24   decisions.
                                                                       25      Q    Let's move on. I'm marking the next
                                                            Page 187                                                              Page 189
                                                                        1   document as Exhibit 22. This is doc 23, Andrew.
  2          MR. FRAMPTON: Objection to the form.                       2           (Exhibit 22 marked.)
                                                                        3   BY MS. MONTAG:
                                                                        4      Q     Dr. Cantor, this is a copy of the final
                                                                        5   report of the Cass review?
                                                                        6      A     I recognize the cover page.
                                                                        7      Q     And this was just published on April 9th,
                                                                        8   2024?
  9      Q    Is it your opinion that anyone who is                     9      A     I'd have to check the date, but that
 10   compensated for performing the work covered by a                 10   sounds approximately true.
 11   clinical practice guideline cannot participate in                11      Q     Who is the lead author of this report?
 12   the development of that guideline?                               12      A     Hilary Cass.
 13          MR. FRAMPTON: Objection to the form. Go                   13      Q     Isn't it true that the Cass review leaves
 14      ahead.                                                        14   open the possibility that medical interventions for
 15      A    The conflict of interest guidelines                      15   gender dysphoria are appropriate in some
 16   provided by the major associations indicate that's a             16   circumstances?
 17   conflict of interest to which the leaders of the                 17      A     Leaves open the possibility? Yes, of
 18   development team need to be made aware, and then                 18   course. In the situation where we have so many
 19   it's the levels of conflict and the means that they              19   unknowns, we can't make definitive statements in any
 20   use in order to ensure that, to manage those                     20   direction.
 21   conflicts and make sure that there is neither a                  21      Q     Okay. I'd like to direct you to page 30.
 22   reality nor perception of those conflicts having                 22   Oh, we lost Andrew. If we could go to page 30,
 23   influenced the final result, the final set of                    23   paragraph 63. Okay. So it says here, "There should
 24   guidelines. That is as I say non-controversial, and              24   be a tiered approach to any intervention package
 25   that is a part of, you know, all the major                       25   which", and then going to the third bullet,

                                                                                                              48 (Pages 186 - 189)
                                         www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 50 of 122
                              James M. Cantor                    May 2, 2024
                                                            Page 190                                                             Page 192
  1   "co-develops a plan for addressing the gender issues              1   after she's made explicit that it is not for any
  2   which may involve any combination of social,                      2   particular one.
  3   psychological and physical interventions." Do you                 3      Q    Okay. And I think you just stated this,
  4   understand physical interventions to include                      4   but just to confirm, isn't it true according to NHS
  5   cross-sex hormones and puberty blockers?                          5   England, puberty blockers are still available in the
  6          MR. FRAMPTON: Objection to the form.                       6   context of a research protocol?
  7      A   No, that would not, no, that would not be                  7      A    They have left room for that, for that to
  8   true. The eventual set of recommendations which are               8   happen, but there does not at this moment exist such
  9   available in other parts of the document restrict                 9   a research protocol.
 10   the puberty blockers themselves to, to research                  10      Q    Let's turn to page 43.
 11   protocols. The cross-sex hormones were recommended               11      A    I'm there.
 12   available at age 18, and Dr. Cass emphasized several             12      Q    I'm looking at paragraph 160, and I just
 13   times that although exceptions can be possible as                13   want to confirm that it states here, "In the case of
 14   early as age 16, such things should be done with                 14   puberty blockers, NHS England has set out that these
 15   extreme caution.                                                 15   will only be available under a research protocol";
 16      Q   So what do you understand the physical                    16   is that right?
 17   interventions to mean here?                                      17      A    Yes, that's a reflection of the
 18          MR. FRAMPTON: He can answer the question.                 18   restriction, of that restriction, yes.
 19      I'm going to ask if we're going to -- this is a               19      Q    Does the Cass review at any point state
 20      big document. If we're going to use it, can I                 20   that gender affirming medical care for minors should
 21      give him a paper copy?                                        21   be criminally banned in the United Kingdom?
 22      Q   Sure. Absolutely.                                         22          MR. FRAMPTON: Object to the form.
 23      A   Thank you.                                                23      A    As I said before, one can't readily
 24          MR. FRAMPTON: That just might make it                     24   compare the administration of the health care
 25      easier.                                                       25   system, of a nationalized health care system with,
                                                            Page 191                                                             Page 193
  1      Q    Of course. Thank you.                                     1   with what the U.S. does. It's exactly because in a
  2      A    We're at page -- in this context, she                     2   national health care system or public health care
  3   wasn't -- she was expressing a general philosophy                 3   system, the tools available to them are very
  4   regardless of what was contained within the, within               4   different than the tools available within, within
  5   the physical interventions, within the physical                   5   the U.S.
  6   interventions.                                                    6      Q    And just to clarify, I'm not asking you to
  7      Q    But what do you understand physical                       7   compare the U.S. to the United Kingdom. The United
  8   interventions to mean here?                                       8   Kingdom has criminal laws, correct?
  9      A    Again, I think she was offering a general                 9          MR. FRAMPTON: Objection to the form.
 10   principle or she was remarking on the general                    10      A    Yes, it does.
 11   principle that the appropriate line of action is to              11      Q    And the Cass review does not at any point
 12   use the lower, less risky interventions before the               12   state that gender affirming medical care for minors
 13   more risky interventions because mental health                   13   should be criminally banned in the United Kingdom;
 14   services and psychotherapy are -- I would have                   14   is that right?
 15   trouble thinking of an exception of lesser risk than             15          MR. FRAMPTON: Objection. Go ahead.
 16   any physical intervention, that the                              16      A    Again, within the context of this
 17   psychotherapeutic ones be exhausted first. It is                 17   particular case, that comparison would be
 18   because she was restricting puberty blockers to                  18   misleading. The times at which such a tool would be
 19   research programs, a legitimate interpretation would             19   used is a selection among the various tools that the
 20   be that she was not including that in this                       20   leaders of any democracy would employ. It is the
 21   particular statement and so was referring to, you                21   U.S. lack of a, of a public health care system
 22   know, cross-sex hormones or potential surgery, but               22   analogous, you know, to most other western countries
 23   before any of the logical points, she was explicit,              23   that make the actions of the governments and the
 24   you know, any intervention package, so I can't say               24   needs of the governments to protect its people
 25   that it's my understanding to be any particular one              25   completely different. I'm not advocating for any

                                                                                                              49 (Pages 190 - 193)
                                         www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 51 of 122
                              James M. Cantor                    May 2, 2024
                                                           Page 194                                                             Page 196
  1   particular policy or system. I can only describe                 1      Q    Is that a no?
  2   the science indicating what might be a greater or                2      A    I don't think what I said can be fairly
  3   lesser risk vs. benefit for any of the patients.                 3   represented as a no as that would remove the context
  4   How any leaders or institutions make that possible               4   required to understand my answer.
  5   is up to that particular government and                          5      Q    Sure. And my question again is just very
  6   jurisdiction.                                                    6   simple. Are there any references to criminal
  7      Q      So I don't want to keep pressing the                   7   penalties in the Cass review?
  8   point, Dr. Cantor, but I do need an answer to the                8      A    Because the situation is not simple, a
  9   question. My question is, does the Cass review at                9   complete and informative answer can't be either yes
 10   any point state that gender affirming medical care              10   or no. Understanding the situation appropriately
 11   for minors should be criminally banned in the United            11   requires the context in which such selections and
 12   Kingdom?                                                        12   decisions are made.
 13          MR. FRAMPTON: Objection to the form.                     13      Q    Okay. Let me ask one more question. Is
 14      A      I don't know how else to answer that                  14   there any text in the Cass review that you're aware
 15   question without the context in which that such a               15   of -- and I'm just referring to the text -- that
 16   statement or absence of such a statement would be               16   references criminal penalties?
 17   made. One can't understand that without, without                17      A    The same as before. Given the tool, given
 18   understanding why a selection of a particular means             18   the tools that are available to the NHS, I can't
 19   of engaging in a policy is made without considering             19   imagine a situation that would require it.
 20   what the alternatives to that policy would be.                  20      Q    Would you agree that Dr. Cass actually
 21      Q      So putting aside the context, is your                 21   encourages participation in research studies
 22   answer no?                                                      22   involving gender affirming care?
 23          MR. FRAMPTON: Objection.                                 23      A    I'd have to reread and check it. She is,
 24      A      It's I cannot answer that the whole, I                24   of course, quite -- she very appropriately indicates
 25   cannot provide the whole truth without that context.            25   repeatedly, you know, that it is important for such
                                                           Page 195                                                             Page 197
  1      Q      The Cass review does not call for criminal             1   research to be conducted, so she encourages the
  2   penalties for parents who help their children                    2   producers of the research and the funders of the
  3   receive gender affirming medical care, correct?                  3   research in order to get the research done. I don't
  4      A      I can really only say the same thing.                  4   recall her saying something along the lines of how
  5   Engaging in that policy is part of how any                       5   you phrased it, which would be encouraging people to
  6   government enforces any of its, any of its policies.             6   participate in the research as research subjects.
  7   I can only offer testimony on the science itself,                7      Q    Okay. Well, let's turn to page 14.
  8   what it indicates and the potential risks or                     8      A    I'm there.
  9   benefits of having vs. not having. How that policy               9      Q    Okay. I'm in the first column, middle of
 10   is enacted is as I say up to the jurisdictions and              10   the second paragraph. Okay. It states here looking
 11   the leaders of that area.                                       11   like in the middle of the paragraph there however.
 12      Q      Sure. And again, just to clarify, I'm                 12   "However, we cannot expect you to make life changing
 13   just asking you to confirm that the Cass review does            13   decisions in a vacuum without being able to weigh
 14   not call for these criminal penalties. Do you                   14   their risks and benefits now and in the long term,
 15   agree?                                                          15   and we have to build the evidence base with good
 16      A      I can't answer that question the same as              16   studies going forward. That is why I'm asking you
 17   before. I can't answer that question without the                17   to join any research studies that look at the longer
 18   context in which that decision among the possible               18   term outcomes of these interventions so you can help
 19   means of enacting the policy would be, would be                 19   all those coming behind you."
 20   picked.                                                         20      A    Yes.
 21      Q      Are you aware of any reference in the Cass            21      Q    Would you -- sorry. Let me just ask my
 22   review to criminal penalties?                                   22   question. Would you agree that Dr. Cass here is
 23      A      Because the national health care system is            23   encouraging participations, participation in
 24   capable of instituting a policy without doing so, I             24   research studies involving gender affirming care?
 25   can't imagine what purpose it would serve.                      25      A    Yes --

                                                                                                            50 (Pages 194 - 197)
                                          www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 52 of 122
                              James M. Cantor                    May 2, 2024
                                                            Page 198                                                             Page 200
  1          MR. FRAMPTON: Objection. Go ahead.                         1   participant would be giving is different than the
  2      A   I didn't recall that sentence, but yes,                    2   kind of assent that a patient would be giving, be
  3   that would be how I interpret this.                               3   given because there are different levels of unknown
  4      Q   Dr. Cantor, is it your understanding that                  4   and uncertainty involved in the decision of whether
  5   SB-184 does not allow for research studies involving              5   to participate or not.
  6   puberty blockers?                                                 6      Q    If a research protocol involves
  7      A   I did not --                                               7   prescribing cross-sex hormones to minors, can their
  8          MR. FRAMPTON: Objection to the form. Go                    8   parents provide informed consent?
  9      ahead.                                                         9      A    I'm not aware of a principle that makes
 10      A   I did not notice in the, in the text of it                10   that impossible, but the circumstances under which
 11   allowing them, no.                                               11   that can happen and the abilities to consent and the
 12      Q   Is it your understanding that SB-184 does                 12   alternatives and so on vary by jurisdiction and vary
 13   not allow for research studies involving cross-sex               13   by the individual risks and alternatives available
 14   hormones?                                                        14   to each of the people, so I hesitate to make a
 15          MR. FRAMPTON: Same objection. Go ahead.                   15   general conclusion in either direction. Well, in
 16      A   I didn't see any text that would leave                    16   any direction.
 17   room for such an exemption, no.                                  17      Q    The Finnish guidelines cited in the Cass
 18      Q   In your view, how can the evidence base                   18   review do not recommend a criminal ban on gender
 19   for gender affirming care be expanded if research                19   affirming care for minors, do they?
 20   studies are criminally banned?                                   20      A    Well, the Finnish system again is, like
 21          MR. FRAMPTON: Same objection. Go ahead.                   21   the English system, it's a nationalized health care
 22      A   Well, I'm not testifying to any, any                      22   system with a different set tools available to it
 23   particular philosophy, but it would necessarily                  23   for how to enact any given health care policy.
 24   include the adoption of research that were being                 24      Q    Adolescents in Finland can receive medical
 25   done in other jurisdictions, and I do not recall                 25   gender affirming care if they're enrolled in a
                                                            Page 199                                                             Page 201
  1   ever seeing any research on this topic being done in              1   clinical trial; is that right?
  2   Alabama I don't think ever.                                       2          MR. FRAMPTON: Objection to the form.
  3      Q   If a research protocol involves                            3      A    Their regulations leave room for that to
  4   prescribing cross-sex hormones to minors, can those               4   happen. I'm not aware of there being any research
  5   minors provide assent?                                            5   protocol available like that for puberty suppressing
  6      A   I'm sorry. Would you ask that again?                       6   medications.
  7      Q   Sure. If a research protocol involves                      7      Q    Finnish guidelines cited in the Cass
  8   prescribing cross-sex hormones to minors, can those               8   review do not recommend a criminal ban on gender
  9   minors provide assent?                                            9   affirming care for minors, do they?
 10      A   Those seem to be two separate questions.                  10      A    The same as before. Because of the nature
 11      Q   How so? I'm just asking about a research                  11   of their system, there was no need to consider such
 12   protocol that would involve cross-sex hormones to                12   a, to consider using that nor to establish the
 13   minors. In the context of that research protocol,                13   policy as indicated by, by the research.
 14   can those minors provide assent?                                 14      Q    Adolescents in Sweden can receive medical
 15      A   That's not the order of events that would                 15   gender affirming care if they're enrolled in a
 16   occur when one is participating in a research                    16   clinical trial?
 17   program. That would, such assent would happen upon               17      A    Their regulations leave room for that, but
 18   signing up for the research study itself typically,              18   they don't have that I'm aware of any such research
 19   and at what point one would be prescribed an                     19   programs for puberty suppressing hormones -- for
 20   intervention, something that resembles the                       20   puberty suppressing medications.
 21   intervention be in a control sample that tries to                21      Q    Is it correct that the Cass review does
 22   mimic or make a person unaware of which intervention             22   not say that randomized control trials are required
 23   they're receiving or any of the other possibilities              23   to evaluate the safety and efficacy of gender
 24   depends on the form of the research protocol itself,             24   affirming medical care for minors?
 25   so the kind of assent that, that a research                      25      A    I don't recall such a definitive

                                                                                                             51 (Pages 198 - 201)
                                         www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 53 of 122
                              James M. Cantor                    May 2, 2024
                                                            Page 202                                                              Page 204
  1   statement. Most of the commentary was about overall               1   that correct?
  2   level of confidence and how strong evidence is in                 2      A   Yes, that is correct. What's missing is,
  3   general and therefore, how strongly we can make a                 3   of course, the knowledge of how complete and up to
  4   recommendation for or against various treatments.                 4   date, whether the records of that number of people
  5      Q    Isn't it true that the Cass review's                      5   were up to date and then if the people, the owners
  6   review of gender identity services records showed                 6   of those records would have reported to the clinic
  7   that of the 3306 patients analyzed, fewer than 10                 7   whether they de-transitioned, whether they
  8   patients de-transitioned back to their sex assigned               8   de-transitioned.
  9   at birth?                                                         9      Q   And just to confirm, combining paragraph
 10      A    I would have to, you know, re-check the                  10   13.11 and table 9, you can conclude that what the
 11   individual numbers, and of course, Cass herself                  11   Cass review is reporting is that of the 3306
 12   emphasizes how poor the follow-up data are, are in               12   patients included within the analysis, less than 10
 13   general, including how confident we can be in, in                13   de-transitioned or were de-transitioning?
 14   the records being complete rather than just people,              14          MR. FRAMPTON: Objection to the form.
 15   you know, leaving the system but there not being any             15      A   No, that's a -- what's being reported is a
 16   record of whether they de-transitioned or not.                   16   reflection of the information that was in the
 17      Q    Let's look at pages 168 to 169.                          17   records available. What's missing is how accurate
 18      A    I'm there.                                               18   the records are to begin with given the lack of
 19      Q    I'm looking at, let's look at table 9.                   19   follow-up procedures in order to make sure that the
 20   It's a little hard to see on the screen, but I know              20   records correctly reflected the current state of the
 21   you have it in front of you. Andrew, can you make                21   patients.
 22   it smaller so I can read it? So Dr. Cantor, I'm                  22      Q   Does Dr. Cass make those qualifications
 23   just asking you to confirm that under first                      23   within this report?
 24   intervention type, looking at de-transition/                     24      A   I would have to go back and, I would have
 25   de-transitioning, percent of patients, there's an X,             25   to re-review the report to see if she made that
                                                            Page 203                                                              Page 205
  1   and then underneath the chart, it says NB, X                      1   statement explicitly or if it were a part of one of
  2   indicates less than 10 patients; is that correct?                 2   her statements where she made it more generally
  3       A I'm sorry. Say all that again.                              3   talking about the lack of follow-up, the lack of
  4       Q So I'm looking at table 9. I'm looking                      4   follow-up and the lack of accurate record keeping in
  5   down at the, you see the line that says                           5   general.
  6   de-transition/de-transitioning?                                   6      Q   Dr. Cantor, do you know whether any
  7       A Oh, yes.                                                    7   transgender people served on Dr. Cass' team?
  8       Q And do you see across under percent of                      8      A   I don't offhand recall her reporting that
  9   patients, it says X?                                              9   other than where she made very explicit, you know,
 10       A Yes.                                                       10   the numbers of everybody, each of the many -- to
 11       Q And do you see underneath the chart, it                    11   speak to large groups of people from each of the
 12   says NB, X indicates less than 10 patients?                      12   many different kinds of stakeholders who were
 13       A Yes.                                                       13   involved in the entire situation, including
 14       Q And so would you agree that this chart                     14   transitioners, hopeful transitioners,
 15   reflects that of those who de-transitioned or who                15   de-transitioners, their parents, their caregivers,
 16   were de-transitioning, it was less than 10 patients?             16   various professions and so on.
 17          MR. FRAMPTON: Objection to the form.                      17      Q   Do you know whether transgender people
 18       A This is of people of whom there were                       18   were permitted to serve on Dr. Cass' team?
 19   existing records, but as I say, it's, it is unknown              19      A   I don't recall reading a discussion of the
 20   to what extent these records accurately reflect the              20   assembly of the team itself.
 21   current status of these individual people -- of all              21      Q   Did the Cass review have any effect on
 22   the people who went through the clinic itself.                   22   private medical care in the United Kingdom?
 23       Q And looking at page 168, paragraph 13.11,                  23          MR. FRAMPTON: Objection to the form.
 24   I just want to confirm it says of the 3499 patients              24      A   That was a bit, I use the term cautiously
 25   audited, 3306 were included within the analysis; is              25   transitional. Quickly after, very soon after the

                                                                                                             52 (Pages 202 - 205)
                                          www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 54 of 122
                              James M. Cantor                    May 2, 2024
                                                             Page 206                                                               Page 208
  1   release of her report was NHS England indicating                   1      Q     Please go ahead. Please go ahead.
  2   that they would no longer, no longer support it.                   2      A     No, no, no. It was just there's a
  3   There was discussion in the media soon after                       3   disconnect between when your voice kicks in and your
  4   indicating that that did not affect private clinics,               4   lips.
  5   and quickly after that was discussion that such                    5           MS. MONTAG: That's technology for you.
  6   restrictions would be expanded to include a                        6      So this actually concludes the United States's
  7   restriction in private clinics. I have not been                    7      questions for you today. I don't know if the
  8   following the policy implications to say what today                8      private Plaintiffs have any questions or if
  9   is the current state of that, but there has been                   9      Mr. Frampton has any questions for you.
 10   substantial discussion aware of that, aware of that               10           MS. MINTER: We do not.
 11   loophole and debate over, you know, by what                       11           MR. FRAMPTON: The Defendant does not.
 12   mechanism it should be closed.                                    12      Sounds like everyone was done.
 13      Q    So you're not currently aware if                          13           REPORTER: Do you want him to read and
 14   adolescents in the United Kingdom are able to obtain              14      sign?
 15   gender affirming medical care through private health              15           MR. FRAMPTON: Yes, he does want to read
 16   care options?                                                     16      and sign, and let me -- I think you're to bill
 17          MR. FRAMPTON: Objection to the form.                       17      the Alabama Attorney General's Office. Do you
 18      A    I recall the expression of the desire of                  18      have their info for that?
 19   the government that it shouldn't happen, and the                  19           REPORTER: Yes. Are you saying you get a
 20   debate as I recall it was trying to settle the                    20      copy and they pay for it?
 21   competing interests over the various freedoms vs.                 21           MR. FRAMPTON: Yeah, that's what I'm
 22   funding, but it was the opinion of the health care                22      saying.
 23   leaders that it was, it would be in the best                      23           (The deposition concluded at 3:50 p.m.)
 24   interests of the minors in order to make it not                   24
 25   available except in the course of research.                       25
                                                             Page 207                                                               Page 209
  1       Q But you're not aware of a current ban?                       1              CERTIFICATE OF DEPONENT
  2       A As I say, I have not followed -- when I --                   2
  3   I'm not, I haven't followed each policy change as                  3      I hereby certify that I have read and examined the
  4   it, as it occurs. It is exactly because this was,                  4   foregoing transcript, and the same is a true and
  5   this one is in flux with the intent to change it in                5   accurate record of the testimony given by me.
  6   the future, I can't say as of today where in the                   6           Any additions or corrections that I feel are
  7   flow of the changes it sits.                                       7   necessary will be made on the Errata Sheet.
  8       Q Okay. So I don't have much more, but this                    8
  9   is probably a good place to stop to take a                         9
 10   five-minute break. Does that sound good?                          10                        ________________________
 11       A Good with me.                                               11                        Name of Witness
 12           MR. FRAMPTON: Good here.                                  12
 13       Q So we'll go off the record and come back                    13                        ________________________
 14   at 3:46.                                                          14                        Date
 15           (Brief recess.)                                           15
 16   BY MS. MONTAG:                                                    16
 17       Q Dr. Cantor, do you have a position on                       17
 18   whether you support or oppose SB-184?                             18   (If needed, make additional copies of the Errata Sheet
 19       A No, I don't have a position in either                       19   on the next page or use a blank piece of paper.)
 20   direction. I'm testifying only to the content of                  20
 21   the science, and as I say, you know, how any given                21
 22   jurisdiction enacts that science is up to that                    22
 23   jurisdiction.                                                     23
 24       Q Dr. Cantor --                                               24
 25       A Sorry.                                                      25 Job No. CS6662450

                                                                                                              53 (Pages 206 - 209)
                                         www.CapitalReportingCompany.com
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 55 of 122
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 56 of 122
                              James M. Cantor                    May 2, 2024
[& - 2023]                                                           Page 1

         &          12 4:19 101:14       156:8 158:17             2
 & 2:5,12 174:8       101:15 103:11      158:17 160:20    2 4:9 25:17
                      103:13 123:3       160:22 164:23      30:6 52:1,2
         0
                      134:10,13          190:14             105:12 108:6
 001016 183:9       121 170:24         160 4:23 69:2        108:17
 00184 1:7          122 4:18             192:12           2/2/24 4:14
 071455 176:22      126 64:4           162 4:24           20 5:3 168:4
   177:21           12:45 104:25       1655 70:14           177:16,19
 071455-0714...       105:7              74:11            200 84:14
   5:4              13 4:20 133:7,8    166 4:25 79:21     20004 2:8
         1            133:17,22        167 5:1            2000s 22:2
 1 4:8 25:17,21       134:14 143:21    168 202:17         2010 22:18
   26:10,10 28:15     143:24             203:23           2011 135:16
   28:15 51:6       13.11 203:23       169 202:17           136:11 137:5,7
   54:21 57:6         204:10           17 4:24 160:21       137:8
   60:23 79:20      134 4:19             162:24 163:3     2011-2012
   89:8             137 65:14 70:1       164:23 165:10      138:2
 10 4:17 41:14      138 69:1 175:7       165:10           20116 3:4
   110:16 115:3,6   139 176:21         172 156:8          2014 4:22
   148:9 202:7      14 4:21 50:21      177 5:3              156:4 157:25
   203:2,12,16        105:20 133:23    18 4:25 15:6,11      158:16
   204:12             143:24 147:7       16:10 17:16,17   20147 3:5
 100 22:11            147:10 148:3       125:9 166:4,7    2015 22:18
 101 97:5             149:13,15          190:12           2016 94:17
 102 99:11            197:7            18006 211:14       2018 65:20
 104 101:7          143 4:20           183 5:5              66:1,20 68:3
 105 4:14           146 182:9          184 8:17 109:8       68:14 69:17
 106 60:23          147 4:21             198:5,12         2020 4:9 51:11
 108 4:15           15 4:22 49:5         207:18             51:19 52:4
 10:25 51:1           147:10 156:2,7   189 5:6            2022 9:21
 10:35 51:2           158:17           19 5:1 130:18        11:18 56:6
 11 4:18 43:15      150 2:7              166:7 167:24       79:1
   51:7 115:6       156 4:22             168:3            2023 25:16,24
   122:25 123:3     16 4:23 13:4       199 89:8,15          54:21 60:22
 110 4:16             14:20 15:6,11    19th 25:16,23        70:12,12 73:10
 115 4:17             15:18 16:9       1st 144:8            76:13 77:10,13
                      17:16,17                              77:16 105:17
                      122:20 148:4
                       www.CapitalReportingCompany.com
                                202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 57 of 122
                              James M. Cantor                    May 2, 2024
[2023 - 9]                                                           Page 2

   105:23 107:1     2:25 160:2         40 123:4           6662450 212:5
   107:14,24        2nd 1:19             125:13,20                7
   108:12 133:10            3            130:24
                                                          7 4:14 85:19
   141:14 142:10                       400 125:18
                    3 4:10 35:6                             105:9,12
   142:14 143:25                       43 192:10
                      52:1 55:14,15                         122:19 142:4
   144:8,13 145:6                      45 104:18,22
                      59:22 108:6,17                        160:9 169:9
   145:22 147:11                       46 60:24
                      110:8 183:17                          170:4
 2024 1:19                             4con 2:13
                      186:21                              7/1/22 5:3
   105:12 189:8                                5
                    3.1 184:1                             7/8/11 4:19
   211:13 212:3
                    3.2 184:6          5 4:12 35:5        70 4:11
 2027 211:16
                    3.3 184:10           59:23 70:20      72 144:20,23
 20530 2:14
                    3.4 184:17           74:6,7 78:12     74 4:12
 206 91:5
                    3.5 184:20           78:18,25 79:1    76 54:22 57:7
 20th 32:15
                    30 13:9 75:18        105:20 108:5     78 160:10
   211:12
                      104:22 189:21      108:16 122:20    7th 211:16
 21 5:5 81:7,9
                      189:22 212:16    5.4 60:7                   8
   177:19 183:5,8
                    31 54:22           5.4. 59:24,25
   212:3                                                  8 4:15 96:17
                    32 54:10           5/19/23 4:8
 216 94:17 95:9                                             108:5,16,19,22
                    3306 202:7         5/2/2024 212:5
 217 95:23                                                  122:19 160:9
                      203:25 204:11    50 30:7 75:18
 22 5:6 183:8                                               169:5,12
                    34 142:6 160:8     52 4:9
   189:1,2                                                  170:14,17
                    342 111:2,10       55 4:10 64:5
 23 189:1                                                   171:11 172:19
                    3499 203:24          146:16
 238 97:5                                                   173:1,7 174:1
                    35 13:9 160:20     58 147:13
 24 146:16                                                  175:11 177:4
                    36 133:7             148:5
 246 99:10                                                  183:18 184:4,8
                    370 2:18           59 65:15 66:7
 248 101:7                                                  184:11,22
                    39 165:19            66:15 68:3
   103:6                                                  806 129:18
                    398 123:5                  6
 25 4:8 66:7,11                                           82 160:19
                      127:7 128:7
   66:12                               6 4:5,13 11:18     85 4:13
                      129:2 131:1,23
 250 3:4                                 49:5 74:6        864 134:22
                    3:46 207:14
 26 51:7                                 85:16,18 125:9   870 2:18
                    3:50 208:23
 27 154:21                               163:2,7 165:8    88 84:14
 28 156:6                   4          60 70:3                    9
   157:12           4 4:11 41:14       62 154:21
                                                          9 4:16 108:22
 2:14 160:1           55:14 59:22      63 156:5
                                                            110:7,8,8,13
 2:22 1:7             70:20,21           189:23
                                                            110:16 202:19

                       www.CapitalReportingCompany.com
                                202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 58 of 122
                              James M. Cantor                    May 2, 2024
[9 - adolescents]                                                    Page 3

   203:4 204:10     academic           acknowledg...      administer 6:9
 90 91:5,19           58:21 59:2         212:12           administered
   165:19             187:5,6          acne 151:9           6:8
 90s 22:15,17       academy 42:10      act 90:11          administering
 93 93:12           acceptable         action 19:4          120:22 121:2
 94102 2:19           33:2               159:1 191:11       150:10
 95 96:17           accepted 76:24       211:11           administration
 950 2:13           access 75:7,9      actions 163:23       55:24 56:4,10
 9:10 1:20            75:12 76:1,3,9     168:17 193:23      57:1,8 150:1
 9th 189:7            76:12 165:21     activist 34:16       154:15 175:11
          a           173:23,24          69:6,10            192:24
                    accumulate         activities 12:11   admiral 174:12
 a.m. 1:20
                      117:21             170:21 183:18      174:14 175:14
 aap's 170:12
                    accumulated        activity 18:21       177:1,12,25
 abbasi 4:23
                      84:10              63:13              178:21 179:1
   160:18,24
                    accumulating       acts 168:16          179:11,20
   161:3,10,14,24
                      81:5 113:6       actual 47:24         180:6
   162:6 163:6
                      114:3,9            52:21 75:20      adolescence
   164:11 165:1
                    accumulation         127:24 180:19      165:22
 abilities 200:11
                      14:23 155:12     actually 104:5     adolescent
 ability 7:12
                    accuracy 34:1        119:21 123:12      14:19 17:22
   17:7,11
                      86:22 212:9        196:20 208:6       18:23 23:19
 able 25:25
                    accurate 44:23     added 101:23         25:2 65:17
   29:11 42:21,23
                      167:19 204:17    additional 10:5      104:2 130:22
   46:4 52:22,25
                      205:4 209:5        16:8 209:18        131:2,11,15
   94:25 96:3
                      211:7            additionally         132:23 136:19
   188:18 197:13
                    accurately 7:24      74:18              136:21 137:3
   206:14
                      41:7 165:6       additions 209:6      138:19 140:23
 above 59:23
                      176:4 203:20     address 97:13        153:25
   60:1,6 70:2
                    acknowledge        addressed          adolescents
   212:6
                      6:4,7 32:23        172:19 182:18      15:4,9,17 16:9
 abscesses 96:20
                      83:21 144:25     addressing           22:6,7 65:10
   96:22
                      145:6 147:24       190:1              66:2 100:8
 absence 82:5
                    acknowledging      adequate             109:17,23
   194:16
                      87:15 142:22       171:22             125:18 127:8
 absolutely
                      171:23 172:5     adflegal.org         128:7 129:3
   190:22
                      173:17             3:6 212:2          131:23 136:12
                                                            136:19,25
                       www.CapitalReportingCompany.com
                                202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 59 of 122
                              James M. Cantor                    May 2, 2024
[adolescents - allow]                                                Page 4

   137:2 200:24     affect 72:23          190:12,14        ahead 23:12
   201:14 206:14      87:13 166:22      agency 55:23         33:9 42:4 44:4
 adopted 55:10        167:3 206:4         56:3,10,25         48:6 56:14
 adoption           affects 72:22         57:8               65:4,11 66:22
   198:24           affiliation 71:1    ages 13:4 15:6       73:4 81:19
 adopts 168:15        72:9,25 106:20      15:11 16:9         82:13 83:18
 adult 93:13        affirming 25:3        17:16 131:11       96:25 112:19
   135:12 139:9       44:1,22 46:9        131:11 148:3       113:13 127:17
   139:15,24          46:21,22 47:2       177:3              129:6 135:21
   140:16,25          47:3,18,19        ago 16:12            138:10 142:16
   149:22             48:3 56:11          103:17             147:19 148:16
 adulthood            59:7,12 72:6      agree 6:10           185:20 186:1,7
   71:25,25 91:21     76:22 82:10         60:15 62:13        187:14 193:15
   92:2,19 93:4       83:15 90:3,21       63:3,19 74:21      198:1,9,15,21
   116:12,18          110:17 114:13       89:22 100:6        208:1,1
   136:23             118:13 121:19       101:1 109:22     aim 8:11
 adults 13:3,7        151:21 153:2        110:3 113:10     al 1:5,12
   22:6,7,10 36:5     155:11,25           116:6,20 117:9     142:10 147:11
   36:13 66:3         161:15,25           118:3,11,24        147:14 155:4
   116:7,14,16        165:21 183:22       119:13 120:11      212:4,4
   126:2 165:23       186:13 187:1        123:4,7,14       alabama 1:2,12
 advanced             188:3 192:20        129:14,22          8:17 9:11,13
   69:16 145:19       193:12 194:10       132:20 133:2       9:18 65:9,13
 advantage            195:3 196:22        139:2 141:1,2      162:17,21
   102:3              197:24 198:19       141:4 158:12       163:11 165:10
 advantages           200:19,25           161:10 163:6       165:12 199:2
   57:19              201:9,15,24         163:11 165:4       208:17
 adviser 188:18       206:15              165:11 178:9     alarm 119:11
 advocacy 38:20     age 13:8 14:20        178:15,20,25     alberta 36:1
   173:4              15:18 17:13         179:18 183:10    alerted 188:12
 advocate 38:11       21:21 30:20         183:17 195:15    alliance 3:3
   38:21 165:17       71:25 99:15         196:20 197:22    allocated 50:18
 advocates 36:6       101:14,15,15        203:14           allocation 50:6
   121:24             103:11,13         agreed 6:1         allotted 212:19
 advocating           116:11,17,18        99:21 150:6      allow 89:25
   38:15 39:3         131:12,18         ah 83:19             123:12 128:12
   193:25             136:7,10            144:14             130:1 145:7
                      149:10,13,14                           198:5,13
                        www.CapitalReportingCompany.com
                                 202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 60 of 122
                              James M. Cantor                    May 2, 2024
[allowing - approximately]                                           Page 5

 allowing           anatomy 92:5       answered 81:1      applied 62:12
   198:11             102:16 154:17      100:25             100:15 173:12
 alluded 148:19     andrew 3:8         answering 7:19     applies 14:21
 aloud 162:5          6:22 25:17,17    anxiety 123:16       24:15 63:21
 alternative          25:20 26:2       anybody 57:20        68:4 103:19
   17:9 50:1,7        35:6 51:6 52:1     62:10 72:16        158:5
   82:7               52:15,25 53:3      75:24 79:7       apply 31:14
 alternatives         55:14,17 57:6      87:5,20 91:2       39:6 49:23,23
   17:2,12 49:24      59:22 66:6         93:23 95:18        58:10 68:3
   50:7 64:15         70:20 73:12        124:5 130:1        100:16,21
   84:9 98:1          74:6 85:19         158:8              135:25 188:2
   194:20 200:12      89:11 91:19      anybody's          applying 56:23
   200:13             97:6 108:22        40:21 48:1       apprenticeship
 ambiguous            110:16 111:10    anyway 100:24        182:2
   119:23 124:21      115:6 122:19     apart 93:17,17     approach
   151:25 152:17      123:3 127:13     apparent 94:3        99:14 100:6
 america 1:8          134:13 143:24    appear 85:20         101:1 189:24
 american             144:20 147:10      135:16 136:2,7   appropriate
   32:18 42:10        156:7 158:17       139:24             35:15,16 66:23
   61:23 82:18,25     160:20 164:22    appeared             67:11,19 68:1
   161:20 163:17      166:7 177:19       211:3              68:12 69:25
   163:22             183:8,11 189:1   appearing 72:2       78:8,10 79:18
 amount 163:23        189:22 202:21      135:18             117:6 143:4
   181:11           animal 20:10       appears 26:5         156:12 172:14
 amounts 99:20        95:3               54:12 55:20        189:15 191:11
 analogous          anorgasmia           73:25 109:13     appropriately
   136:3 170:11       26:25              112:16 113:10      90:11 132:4
   172:16 193:22    answer 7:11          113:22 135:17      188:14 196:10
 analogy 79:15        8:14 23:12         140:10             196:24
 analyses 116:9       33:9 39:18,25    appendix 5:1       appropriaten...
   166:1,23 167:3     42:25 45:1         11:13 168:2,4      67:20
   167:20             46:16 68:10        170:23 182:8     approximate
 analysis 87:13       72:25 80:24      applicable           22:12
   115:13,19          113:14 180:10      212:8            approximately
   170:11 174:6       186:2 190:18     application          9:25 11:21
   203:25 204:12      194:8,14,22,24     24:10,21 35:9      12:16 22:8
 analyzed 202:7       195:16,17          40:6               189:10
                      196:4,9
                       www.CapitalReportingCompany.com
                                202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 61 of 122
                              James M. Cantor                    May 2, 2024
[april - associated]                                                  Page 6

 april 53:9            articles 30:7      aspects 16:16      assessing 29:15
   189:7                 73:6 75:3 85:1     27:15,20 28:3      29:18,23 61:20
 archives 73:9           86:22              28:6,12 29:4,8     78:8 87:10
   77:3 108:1          ascertain 25:5       38:23 45:5         120:15,23
   146:8,12            ascertained          46:14 50:5,15      175:21 180:17
 area 143:7              62:14 63:4,20      50:16 61:5         180:24
   169:16 183:22       ascertainment        109:12 111:25    assessment
   186:13 187:1          112:2              113:2 181:16       18:14,16 19:1
   195:11              ascribe 40:5       assembly             20:20 21:17
 areas 32:1            asexual 32:22        205:20             24:6 28:23
   37:19               asexuality         assent 199:5,9       41:22,24 43:9
 arenas 87:17            33:18              199:14,17,25       44:12 53:21
 argument              ashbrook 3:4         200:2              83:7 90:9
   113:5               ashburn 3:5        assert 64:25         93:24 107:7
 arkansas              aside 194:21         65:8 91:7          112:3 126:10
   163:12              asked 8:24 9:2       101:8 117:15       127:20,22,22
 arm's 58:7              9:3 18:1 25:7    asserted             128:15,22
 arousal 149:19          42:19 43:10        137:19 138:12      129:9,12
 article 4:9,24          66:24 67:21      asserting 69:13    assessments
   31:22 33:5            68:5 118:24        79:7 95:10         126:3
   51:11,19 52:6         182:15             130:10 155:5     assigned 14:16
   52:8 54:1,13        asking 8:5 13:1      177:1              202:8
   54:16 72:11           17:15 67:10,22   assertion 41:23    assigning 14:12
   73:2,9,15 74:2        67:24 69:24,25     80:3,15 148:12   assist 175:11
   74:13,18,20,22        143:5 162:15       155:9            assistant 175:8
   74:25 75:15,18        164:10,23,24     assertions 43:5      180:21
   75:20,23,24           165:1,7 182:19   assess 17:1        assisted 211:6
   76:13 85:20           186:3 193:6        29:12,25 42:22   assisting 6:23
   86:6,9 87:3           195:13 197:16      42:23 49:21,24   associated
   88:1,7,13             199:11 202:23      68:25 71:8         32:20 55:2
   107:14,24           asks 56:21           93:22 117:14       63:15 70:8
   146:13 147:20         183:17 184:1,6     125:16 132:8       93:19 109:14
   162:11,16,18          184:10,11,17       132:16             123:8,15 130:7
   163:5,6 165:9       aspect 21:4        assessed 61:9        130:7 132:13
   165:20,24             22:22 33:22        89:6 97:24         138:6 139:22
   166:11,24             78:9 118:10        125:16,20          139:25 148:21
   167:4,12,23           142:19 169:20      128:2 129:13       148:23 152:13
                         170:7                                 152:17 153:7
                          www.CapitalReportingCompany.com
                                   202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 62 of 122
                              James M. Cantor                    May 2, 2024
[association - ban]                                                  Page 7

 association          attributing          117:16 118:6     awareness
   34:10,14 70:10       32:24              122:15 138:21     101:16 126:12
   139:19 153:22      atypical 30:10       142:22 147:1      171:20
 associations           30:11 31:18,25     174:19 175:22           b
   48:9 82:18           32:9 33:6,17       188:22 190:9
                                                            b 55:6 91:18
   83:4 153:21          34:18,21 40:24     190:12 192:5
                                                            back 9:12 51:1
   154:4 164:7        audited 203:25       192:15 193:3,4
                                                             53:3 54:20
   165:15 182:5,6     augment 29:1         196:18 200:13
                                                             57:6 60:22
   187:16               31:11              200:22 201:5
                                                             66:6 79:20
 assumed 64:16        author 30:7          204:17 206:25
                                                             81:9,10 89:7
   107:20               134:19 171:17      212:6
                                                             91:4 92:21
 assuming 58:2          172:2 189:11     availing 188:21
                                                             93:5 97:3
 assumption           authored 36:14     avenue 2:13
                                                             103:16 104:24
   112:24               70:16 184:2,3    average 13:8
                                                             105:7 106:16
 assumptions          authoring            13:10 116:11
                                                             108:5 110:6
   40:2,3 112:23        72:11 73:2         124:4,6,12
                                                             122:18 125:8
 attached 4:7         authority 50:8       126:16
                                                             130:17 133:6
   212:11               188:23           averages
                                                             137:18 141:13
 attempt 75:11        authors 57:24        123:24 126:22
                                                             146:15,24,25
 attempted 25:4         58:3,22 60:15      130:12
                                                             154:20 157:12
   25:5,10              75:19,20 85:13   avoid 33:25
                                                             158:16 160:2
 attend 150:11          88:2 108:3         45:18,19
                                                             164:22 165:18
 attention              117:14 144:25    aware 8:16
                                                             182:8 202:8
   118:22               145:6,10 146:2     38:10 39:5,8
                                                             204:24 207:13
 attorney 1:11          170:18             48:15 54:1,13
                                                            background
   2:9 9:11           autogynephilia       54:17 56:9,15
                                                             14:1 19:21
   208:17 212:13        140:1              58:11,24 70:23
                                                             21:5 26:17
 attorney's 9:13      automatic 41:1       71:6 74:23
                                                             44:8 84:20,23
 attorneys 6:3        automatically        76:12,15 79:4
                                                            backgrounds
 attracted 30:19        40:5               79:7 84:21
                                                             58:22 59:3
 attraction           availability         86:8 90:5 91:2
                                                             77:25
   141:7,9              37:22 122:12       97:18 109:8
                                                            bailey 70:17
 attractions            144:5,6            142:18 144:12
                                                            balance 12:11
   30:22 141:11       available 10:6       182:23 187:18
                                                            ban 37:15
 attributable           49:24 50:7         195:21 196:14
                                                             200:18 201:8
   123:24               53:7 60:4          200:9 201:4,18
                                                             207:1
 attribute 136:5        75:24 99:7         206:10,10,13
                        100:14 112:4       207:1
                         www.CapitalReportingCompany.com
                                  202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 63 of 122
                              James M. Cantor                    May 2, 2024
[banned - blockers]                                                  Page 8

 banned 192:21        becoming           benefit 41:3,10      149:7 153:11
  193:13 194:11         153:16             90:14 97:24        153:16 154:12
  198:20              began 136:6          98:14 156:19     biology 27:7
 banning 46:22        beginning 1:19       156:25 194:3     birth 202:9
  47:3 163:13           121:23 128:17    benefits 17:2      bit 23:14 26:5
 bans 49:9,13           128:18 138:2       25:3 30:2          40:1 49:16,17
 bark 132:3             147:15 150:16      93:23 113:5        78:7 91:19
 barring 36:24          151:18             114:9 120:17       205:24
 bars 38:4            begins 15:24         122:1 132:5      black 21:15
 base 84:1              53:13 83:8         157:19 158:10    blank 97:7
  111:19 117:12         119:7              195:9 197:14       209:19
  197:15 198:18       begun 150:15       benhoff 1:20       blanket 49:9,13
 based 31:14,15       behalf 2:3,15        211:2,15           137:23
  41:23 42:6            3:1 178:11,17    best 7:12 19:3     block 4:24
  46:17,23 47:4         179:11 180:8       26:14 32:4,13      75:12
  47:23,25 48:25      behavior 20:11       35:10 37:8,10    blockage
  49:2 53:25            26:11,12 27:11     37:22 41:8,19      130:25
  59:1 62:16            29:4 34:13         41:25 42:21      blocked 123:8
  76:14,18,21,25        73:10 77:4         49:3,3,7 50:12     123:15
  76:25 82:17           105:25 108:1       59:8 79:15       blockers 20:17
  110:19 111:11         146:9,12           84:22 96:2,11      21:8 22:1
  116:14 157:25       behavioral           112:11 141:25      83:25 84:6
  164:9 165:16          106:1 154:6        143:5 158:3        91:22,25 92:17
  176:10              behaviors            206:23             93:2,14 94:6
 basic 29:9             152:19           better 16:21         94:15 96:19
  110:2 161:12        belief 46:23         41:10 75:10        97:11,18
 basis 38:1,9           47:4               122:16 135:19      101:10 102:15
  44:7 64:25          beliefs 46:15        135:19 171:1       103:11 123:5
  65:8 71:8 84:8        46:19              173:21 175:23      125:14 127:8
  96:23 97:22         believe 9:7 21:9   beyond 82:11         128:8,17,21,23
  101:11 107:8          52:5 61:16         83:16 117:15       131:24 147:25
  112:25 147:2          73:14 90:15      biased 42:19         149:13,18
  148:12 154:9          97:2 137:3       big 190:20           150:7,12,19
  155:9,23              153:8 167:16     bill 208:16          151:14 152:14
  163:16                170:9            billing 42:18        153:9,15,17,25
 battery 164:16       beneficial         biological 91:9      154:10 172:7
 battle 152:4           114:1              91:24 102:4        190:5,10
                                           148:11,14          191:18 192:5
                         www.CapitalReportingCompany.com
                                  202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 64 of 122
                              James M. Cantor                    May 2, 2024
[blockers - care]                                                    Page 9

   192:14 198:6     brain 63:6,14      built 40:2           108:22 123:3
 blocking 22:21       94:23 134:25       112:23             132:20 134:12
   23:10 148:22       135:1,6 139:20   bullet 189:25        134:14 143:24
   148:23 149:9       139:23 140:1,5   burden 99:5          160:10,24
   151:6              140:10,21                c            164:23 168:10
 blood 60:5           149:16,23                             174:7 181:3
                                       c 2:1 81:13
 board 77:3         branches 29:22                          183:9 189:4
                                         172:24
   86:21 146:11     breadth 30:15                           194:8 198:4
                                       california 2:19
   166:9,18,20      break 8:11,13                           202:22 205:6
                                       call 26:16
   167:10             8:14 50:23                            207:17,24
                                         33:19 89:4
 boards 181:14        93:16,17                              211:3 212:5
                                         96:5 116:9
 bodies 140:7,9       156:12,15                           capable 87:10
                                         117:5 125:12
   141:7              207:10                                195:24
                                         152:6,8 161:14
 body 50:8 79:4     breast 91:20                          capacities
                                         195:1,14
   93:25 114:25       92:2,18 93:3                          179:21
                                       called 27:24,25
   149:9 150:2,23   brianna 1:5                           capacity 1:11
                                         28:8,13 34:10
   150:25 151:12      212:4                                 91:20,21 92:2
                                         75:10 77:22
   151:13           brief 51:4                              92:18 93:3
                                         100:3 139:12
 boe 1:5 212:4        160:6 164:20                          126:6,11
                                         144:15
 boeal 5:4            207:15                                146:24
                                       calling 90:20
   176:22 177:21    briefly 105:16                        captures 26:15
                                       canada 1:19
   183:9              121:7                               cardiovascular
                                         12:1 20:15
 boetang 177:12     brignardello                            60:14
                                         35:24 76:7
   177:25 178:16      4:10                                care 14:4,8,19
                                         163:20
   179:20 180:6     bring 127:11                            14:22,24,25
                                       canadian 19:14
 boeteng 177:9      bringing 85:11                          15:13,16,19
                                       canal 102:11
 bone 60:4,15       british 161:1                           16:2,7,17,18
                                       cancel 116:19
 botang 178:10      broad 28:19                             18:2,7 19:14
                                       cancer 188:9
 bother 80:5          67:12 77:24                           20:19 21:19
                                       cantor 1:17 4:3
 bottom 26:9          164:4,4 169:23                        25:3 31:15
                                         6:15,19 7:1
   52:17 127:15     broader 15:15                           36:5 44:1,22
                                         11:16 51:7
   133:7,22           21:17 83:7                            45:5 46:9,21
                                         52:4,17 59:24
   166:22,25        broadly 161:21                          47:2,11,18,19
                                         66:19 70:23
   167:2 177:20     brooks 9:7,16                           48:3 49:9,14
                                         74:9 77:2
 bound 119:25       brought 11:10                           50:18 55:23
                                         85:19 89:11
 boundary 32:3        136:9                                 56:4,10,12
                                         97:8 104:7
 boys 102:4         build 197:15                            57:1,8 59:7,12
                                         105:3,11
                                                            72:6,22,24
                       www.CapitalReportingCompany.com
                                202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 65 of 122
                              James M. Cantor                    May 2, 2024
[care - characterize]                                               Page 10

   76:22,23 78:10     15:24,24 16:17      201:7,21 202:5   certain 156:20
   79:11 82:11,25     21:4 25:12,14       202:11 204:11      157:19
   83:15 90:21,25     30:23 40:12         204:22 205:7     certainly 46:12
   114:13 118:13      42:1 53:8,14        205:18,21          179:15 180:14
   118:20 120:1       59:16 62:23       catastrophic       certificate
   121:19 151:21      82:23 83:6          157:4,20           209:1
   153:2 155:11       126:4 135:14        158:19,24        certify 209:3
   155:25 161:15      135:15 137:12     categories           211:2,5,8,10
   161:22,23,25       155:13 158:23       158:13           challenges 38:4
   162:9 163:18       159:1 162:17      causal 68:9        change 32:14
   163:18,20          164:8,11            90:6               47:15 116:4
   171:12 183:22      165:11 168:6      causation 68:7       138:3 140:3,7
   186:13 187:1       175:6 176:13      cause 98:7           140:8 141:6,6
   188:3,5,5          192:13 193:17       145:23 156:1       141:10,12
   192:20,24,25       210:3               159:3              144:17 165:23
   193:2,2,12,21    cases 12:6          caused 90:3,17       165:25 175:1
   194:10 195:3       21:12 31:2          91:3               207:3,5 210:5
   195:23 196:22      38:7 47:10        causes 31:6        changed 13:23
   197:24 198:19      51:8 52:14          90:13,13           22:17 27:23
   200:19,21,23       53:22 59:18         145:23             56:18 115:8
   200:25 201:9       70:14 71:23,24    causing 90:10        121:20 142:12
   201:15,24          72:1,2 74:11        155:21             142:17 144:5
   205:22 206:15      91:10,13 92:11    caution 103:11     changes 32:12
   206:16,22          99:23 100:11        190:15             73:17 78:20,21
 career 8:25          101:17,18         cautions             116:3 121:12
   23:14,15 29:14     103:3,19,25         102:20             167:21,21
   31:9,13 35:7       104:3 131:14      cautious             207:7 212:10
 careful 39:11        131:15 135:11       120:21           changing
   117:15 145:25      135:12 136:16     cautiously           197:12
 caregiver            136:22 137:11       205:24           characteristic
   132:3            cass 5:6 82:21      cease 101:18         135:4,5 137:21
 caregivers           97:2 189:5,12     ceased 99:23         138:14 140:19
   205:15             189:13 190:12     center 2:17          140:20
 carving 136:15       192:19 193:11       111:15           characteristics
 case 1:6 8:16        194:9 195:1,13    central 16:3,24      145:14
   8:20 9:15,22       195:21 196:7        100:11           characterize
   10:7,22 11:4       196:14,20         century 32:15        161:24
   11:10,17 15:2      197:22 200:17
                        www.CapitalReportingCompany.com
                                 202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 66 of 122
                              James M. Cantor                    May 2, 2024
[characterizes - clinical]                                          Page 11

 characterizes         149:5,9,13,15       121:3 151:25    clarify 143:12
   165:3               151:5 152:6         172:10 189:16     193:6 195:12
 charge 29:18        child's 149:16        200:10          clean 11:11
   29:23             childhood 72:4      cis 34:18         clear 15:24
 chart 156:6,19        99:22 101:18      citation 80:2       26:10 40:21,22
   157:13,25           116:13,17           80:15 92:16       159:13 179:7
   203:1,11,14         130:21 131:1        93:1            clearcut 83:10
 check 9:5,8,18        131:25 132:22     citations 96:21   clearly 92:24
   9:24 11:19          135:11 140:16       142:25            154:25 155:24
   12:23 43:4          140:25            cite 51:10          164:15
   51:21 52:9        children 13:7         65:20 70:12     cliche 68:6
   57:22 58:5,17       14:5,8 15:18        84:17 88:20     client 61:10
   59:17,19,20         30:25 44:12         118:6 143:14    clientele 171:2
   88:9 93:5 96:1      64:8 67:2           160:11 176:22   clients 13:5
   97:3 106:12,16      71:17,24 91:9     cited 85:21       clinic 24:22
   110:25 114:17       100:8 101:3         98:13 155:14      25:6,8,11
   115:16 141:21       103:10 109:17       163:6 178:22      64:19 65:6
   143:18 144:19       109:23 122:13       179:2 200:17      88:16 125:24
   161:17 170:12       125:14,16,20        201:7             125:24 127:4,4
   189:9 196:23        136:18 148:12     cites 131:7         203:22 204:6
   202:10              150:19 153:8        162:11,16,18    clinical 14:4,8
 checked 142:21        158:8 184:2         165:9             18:2,10,21
 checking 85:8         195:2             citing 53:19        19:6,11,13,17
   85:10 111:5       children's 24:7       54:7 155:4        19:25 21:14
   143:11 144:1        24:18 25:1          162:13,20         23:7 29:11
   144:15 160:13       65:1              civil 2:11          31:12 35:15
   162:12            chong 155:4         claim 87:22         41:17,20 42:8
 chen 88:6,10        chunk 176:25          90:5,6 124:10     42:13 43:16
   88:14,18 89:3     cihr 76:7             168:10 170:9      44:12,17 45:5
   90:2,17,18        circumstance          173:6,23          45:5,17,19
 chen's 89:1           40:7 47:7 58:9    claimed 178:12      48:9,20 50:14
 cherry 88:10          58:9 68:23          178:13,19         64:3 72:21,24
 chief 2:4 29:17       132:11            claiming 43:18      73:8 80:17
   74:13 161:3       circumstances         86:12,12 91:2     81:14 82:18
   177:13 178:1        17:6 19:5           91:2              97:22 98:24
   181:14              35:17 58:19       claims 85:9         99:5 101:5
 child 18:23           80:25 90:8          133:19 134:6      103:25 119:25
   114:7 148:10        92:6 100:18         178:18            126:1 157:17
                         www.CapitalReportingCompany.com
                                  202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 67 of 122
                              James M. Cantor                    May 2, 2024
[clinical - comprehensive]                                          Page 12

   158:4,6,6        coherent 93:25       165:14 169:11      129:8 131:19
   182:23 183:1,3   cohort 110:19        169:13,24          131:21 132:21
   187:11 188:2,5     155:14             170:3 171:10       159:12,15
   188:5,8 201:1    coincidence          175:17 176:8     comparison
   201:16             53:6             commission           33:1,2 116:1
 clinically 35:14   colleague 6:24       211:16             116:16 127:25
   77:24 80:11      collected          commissioned         128:19,20,23
 clinician 14:13      109:20             55:21 56:25        151:5 193:17
   14:17 15:1       collectively         59:13            compensated
   41:16 65:13        30:10            commissioning        187:10
 clinicians         column 144:20        58:8             compensation
   16:15 41:18,24     144:25 197:9     committee            182:16
   43:2,6 101:8     combat 32:19         188:20,21        competing
   101:12,20        combination        common 79:10         50:19 206:21
   102:24 103:7       16:12 84:7         145:8            complete 196:9
 clinics 64:23        148:17 190:2     commonly             202:14 204:3
   72:2 101:23      combining            106:10           completed
   102:14 122:3       204:9            communicati...       88:11,15
   128:4 135:18     come 12:24           9:19               212:16
   136:23 137:9       51:1 81:6        communicati...     completely
   150:11 206:4,7     104:24 105:7       175:25 179:19      33:24 100:13
 clip 159:23          136:22 143:15      180:4,6            193:25
 close 154:4          160:2 180:14     community          compliance 2:5
 closed 206:12        207:13             106:11             2:12 74:14
 closely 152:16     comes 64:21        comparator         complicated
   153:6              128:21             156:23 157:7       40:1 46:13
 closer 96:6        coming 13:5          158:22 159:10      79:14 118:1,18
   118:21             16:13 137:9      compare 25:7         125:3
 clues 117:21         197:19             38:25 49:21      component
 cluster 16:11      comment              87:1 88:2          120:7
   16:19 17:14        169:19,19,22       161:19 163:16    components
   81:2 100:19        171:19 172:18      192:24 193:7       96:7 97:23
   145:14           commentaries       compared             113:18
 clusters 67:24       87:19              67:20 115:13     composed 93:6
   68:12            commentary           115:19 125:13    composing
 cognitive 17:9       202:1              130:21             169:22
   126:11           comments           comparing          comprehensive
                      85:14 121:15       85:8 123:4         28:11 52:13
                       www.CapitalReportingCompany.com
                                202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 68 of 122
                              James M. Cantor                    May 2, 2024
[comprehensive - consistent]                                        Page 13

   54:6 85:3 96:6   concrete 32:3        177:20 186:19    consent 17:8
 comprise 27:20     condition            192:4,13           74:15,16,19
 comprising           61:17,22 63:3      195:13 202:23      91:14 126:7
   28:13              63:11,19 79:6      203:24 204:9       200:8,11
 compromise           79:8 112:15      confirmed 35:3     consenting
   32:2               137:4              134:25 166:11      92:14
 computer           conditions           167:11           consider 43:2,8
   211:6              62:13,15,25      conflict 42:12       60:12 67:7,16
 concern 178:2        112:21 123:22      42:14,23,25        83:24 107:4
   178:10,16,23       124:1 131:22       43:17 44:13,16     141:17 151:15
   179:3,11         conduct 29:24        44:24 45:4,4       153:5,19
 concerning           57:25 116:16       45:15,16,20,24     201:11,12
   120:8              116:16 121:16      45:25 46:7       consideration
 concerns 8:17      conducted 14:9       48:2,7,16,19       17:5 19:1
   34:15              20:9 37:19         58:12,16 72:10     21:12 36:2
 conclude 90:1        43:20 55:1         72:14 73:2,5,7     45:8 112:2
   97:19 99:1         64:22 137:16       87:16 169:7        128:16
   117:24 118:12      145:3 197:1        173:15,16        considerations
   204:10           conducting           181:18 184:11      56:17 152:22
 concluded            82:24 111:25       185:5,12,14,18     152:23
   146:3,4 208:23     145:11             185:25 187:15    considered
 concludes          conference           187:17,19          31:18 32:16
   146:1 208:6        104:21 121:7,8     188:17             60:16 82:11
 conclusion         confidence         conflicts 44:9       83:16 114:25
   67:19 68:9         202:2              48:10,11,13        127:23 149:11
   81:6 90:13,19    confident 17:3       58:4 72:12         166:3 184:22
   94:12 99:22        202:13             87:12 181:3,10   considering
   114:24 117:15    confidential         181:21 186:4,5     36:3 56:17
   119:17 123:13      11:13 168:5,7      187:21,22          151:14 194:19
   129:25 138:8     confidentiality      188:12           considers
   180:13 200:15      11:15            confound             18:20
 conclusions        confirm 17:18        88:24            consist 88:4
   49:3 67:2 75:1     23:8 33:4        confounds          consisted 85:7
   88:2 100:16        61:16 82:9         130:2            consistent
   165:24 166:3       95:9 108:23      confused 18:4        31:19 36:25
   166:23 167:4       134:24 158:19      159:11             37:15 38:5
   167:12             159:6 162:15     consensus 35:2       39:15,22 57:9
                      164:10 165:1,7                        63:23 96:13
                       www.CapitalReportingCompany.com
                                202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 69 of 122
                              James M. Cantor                    May 2, 2024
[consistent - correct]                                              Page 14

   128:5               96:12 109:11      contrasting      copies 11:11
 consistently          175:17              37:4 138:25      209:18 212:14
   34:5 35:8         contested           contribute       copy 25:23
 consists 15:5         99:21               14:10,14 27:9    52:4 55:18
   15:10             context 19:14         28:4             74:4 85:20
 constitute            30:24 51:17       contributes        97:8 105:14,14
   72:10 73:1          61:8 69:12          89:4             111:6 147:10
   96:8 103:14         79:25 82:17,19    contribution       160:24 183:10
   153:1               97:25 159:13        46:16            189:4 190:21
 constitutes           164:15 165:6      contributions      208:20
   73:5,7 87:16        165:13 169:23       14:24 37:6,17  correct 7:3
   116:12,13           170:7 172:22      control 115:15     8:21 11:23
 consultation          176:5 179:5         199:21 201:22    12:15 14:3,18
   16:15               180:3 181:6       controlled         15:3,8 17:23
 contact 9:6,12        191:2 192:6         26:13 80:13      19:20,21 20:2
   111:14              193:16 194:15       81:15            20:17 25:14
 contacts              194:21,25         controls 163:21    35:12 37:1,16
   111:13              195:18 196:3      controversial      38:6 39:2
 contagion             196:11 199:13       80:4 93:8,9      51:11,20,24
   136:9             contexts 82:16        97:4 106:8       52:7 54:11,25
 contain 117:13        83:23 174:22        143:7 147:4,21   55:8 57:1
 contained           continue 80:9         183:4 187:24     59:13,21 61:2
   96:16 176:25      continued 95:8      conversation       64:1,2 65:18
   179:15 183:2        113:12 118:25       121:9 175:1,14   66:5 70:15,18
   191:4 211:8         119:13              176:4            73:10,11 77:4
 contains 124:9      continuing          conversations      77:5,20 79:2,3
 contend 88:10         113:3 118:8         173:8 174:17     86:17 88:7,11
 content 10:19         122:14 139:7        174:23 175:4     89:24 91:23
   24:13,20 44:7       182:2,3             178:21 179:1     93:15 94:7
   49:22 57:12       contradict            179:14           95:13 99:15,16
   73:21 86:14         63:16             convey 37:7        100:1 103:9
   87:11,25          contradicting         178:2            108:13,18
   107:16,19           62:18             conveying          109:2,19 110:5
   121:11 183:24     contradiction         178:10,16,23     110:9,12,19,20
   184:5,16            49:16,17            179:3,11         111:20 112:9
   207:20            contradictions      coordination       114:14 115:9
 contents 51:14        63:2 88:5           2:5,12           115:10 130:22
   57:23 75:13                                              133:10,15,16
                         www.CapitalReportingCompany.com
                                  202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 70 of 122
                              James M. Cantor                    May 2, 2024
[correct - current]                                                 Page 15

   134:18,19          correlations         34:20 36:11      criminalization
   135:8 137:22         66:25 68:11        44:6 48:21         161:14
   138:14,15          costly 156:23        51:16 52:9       criminally
   141:15 142:11        157:22             61:13 67:3         192:21 193:13
   145:4,5,9,24       costs 50:17          72:20 73:22        194:11 198:20
   145:25 146:9       coty 2:4 6:19        74:24,24 79:10   criteria 30:13
   146:10 148:2         156:9              83:21 86:23        33:3 73:7
   150:8,15           counsel 10:14        91:15 98:15        78:20 81:4
   153:17 154:12        211:4,8,10,10      99:24 100:4        85:9 96:2
   156:21 157:5         212:14             107:8 109:13       125:25 166:12
   157:14,23,24       counseled 16:8       111:25 114:22    criterion 44:11
   162:11,18          counseling           116:11 119:18      62:25 101:19
   163:14 164:12        15:5,10 17:21      120:14,18        critical 87:17
   166:13,18,19         18:3,8,12,15       128:1 135:9      criticizing 88:6
   166:24 167:13        18:17,18,20        137:6,12         critique 68:2
   169:14 171:7,8       148:8              142:21 159:1     cross 22:5,14
   175:14,19          count 61:7,21        174:19 181:25      89:19 125:15
   176:11,23            79:13              189:18 191:1       125:18 128:19
   177:21 178:7       countries            196:24 202:11      146:23 147:14
   182:18 184:4,8       161:22 193:22      204:3 206:25       148:1,2,25,25
   184:13,14,18       country 122:4      courses 19:4         149:3,11,25
   184:22 185:1,2       122:12           court 1:1 8:3        150:1,3 152:15
   186:13 193:8       counts 13:19         11:14 92:21        153:13 154:1
   195:3 201:21         18:11,25 27:17   cover 189:6          154:16 172:7
   203:2 204:1,2        33:12,17,17,18   coverage 83:2        190:5,11
 correction 4:25        40:8,8 48:7        86:13              191:22 198:13
   165:20               62:1 151:24      covered 83:6         199:4,8,12
 corrections            152:18             107:23 187:10      200:7
   165:23 209:6       couple 112:22      cracking 151:9     crude 164:3
 correctly 35:11      couples 12:20      credit 145:10      cs 212:15
   41:17 135:7        course 11:14         146:3            cs6662450 1:25
   145:16 178:4         13:5,12,18       crimes 27:5          209:25 210:25
   204:20               19:3,22 20:7     criminal 49:9      cultures 32:12
 correlates             20:19 21:18        49:13 193:8        32:13
   136:3                23:1,21 24:8       195:1,14,22      current 13:14
 correlation            24:13 26:23        196:6,16           13:16,20 47:7
   68:6                 27:6,9,19          200:18 201:8       56:18 62:6
                        30:16 32:14,18                        69:4,9 121:14
                         www.CapitalReportingCompany.com
                                  202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 71 of 122
                              James M. Cantor                    May 2, 2024
[current - demonstration]                                           Page 16

   132:11 147:1     day 12:6,6           78:3 91:7,9        80:17 131:10
   203:21 204:20      151:2,3 211:12     112:22 113:3       146:21
   206:9 207:1      days 212:16          113:19 114:1     definitions
 currently          de 36:3 141:15       114:11 148:10      27:16 33:15
   12:17 100:3        141:19,23          148:13 149:6     definitive
   206:13             145:2,8 202:8      153:10 154:10      119:17 142:1
 cv 1:7 29:16         202:16,24,25       154:11 158:6,6     143:10 189:19
   59:18 77:2         203:6,6,15,16      195:18 200:4       201:25
 cwb 1:8              204:7,8,13,13    decisions 46:17    definitively
         d            205:15             47:25 65:7         90:1
                    deal 29:13 31:9      97:22 149:22     degree 19:23
 d 4:1
                      44:14 73:23        154:8 180:20       19:24 64:2
 d.c. 2:8,14
                      98:10              188:24 196:12      84:22
 dakota 163:12
                    dear 177:24          197:13           delay 111:9
 dangerous
                    death 90:22        decker 59:15       delays 21:19
   171:3 172:3
                    debate 27:18       decreased 12:6     delivering
 dangers 146:22
                      33:11 35:4       dedicating           182:17
   171:25
                      37:7 42:9          12:11            demand 46:24
 danish 110:18
                      48:23 53:24      deem 143:1           47:5 64:10,12
   111:13
                      62:2 206:11,20   deemed 32:16         64:20 65:2,10
 data 74:20
                    debates 26:22        43:23 46:10      democracy
   89:18 109:21
                      36:11 61:6         47:19 168:21       193:20
   111:19 112:4
                    decades 137:16     default 98:6,19    demographic
   117:12,15
                    december             99:6,9             137:9
   119:3 120:21
                      144:8            defend 56:11       demographics
   121:11 123:19
                    decide 20:21,21    defendant            116:3,4 131:16
   124:20 130:4
                      20:24 30:2         208:11           demonstrably
   130:13 131:6
                      50:2 140:8       defendants           185:15
   134:23,25
                    deciding             1:13 3:1 8:19    demonstrate
   202:12
                      149:24           defending 3:3        81:3 98:8,16
 date 9:24 11:20
                    decision 17:4      defensible 49:2    demonstrated
   36:8 144:4
                      18:10 19:11        49:3               98:20 99:4
   176:16 189:9
                      21:7,25 22:4     define 146:19      demonstrating
   204:4,5 209:14
                      22:13 32:5       definite 146:6       63:10 98:14,22
   210:4
                      37:8,11,21,21      179:14             120:25 155:15
 dates 35:22,23
                      38:1,8,9,12,13   definition         demonstration
   36:18
                      38:22 60:3,11      30:13 31:24        80:10 103:10
                      73:18 77:9,15      45:2 61:15         157:10
                       www.CapitalReportingCompany.com
                                202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 72 of 122
                              James M. Cantor                    May 2, 2024
[denotes - difference]                                              Page 17

 denotes 80:1          131:16,17         designed 71:21       173:1,7 175:10
 density 60:5,16       135:13,23         desire 37:6          187:12,18
 deny 83:5             136:24 143:6        76:8 149:20        188:8
   162:8               145:15 151:23       206:18           develops 190:1
 denying 161:25        159:14,18         desistance         diagnosable
 department            194:1               145:8              61:24
   2:6,10 55:25      described           desisters 145:2    diagnose 63:8
   174:8 180:23        27:20 37:9        despite 31:4         78:4
 departments           48:10 51:15         62:24 113:8      diagnosed 14:1
   19:23 55:5          103:23,24           122:11 123:18      18:23 40:14
 dependents            121:25 122:7      detail 33:20         62:16 113:20
   184:2               123:11 128:11       62:5 89:6        diagnoses 14:9
 depending             142:21 159:19       111:24 117:8       14:12 78:20,22
   30:24 125:24        178:13              188:16             89:18 110:18
 depends 13:19       describes 53:10     detailed 44:13     diagnosis 13:21
   18:19 22:22         67:18 166:15      details 71:7         13:23,25 14:11
   23:13 60:18,19    describing 42:5       88:12 107:6,7      17:4 18:8,22
   60:19 61:18         48:16 54:1        deteriorating        18:25 19:5
   84:4 163:22         69:7,17 72:3        122:10             62:2,24,25
   167:22 199:24       78:22 87:25       determine            64:16 79:13,19
 deponent 209:1        112:3 123:25        94:25 96:3         84:8 98:2
   212:13              125:12 157:9        117:1 183:20     diagnostic
 deposing              158:5 160:15      determined           13:24 32:18
   212:13              166:14,17           78:24              78:8,20
 deposition 1:16     description         determining        diaz 4:11,12
   6:2,4,5,6,21        19:2 33:1           82:19 185:5        70:12,12,16,24
   7:2 8:7 10:2,13     86:14 102:2       develop 150:24       71:1 105:17,23
   11:2,11 208:23      128:5 167:6,14    developed 92:4       107:1,13,24
 depositions         descriptions        developers         dichotomous
   10:15 11:6          97:1 165:25         173:9              150:25
 depression            167:17            developing         died 89:20,23
   63:19 113:21      design 66:19          46:3 58:11       differ 109:24
   113:22 114:2        66:23 67:7,16       95:12              125:25
 deputy 2:4            124:18,21         development        differed 124:12
 describe 18:5         145:7               30:8 45:18       difference
   48:17 79:9,9      designate             83:8 109:19        50:10 126:16
   79:12 84:18         168:6               169:4,12 170:4     126:22 130:12
   123:18 124:13                           170:14,17          131:12 136:4
                         www.CapitalReportingCompany.com
                                  202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 73 of 122
                              James M. Cantor                    May 2, 2024
[difference - doctors]                                              Page 18

   144:2 159:16     differentiate        disclose 58:3      disqualified
   159:24             46:5               disclosure 5:5       45:14
 differences        differentiates         182:12,24        distance 58:7
   123:23 130:5       140:6                183:11           distinct 65:24
   131:9,10         differently          discomfort           135:2
   136:17 137:1       8:11 157:14          63:15            distinction
   164:25             159:7              disconnect           50:10
 different 12:21    differs 100:13         208:3            distinguish
   13:24,24 18:1    difficult 12:18      discrete 151:1       125:5
   18:5 21:2          14:7 15:20         discuss 10:18      distinguishing
   27:21 28:3,5,6     16:4 47:6 80:6       13:6 94:17         41:3
   28:7,19,24,24      80:6,19 86:25        184:25           distract 97:12
   28:25 29:4,20      96:14 121:16       discussed          distress 97:12
   29:20,24 32:2      163:16 168:22        10:12 13:12      district 1:1,2
   32:10,11,12,12     175:16               16:8 25:2        diversities
   32:13 33:24      difficulties           79:16 105:16       35:11
   45:7 61:3,4,5      111:3                121:24 122:9     diverts 97:14
   63:23 72:21      difficulty 187:3       126:25 178:22    division 1:3
   73:20 81:22      digital 144:16         179:2              2:11
   82:16,16 83:23   direct 11:3          discusses 52:6     doc 25:17 52:1
   83:23 84:13        23:15,17,24          161:10             55:14 59:22
   86:2,4 87:16       24:1 43:21         discussing           70:20 85:19
   87:17 90:12        48:11 131:19         54:14 55:2         108:22 110:16
   100:17,18          182:15 185:17        65:17 69:12        115:6 122:19
   101:24 114:4       185:24 189:21        110:9 122:22       123:3 134:14
   114:17 117:17    directing 89:14        133:10,12          143:24 147:10
   117:25 119:4     direction 104:2        141:14 170:8       156:7 158:17
   124:12 130:8       113:16 189:20        182:12 188:15      158:17 160:9
   130:15 131:20      200:15,16          discussion           160:21 164:23
   131:22 132:17      207:20               111:10 144:24      166:7 168:3
   136:25 138:4,9   directly 97:13         167:6 169:17       177:19 183:8
   138:24 144:4       112:12 186:25        205:19 206:3,5     189:1
   150:23,24,24     disciplinary           206:10           doctor 19:20
   157:15 159:19      14:10,22 15:16     discussions          25:23 64:1
   172:7 179:8        15:19 21:3,6         10:19              171:14
   182:5 193:4,25     22:3 24:1 27:6     disorders          doctors 20:3
   200:1,3,22         28:10                26:25              25:1
   205:12
                         www.CapitalReportingCompany.com
                                  202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 74 of 122
                              James M. Cantor                    May 2, 2024
[document - earlier]                                                Page 19

 document 26:1      double 43:4        draconian            63:18,24 65:18
  26:5 37:13          57:22 59:19,20     162:1,9 164:12     65:24 66:4
  51:15,25 52:21      97:3 114:17        165:3              70:11,13 71:18
  53:1,18 55:13       143:18 161:17    dramatic 90:24       71:20,21 72:3
  58:18 70:19       download           dramatically         74:10 77:22
  74:5,6 85:18        75:15,25           121:20             78:5,11 79:5
  122:14 123:2      downloads          draw 41:7            84:13 97:20
  134:13 143:23       75:22              152:18             99:2 103:20
  147:9 159:23      downstairs         drawing 20:8         104:3 109:5,17
  161:18 163:3        104:20           draws 10:5           115:14,20
  166:6 170:2,11    dozen 7:6            137:14             116:23 117:2
  170:25 171:9        15:21 16:6       dropped              126:5 130:21
  177:11,14,18        21:11,22 22:1      123:21,21          130:22 131:1,2
  178:5,18 183:7    dr 6:19 7:1          124:3,6            131:25 132:22
  183:9 185:14        11:16 51:7       dropping             132:23 135:10
  186:16,22           52:4,17 59:24      116:11             136:20,21
  189:1 190:9,20      66:19 70:23      ds 76:12 77:10       137:4,25
 documentary          74:9 77:2          77:12,16           138:10 139:25
  53:11               85:19 89:1,11    dsm 78:12,18         140:12,16,17
 documentation        97:8 104:7         78:24,25 79:1      145:23 163:14
  103:3,15            105:3,11         due 74:13            189:15
  119:20 175:24       108:22 121:4,6     170:20           dysphoric
 documented           121:10,18        duly 6:16            40:18 62:8
  120:6               123:3 132:20     dutch 99:14          64:8,9 99:23
 documents            134:12,14          100:4,6,9,17       101:19 151:5
  169:25 170:22       143:24 160:10      100:20 101:1             e
  171:5 172:21        160:24 164:23      101:10,13,15
                                                          e 2:1,1 4:1 5:3
  172:25 174:4        165:20 167:17      101:21,25
                                                            6:17 9:5,8,9,19
  175:2 176:20        168:10 174:7       102:1,21,24
                                                            160:10 175:13
  176:25 177:8        175:9 181:3        103:6,12
                                                            175:19 176:4
  179:6,7,15,24       183:9 189:4      dysfunction
                                                            176:22 178:7,9
  180:12 188:15       190:12 194:8       26:24
                                                            178:15,22
 doi 144:16           196:20 197:22    dysphoria
                                                            179:2,10,19
 doing 25:9 30:3      198:4 202:22       13:21 15:23
                                                            180:7
  152:7,10 156:9      204:22 205:6,7     17:23 18:24
                                                          e.g. 60:4,14
  170:2 181:12        205:18 207:17      40:15,15 44:21
                                                          earlier 21:19
  195:24              207:24             61:17,19,21,23
                                                            23:14,25 63:25
                                         62:20,21,23
                       www.CapitalReportingCompany.com
                                202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 75 of 122
                              James M. Cantor                    May 2, 2024
[earlier - entail]                                                  Page 20

   90:7 98:9         effective 43:18    embark 132:3      endocrinolog...
   105:16 148:20       43:24 46:11      emerging            20:9,22 147:5
   150:10              47:20 69:21        135:5 140:20    endocrinolog...
 early 21:23           82:2 97:20       emotional 48:1      20:5,23 22:25
   22:2 59:14          99:2,4 148:8     emotions 46:15    endocrinology
   71:23 101:17      effectiveness        46:18             20:7 27:8
   103:25 122:1        28:24 68:8       emphasis            28:23
   131:14 135:11       69:14 81:15,22     134:23          endorsed 76:4
   136:16 138:17       97:16 98:17      emphasize         ends 147:15
   139:9,15,21         120:15 154:25      34:17           enforces 195:6
   150:9 190:14        155:7,11         emphasized        engage 17:8,11
 easier 76:2         effects 20:11        190:12            27:4 152:5
   190:25              29:2 68:7        emphasizes          163:25 165:15
 easily 72:22          94:23 96:19        202:12            168:15 172:9
   93:17 121:1         97:18 98:5       employ 193:20     engaged 29:8
   159:22              120:18           employed            37:20 43:16
 easy 59:19          efficacy 201:23      19:22 41:17       58:20 64:23
 eat 104:10          effort 117:8         67:4 174:10       180:1
   105:4               141:21 170:10    employee          engaging 31:14
 ec 177:24             176:19             211:10            39:10 42:13
 editor 4:19         efforts 97:13      employees           60:21 64:19
   29:17 74:13       eight 10:24          174:17,24         152:19 158:10
   134:17 137:18       15:5,10,12       enabled 121:14      181:6 194:19
   140:14 161:3,7    either 12:23       enact 200:23        195:5
   164:5,5 165:13      17:7 29:1,5      enacted 50:3      england 10:9
   181:14              113:16 124:17      195:10            192:5,14 206:1
 editorial 74:14       127:5,5 132:9    enacting 50:8,8   english 200:21
   77:3 86:21          143:19 145:21      195:19          enormous
   144:1 146:11        196:9 200:15     enacts 207:22       30:17 40:12
   161:4,6,16          207:19           encourages          88:17 181:11
   162:1 164:12      element 15:23        196:21 197:1    enrolled
   166:9,17,20         119:17           encouraging         200:25 201:15
   167:10            elements             197:5,23        ensconced
 editors 167:8         126:12           endeavor 23:2       34:22
 education           elevate 112:6        58:17 119:19    ensure 8:2
   182:3             elevated 93:12     ended 66:11         47:24 187:20
 effect 114:1,3        94:16 95:12      endocrine         entail 152:20
   186:9 205:21                           42:10 146:22
                        www.CapitalReportingCompany.com
                                 202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 76 of 122
                              James M. Cantor                    May 2, 2024
[enter - evolution]                                                 Page 21

 enter 19:9           erratas 212:15     estimation         eventual 190:8
 entered 150:20       error 87:21          80:12            eventuality
   211:8                112:6 127:6      et 1:5,12 142:9      154:19
 entire 13:13           130:20 131:4       147:11,14        everybody 41:8
   58:17 114:25         138:22             155:4 212:4,4      45:2 62:12
   119:19 138:2       errors 100:15      ethical 48:21        137:24,24
   151:2 176:15         133:1 166:22       48:22 152:21       173:14 185:14
   176:20 179:5         167:2              152:22             205:10
   205:13             especially 8:6     ethics 98:24       evidence 26:21
 entirely 42:11         10:8 12:20         119:25 157:17      31:14,15 42:6
   82:14 96:12          14:7 19:5          158:4 181:17       43:20 44:15
   133:18 134:5         20:25 66:17      european             46:17 47:23
 entitled 66:2          76:5 118:1         161:20             48:25 49:1
   70:13 74:9           142:19 143:7     evaluate 44:9        56:11 58:25
   93:12 110:17         154:6 188:5        85:1 169:8         60:4 62:21
   115:7              esq 212:1            170:10,10          63:7,10,12,17
 entity 62:9          esquire 2:16         181:16 201:23      66:16 75:4
   75:8 106:17          3:2              evaluated            76:13,18,21,25
 entries 157:8        essential 162:6      48:15 166:10       76:25 80:2,14
 ephemeral            essentially 31:6   evaluating           80:22 84:1,9
   135:4 137:21         34:21 102:21       42:14 85:14        88:11 89:25
   140:19               107:22 125:23      115:23 120:16      97:16,21 99:8
 epidemiologi...        127:17 130:3       181:7              112:7,8 120:19
   116:8                185:10           evaluation           120:24 124:14
 equal 98:20          establish 158:9      52:12 58:14,15     132:9,16 137:7
   143:14               201:12             64:17 85:3         137:7,8 138:7
 equally 98:16        established          86:24 87:17        138:19,23
   143:1                83:9,12 106:24     169:23             140:2,4 141:10
 equipped 41:19         120:6 122:12     evaluations          154:23 158:25
   41:25                135:19,20          43:19,20 64:22     160:15 161:9
 equivalent             153:6            event 13:1           162:7 164:8
   80:14,21 81:16     establishing         176:7              165:16 197:15
   104:1 154:24         48:20 72:15,15   events 54:4          198:18 202:2
   155:6,10             72:21 73:8         60:14 93:16      evidences
 erectile 26:25         188:1              166:15 167:7       166:1
 errata 209:7,18      estimate 95:19       167:15,17        evolution 30:16
   210:1 212:11         145:7              199:15             30:17,23 31:5
   212:13,16                                                  32:7
                         www.CapitalReportingCompany.com
                                  202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 77 of 122
                              James M. Cantor                    May 2, 2024
[evolutionary - experienced]                                        Page 22

 evolutionary       examine 109:4      excludes 81:21       165:10 166:4,7
   30:18              110:4            excluding 83:2       167:24 168:3
 evolving           examined           exclusionary         177:16,19
   142:20             109:16 209:3       44:10              183:5,7 189:1
 exact 36:8         examines 109:1     exclusively          189:2
   125:25 127:10    examining 94:3       141:14           exhibits 4:7
   159:23             94:19            excuse 43:19         6:23 97:15
 exactly 17:3       example 29:16        96:18            exist 32:3 80:4
   18:13,13 25:5      32:14 33:16      exemption            94:22 120:13
   27:17 34:9         34:9 42:9          198:17             135:16 139:1
   38:8 44:15         46:20 52:11      exhausted            192:8
   47:22 58:7,25      53:8,20,20         191:17           existed 137:4
   61:18 62:19        61:22 62:17      exhibit 4:8,9,10   existence 31:4
   63:5 67:5,10       63:12 67:21        4:11,12,13,14    existing 25:7
   73:22,24 75:2      72:15 79:15        4:15,16,17,18      37:5 88:25
   77:23 80:16        82:21 88:20        4:19,20,21,22      151:22 203:19
   84:4 85:15         103:9 112:23       4:23,24,25 5:1   exists 21:18
   86:24 87:10        113:7,20           5:3,5,6 25:17      62:10 63:5,21
   92:8 98:3          114:23 123:20      25:18,21 51:6      79:17 94:18
   100:23,25          126:11 140:3       52:1,2 54:21       150:11
   118:22 119:5       148:9 149:12       55:14,15 57:6    expanded
   120:20 123:10      170:23 173:11      59:22 60:23        198:19 206:6
   128:5,14           183:16 186:11      70:20,21 74:5    expect 93:9
   135:22 136:4       188:19             74:7 79:20         197:12
   139:18 142:21    examples 35:13       85:16,18 89:8    expensive
   143:4 147:23       35:24 102:19       105:9,12           157:7 158:22
   149:8 157:8        121:22 173:11      108:19,22          159:9
   158:4 172:8      except 25:6          110:13,15        experience
   173:17 177:5       103:14 121:2       115:3,5 122:19     15:4,9 22:19
   177:10 179:17      206:25             122:25 123:3       22:20 23:9,18
   180:2 181:12     exception            134:10,12,13       44:9 45:6
   183:23 184:14      141:22 142:2       142:4 143:21       64:18 71:14,15
   184:15 193:1       191:15             143:23 147:7       77:21 112:14
   207:4            exceptions           147:10 156:2,7     140:7 172:15
 exaggerated          190:13             158:17 160:9       181:12
   102:19           exclude 82:7         160:20,22        experienced
 examination          132:14             162:24 163:3       149:19,20,21
   4:4 211:5                             164:22 165:9       172:1
                       www.CapitalReportingCompany.com
                                202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 78 of 122
                              James M. Cantor                    May 2, 2024
[experiences - females]                                              Page 23

 experiences        explicitly                     f         familiar 41:15
   16:23 30:21        128:14 173:14       f 93:11              76:17,19 121:4
 experiencing         205:1               facet 117:18         121:18 170:19
   40:16 71:17      exploration           faceted 79:14      families 130:16
   140:11             17:12 64:14         facilitate 76:11   family 13:6
 experiment         explosion             facilitating       far 86:18
   90:18              40:12 135:13          173:23             137:11 179:18
 experimental         137:11 138:3        fact 40:10 44:1      180:5
   80:1,2,10        exposed 146:23          45:20 58:1       fashion 15:19
   81:14 82:12,15     149:2,17              61:11 85:8,10    fast 105:4
   82:23,24 83:1    exposes 150:2           85:10 107:13     faulting 133:4
   83:3,6,11,16       162:7                 121:21 124:15    favor 156:23
   83:22 84:1,5     express 33:10           130:13 170:12      157:6 158:21
   92:10            expressed             factor 89:1          159:9
 experimentat...      48:14 72:19           103:24           feasible 21:20
   20:10            expressing            factors 81:22        119:3
 expert 5:1 8:20      70:11 161:7           82:1,4,20 84:7   features 66:25
   25:13 28:16        179:8 191:3           84:12 124:9,23   february
   36:23 39:13,20   expression              125:6 126:4        105:12
   43:25 44:22        206:18                134:9 145:17     federal 2:5,12
   45:1,3,6,8,12    extensively             173:2,6            180:8
   168:10,14,21       173:1               factual 87:21      fee 75:16,19,23
   181:3,9          extent 15:3,8         faculty 19:22        187:8
 expertise 26:15      15:25 38:20         fail 165:15        feeding 91:21
   58:14              40:20 48:24         failed 163:25        92:2,18 93:3
 experts 41:22        50:3 89:3             164:7            feel 33:22
   41:23,24 43:1      161:17 168:20       failing 133:4        99:23 101:18
   43:2,7,8,8,11      180:15,18           fails 212:18         209:6
   43:12,13 61:11     203:20              failure 90:25      feeling 62:4
   85:12 160:16     externally              132:24             64:9 104:8
 expires 211:16       137:1               failures 88:19       141:7
 explain 67:13      extreme 190:15          120:5            feelings 136:24
 explicit 34:12     extremely             fair 96:5 119:3    female 70:8
   42:11 78:19        120:21,23             137:19 138:11      91:24 131:14
   100:22 102:2       148:24 172:6        fairly 196:2         133:14
   102:21 122:6       175:20              false 119:10       females 30:20
   179:25 191:23                                               93:13
   192:1 205:9
                          www.CapitalReportingCompany.com
                                   202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 79 of 122
                              James M. Cantor                    May 2, 2024
[feminized - forms]                                                   Page 24

 feminized            finding 87:20      flagged 188:13        66:21 68:20
    134:24               110:2 117:7     flaw 125:13           73:3 78:6
 fertile 30:25           133:13,18          132:15             81:18 83:17
    146:25               134:5           flip 134:21           84:3 87:24
 fertility 147:16     findings 115:1     florida 55:22         96:25 99:18
    148:8                121:12 123:11      55:23 56:3,9       102:10 103:21
 fewer 202:7          fine 50:24            56:25 57:7         112:18 114:15
 field 9:1 26:16         105:1 156:16       59:11              118:14 129:5
    26:23 27:6           160:3 163:21    flow 207:7            131:3 136:14
    28:10,19 29:9        174:5           flux 207:5            139:5,11 141:3
    29:13 30:8        finish 8:5         focus 60:12           142:15 147:18
    31:20 35:3           156:10          focused 106:6         148:15 150:22
    41:19 42:8        finland 115:9         106:7              153:3 162:2,19
    59:1 85:13           200:24          folded 102:9          168:12 170:5
    87:18 142:19      finnish 200:17     follow 62:7           172:20 173:17
    168:24               200:20 201:7       67:13 95:20        174:3 179:4,22
 fields 27:23         first 9:6,9,12        118:17 119:5,9     180:9 181:5
    44:17                40:24 56:1         153:7 184:13       182:12 183:11
 fifth 163:10            61:19 64:9         202:12 204:19      183:17 185:9
 file 176:24             67:11 74:12        205:3,4            185:19 186:14
 files 111:21            81:12 98:3      followed 91:25        186:18 187:2
    117:10               127:18 129:19      145:18 207:2,3     187:13 188:10
 filled 183:16           132:14 136:3    following 51:9        190:6 192:22
    185:9 186:20         136:17 143:11      117:7 206:8        193:9 194:13
 filter 54:9             144:24,25       follows 6:16          198:8 199:24
 final 172:19            150:17 151:7       23:25              201:2 203:17
    185:13 187:23        151:10,18       footnote              204:14 205:23
    187:23 188:23        167:9 177:24       105:20,20          206:17
    188:23 189:4         191:17 197:9       163:2,7 165:8    formal 43:19
 financial 43:22         202:23          foregoing             43:19 64:22
    46:22 47:2        firsthand 77:21       209:4              84:21 169:16
    48:11 50:17       fit 36:21 71:18    forgotten 76:16       169:23
    173:4 183:18      five 35:20         form 5:5 17:24      formally 182:1
    185:17,22,24         36:10,15,22        23:11 33:8       format 85:22
    186:4,4              207:10             39:17 42:3         86:4
 find 71:12 80:7      flag 117:5            44:3 48:5        former 53:11
    80:19 93:10          118:16 119:10      49:10 51:12      forms 139:11
                         119:11             56:13 65:3
                         www.CapitalReportingCompany.com
                                  202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 80 of 122
                              James M. Cantor                    May 2, 2024
[forward - gender]                                                  Page 25

 forward               112:18 113:13    fulfilled 96:2,7    28:1,6,8,8,13
   197:16              114:15 118:14    full 6:25 13:11     30:9 31:16
 found 70:7            129:5 131:3        52:8 53:18,21     33:18,19,23
   107:22 109:22       136:14 139:5       53:21,22 54:16    34:5,14,18,18
   116:20 123:7        141:3 142:15       70:2 88:20        36:25 37:16
   123:14,17,23        147:18 148:15    function 31:3,9     38:5 40:8,14
   124:2,10,11,14      150:22 153:3       118:22            40:15,18,18,19
   130:12 166:18       156:9,16 160:3   functioning         40:24 44:1,21
 founders              162:2,19           114:22 130:8      44:22 46:9,21
   122:11              164:19 168:12    functions 29:8      46:22 47:2,3
 founding 34:12        170:5 172:20     fundamental         47:18,19 48:3
 four 52:24            174:3 179:4,22     42:5              56:11 59:7,11
   97:22 150:13        180:9 181:5      funded 75:7         61:1,3,5,8,12
   151:11              185:19 186:1,7     76:13             61:16,19,20,22
 fractures 60:14       186:14 187:2     funders 76:5        62:5,8,20,21
 frame 157:14          187:13 188:10      197:2             62:23 63:18,24
 framed 159:6          190:6,18,24      funding 30:4        64:8,9,19
 framptom              192:22 193:9       76:7,10 206:22    65:18,23 66:4
   212:1               193:15 194:13    further 6:7,10      68:19 70:11,13
 frampton 3:2          194:23 198:1,8     80:8 146:6        71:17,20,21
   8:12 10:17,21       198:15,21          166:21 211:5,8    72:3,6 74:10
   10:25 17:24         201:2 203:17       211:10            76:14,18,21,22
   23:11 25:25         204:14 205:23    future 37:20        77:22 78:4,11
   33:8 39:17,24       206:17 207:12      147:16 207:6      79:5 82:10
   42:3 44:3 48:5      208:9,11,15,21   fuzzy 151:8         83:15 84:13
   49:10,15 50:25    francisco 2:19              g          90:3,20 97:20
   51:3,12 52:20     free 57:22                             99:2,23 101:18
                                        gain 96:21
   56:13 65:3,11     freedom 3:3                            101:18 103:19
                                        gatekeeping
   66:21 68:20       freedoms                               104:3 109:5,17
                                          125:23
   73:3 78:6           206:21                               109:18 110:17
                                        gathering
   81:18 82:13       frequent 33:15                         111:15 114:13
                                          56:10
   83:17 84:3        frequently                             115:8,14,20
                                        gay 27:2
   87:24 89:13,16      48:18                                116:22 117:2
                                        gender 13:21
   96:25 99:18       friends 133:15                         118:12 121:19
                                          15:22,22 17:22
   103:21 104:12     front 11:8                             126:5 130:21
                                          18:23 20:25
   104:16,19           25:19 202:21                         130:22 131:1,2
                                          25:3 27:11,15
   105:2,5 108:8     fulfill 56:3                           131:25 132:22
                                          27:18,19,21
   108:11 111:5                                             132:23 135:3
                        www.CapitalReportingCompany.com
                                 202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 81 of 122
                              James M. Cantor                    May 2, 2024
[gender - great]                                                    Page 26

   135:10 136:20      85:6 147:24        53:3 54:18         81:9,10 91:18
   136:21 137:4       151:22 187:6       56:13 57:6         93:11 95:23
   137:20,24,25       205:2              65:3,11 66:21      96:17 97:5
   138:5,9,13,16    genital 102:16       73:3 81:18         104:8 105:11
   139:3,12,16,18   genuine 125:2        82:13 83:17        110:6 117:25
   139:25 140:12      125:5              89:7 93:5 94:6     121:13 122:15
   140:16,17,18     genuinely            94:15 96:1,25      127:13 133:22
   145:23 151:5       40:15,23           97:3 103:16        138:24 141:10
   151:20 153:1     getting 10:11        104:4 105:6        148:18,24
   155:11,25          30:5 144:10        106:16 111:2       163:2 166:7
   161:15,25          149:11 164:16      112:18 113:13      189:25 190:19
   163:13 165:21      180:20             113:18 125:2       190:19,20
   183:22 186:13    give 25:20 35:6      127:17 129:5       197:16
   187:1 188:3        95:19 111:8        129:18 132:8     gold 81:24
   189:15 190:1       115:16 119:8       140:7 142:15     gonadal 149:2
   192:20 193:12      144:21 156:17      146:24,25        good 6:19 8:15
   194:10 195:3       190:21             147:18,22          50:21,25 69:22
   196:22 197:24    given 17:4           148:15 149:24      104:6 105:2
   198:19 200:18      24:10 40:7         152:3 156:4        113:11 144:19
   200:25 201:8       41:16 47:6         158:16 160:5       160:1 197:15
   201:15,23          49:21,25 50:8      164:18,19          207:9,10,11,12
   202:6 206:15       67:20 155:19       170:23 183:25    goodness 15:20
 gene 31:6            176:5 196:17       185:19 186:1,7   gotten 143:20
 general 1:11         196:17 200:3       187:13 189:22    government
   11:5,6 16:5        200:23 204:18      193:15 198:1,8     9:16 29:23
   21:14 49:7,12      207:21 209:5       198:15,21          180:8,23 194:5
   61:10 75:18      giving 172:1         204:24 207:13      195:6 206:19
   76:23 127:3,4      200:1,2            208:1,1          governments
   141:22,25,25     glean 167:23       goal 8:25            193:23,24
   181:13 191:3,9   glintborg 4:16     goals 16:24        graduates
   191:10 200:15      110:11,15        goes 68:6            83:11
   202:3,13 205:5   global 60:17         153:25           grain 174:5
 general's 9:11       83:19,20         going 12:9         granted 121:23
   208:17             113:16             24:12 25:16,18   grants 29:22
 generalize         go 23:11 32:4        26:6 36:7,11     grave 133:1
   138:23 139:10      33:8 36:19         50:20 51:25      great 8:16
 generally 29:11      42:3 44:3 48:5     54:4,21 56:16      17:21 29:13
   38:9 71:24,25      50:5 51:2,7        60:22,23 70:1      31:9 44:14
                       www.CapitalReportingCompany.com
                                202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 82 of 122
                              James M. Cantor                    May 2, 2024
[great - hframptom]                                                 Page 27

  47:8,9 73:23        151:20,22        happens 151:2        125:19,21
  86:6 98:10          164:8 178:2        154:15 165:14      126:3,10,13,16
  112:6 131:14        180:19 182:18    happy 156:15         126:20,25
  138:3               183:2,3 187:15   hard 13:22           127:9 128:9
greater 117:8         187:24 188:1,1     78:7 202:20        129:3 130:6
  120:10 129:15       188:3 200:17     harm 98:7            152:2 154:6,6
  129:23 148:22       201:7              156:20 157:4       155:16 161:22
  194:2             guild 83:4           157:19,20          161:23 163:17
greatly 92:1        guilds 163:24        158:19,24          163:18,20
  109:14                    h          harmful              165:22 174:8
ground 8:1                               156:23 157:7       175:8 191:13
                    h 96:18
group 21:22                              157:22 158:22      192:24,25
                    habit 34:23
  34:23 48:24                            159:9              193:2,2,21
                      75:10
  50:3 58:8,10                         harms 158:11         195:23 200:21
                    hair 151:8
  58:12 68:16                          head 122:2           200:23 206:15
                    hal 3:2 104:6
  71:11 115:15                           163:16,16          206:22
                      212:1
  116:4 124:4                          headache           healthy 62:23
                    half 7:6 21:11
  127:25 128:19                          96:20            hear 8:4 12:25
                      21:22 22:1
  131:21 170:14                        header 81:12         92:23
                      104:14
  170:17                               heading 56:7       hearing 9:22
                    hand 211:12
groups 58:13                             172:25             9:23 11:17,23
                    handbook 4:22
  69:6,11 124:12                       health 17:5        help 16:25
                    handle 20:23
  126:17 130:6                           19:14 20:20        20:21 35:10
                    handled 22:24
  131:9,17,20                            22:25 23:2,4,9     38:1 76:11
                    handling 21:4
  169:17 205:11                          36:5 47:11,13      122:16 195:2
                      149:21
grow 136:18                              50:18 55:23        197:18
                    hang 60:6,6
growth 102:11                            56:3,10 57:1,8   helping 120:8
                    happen 103:4
  151:8                                  70:10 76:6       hesitate 38:17
                      103:14,15
guardian 51:20                           79:10,11 82:25     38:19 45:9
                      111:6 154:17
guess 18:4,18                            83:1 88:23         91:11 92:7
                      192:8 199:17
  22:7                                   89:18 97:17        124:17 141:20
                      200:11 201:4
guideline 50:15                          109:16,25          143:10 154:7
                      206:19
  170:14,17                              110:4,18,24        200:14
                    happened
  182:24 183:1                           111:12 118:19    heterosexual
                      186:9
  187:11,12                              118:25 119:14      134:24 135:1
                    happening
  188:9                                  119:15,19,22     hframptom 3:6
                      114:2
guidelines                               120:10,11          212:2
  48:20,20                               122:10 125:17
                       www.CapitalReportingCompany.com
                                202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 83 of 122
                              James M. Cantor                    May 2, 2024
[hhs - implications]                                                    Page 28

 hhs 174:8,10             149:3,11,17,25      159:20              61:1,3,5,9,12
   174:17,24              150:2,3 152:15    identical             109:19 111:15
   178:17 179:12          153:13 154:1        173:24              133:19 134:6
 hierarchy                154:16 165:21     identifiable          135:3 137:20
   73:17,18               172:7 190:5,11      137:1               138:1,5,13,16
 high 70:9                191:22 198:14     identified            139:3,16,19
   121:16 148:24          199:4,8,12          13:17 41:6          140:18 202:6
   160:17                 200:7 201:19        78:14 94:24      ignore 101:9
 higher 87:9           hospital 19:7          113:9 118:15        103:11
   93:20 98:6             19:15 24:7,18       118:19 133:15    ignored 101:20
   124:4 155:3            24:22 25:1          135:10,15           103:7
 highest 81:13            111:12,18           136:1 138:20     ignoring
 highly 27:5           hospitals 14:15      identifier            101:12 102:21
   32:10 88:18         hotel 104:20           144:16              102:24 103:2
 hilary 189:12         hour 8:11            identifiers        illness 32:16
 histories 13:17          50:20 104:15        65:22            illuminate
 history 29:7             156:11            identify 13:14        117:18
   31:21 32:1          hours 10:24            35:19 36:14,21   imagine 47:6
   34:23 72:4          house 182:5            41:2,10 55:11       168:19 174:25
   78:1 129:10         human 22:24            68:11 78:9          176:6 186:8
 hold 87:8                26:19,19,23         117:22,24           195:25 196:19
 homosexuality            27:7,10,22,22       145:14,23        imagining
   32:15 139:23           28:3,7 29:1,3,4     146:3 151:19        187:3
 hon 1:11 212:4           95:4 174:8        identifying        immediate
 hopeful 205:14        humans 20:7            31:6 40:14          96:19 119:22
 hopes 97:11              26:20 27:4          85:23 145:17        120:18
 hormone 23:19         hundreds 53:2        identities 28:8    immediately
   23:22 89:19         hyper 30:9             34:18,19            102:15 117:6
   91:22 92:17         hypothesize            139:12 170:13       186:10
   93:2,14 94:6           119:4               170:16 171:16    immutable
   94:15 125:15        hypothetical         identity 15:22        133:20 134:7
   147:15 148:1           113:6               21:1 27:12,16       135:5 138:14
   148:25 152:14                i             27:18,19,21         139:4,17
 hormones                                     28:1,6,9,14         140:20
                       i.e. 125:16
   20:12 22:5,14                              30:9 33:18,20    impactful
                       idea 34:21 35:2
   101:9 124:3                                34:6,14 36:25       172:6
                          38:25 72:18
   125:18 128:19                              37:16 38:6       implications
                          119:8 136:8
   146:23 148:3                               40:8,18,19,24       34:2 94:19
                          www.CapitalReportingCompany.com
                                   202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 84 of 122
                              James M. Cantor                    May 2, 2024
[implications - info]                                                Page 29

   206:8                  80:5 89:18       increase 115:9    indicator 90:24
 important 8:6            90:16 96:19        143:9             117:4 119:22
   113:2 119:5            101:21 107:12    increased 12:6      131:19 151:12
   180:16 196:25          114:12 131:10      46:24 47:5      indicators
 impossible               153:13 178:6       109:14 116:21     62:18 63:22
   89:2 200:10            181:17 190:4     increases 64:10     117:3 120:4
 improve 31:12            198:24 206:6       102:5           indirect 23:25
   119:19 122:17        included 74:20     increasing 10:8     48:11 119:7
 improved                 78:12 88:14      independent         182:20
   119:1 124:5            94:20 96:3         95:24 166:9     indirectly
 improvement              177:7 203:25     independently       16:14
   80:11 111:22           204:12             70:6            individual
   113:8 117:11         includes 34:5      indicate 30:14      14:13 16:13
   120:5 123:23           74:24 85:11        51:16 116:10      20:17 21:8
   124:1,11,14,18         112:21 179:25      119:14 125:1      22:5 24:22,22
   124:22,24            including            126:5 127:18      30:23 34:8,22
   125:2,5,7              12:21 13:6         127:21 132:18     63:8 65:13
   130:14 155:16          22:10 34:16        155:16 172:22     72:13 82:1
   155:22                 35:16 47:8         187:16            94:4 117:21
 improvements             50:6 60:3        indicated 58:18     148:17 151:15
   23:3                   61:25 73:25        75:2 173:14       179:7 180:15
 improving                75:3 84:8 90:6     177:14 179:15     200:13 202:11
   97:16 112:25           96:24 129:9        201:13            203:21
   113:1,22               163:19 171:2     indicates 117:6   individuals
 impulsivity              173:3 191:20       119:12 126:2      14:25 39:15,22
   17:10                  202:13 205:13      195:8 196:24      46:8 130:25
 inaccurate             income 44:11         203:2,12          137:20 138:13
   167:18                 182:21           indicating        ineffective
 inadvertently          incomes 173:19       42:12 114:21      117:2
   120:2                incomplete           148:18 194:2    inexperienced
 inappropriate            167:20             206:1,4           171:3,18,18
   46:3 67:23           inconclusive       indication        influence 28:7
   68:5                   88:25              107:21 112:17     174:2
 inaudible              inconsistent         113:11,23       influenced
   141:8 178:14           115:1 133:19       148:8 150:14      134:8 173:2,7
 include 33:16            134:6              179:25            187:23
   33:17 48:21          incorrect          indications       info 208:18
   67:7,16 78:1           150:20             154:18
                           www.CapitalReportingCompany.com
                                    202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 85 of 122
                              James M. Cantor                    May 2, 2024
[inform - interrogated]                                              Page 30

 inform 61:5        initially 32:16       integrates         interested
 informally         injunction 9:15         50:15              26:20,21 39:9
   182:1              9:22 11:17          integration          171:1 211:11
 informants         innate 61:12            50:4             interesting
   145:1              133:20 134:7        intellectual         27:14 31:7
 information          135:4 138:14          48:13            interests 72:14
   10:7 13:12         139:3,17            intend 52:13         206:21,24
   14:11 18:9,10      140:19                135:25           interfere 29:2
   25:11 46:2       inner 102:10          intended 87:21       92:1
   50:13,14 52:10   input 13:1              164:15 186:12    interfering
   64:21 65:22        16:16 21:1          intent 179:6         17:6,10 130:3
   71:13,21 72:18     27:8 28:5             207:5            internal 61:13
   73:25 75:13        188:18,21           intention            61:13
   81:5 85:24       inquiry 105:24          186:15           internalizing
   91:13,15 93:7      106:1               inter 14:9,22        123:9
   96:15 98:2,22    ins 12:23               15:15,19 21:3    internet 69:6
   107:11,23        inside 102:9            21:6 22:3 24:1     69:11 145:4
   109:7 112:13     insofar 138:15          27:6 28:10       interpret
   112:21 113:15    instance 37:2         interact 29:5        128:25 174:21
   113:25 117:13      52:7                interest 27:1        175:17 176:1
   129:11 136:5     institutes 76:6         42:12,14,23,25     177:7 198:3
   138:21 167:22    instituting             43:17,22 44:10   interpretation
   174:19 175:16      195:24                44:13,16,24        23:6 24:21
   175:21 187:4,6   institutions            45:4,15,16,21      128:12 130:4
   187:6,8 204:16     164:1 182:7           45:24,25 46:10     130:11 171:19
 informational        194:4                 46:22 47:3,18      172:4 175:1
   16:20            instruct 10:18          48:3,7,10,13       191:19
 informative        insufficiently          48:16,17,19      interpretations
   196:9              171:25                58:4,12,16         124:19 132:18
 informed 17:7      insurance 19:6          59:7 72:10,12    interpreted
   74:16 91:14        50:17 83:1,7          73:2,5,7 87:13     16:24 123:11
   126:7 200:8      integrate 18:9          87:16 107:17       124:25
 informing            37:10                 169:7 173:5,15   interpreting
   95:18            integrated              173:17 181:4       132:6 179:17
 initial 16:1         37:12 50:14           181:10,18,21       180:2
   18:16 65:21        181:24,25             185:5,13,15,18   interrogated
   77:13 83:13        182:3                 185:25 187:15      211:4
   102:2                                    187:17 188:17
                          www.CapitalReportingCompany.com
                                   202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 86 of 122
                              James M. Cantor                    May 2, 2024
[intervening - justify]                                              Page 31

 intervening         introduction         involving 188:3      212:5
   73:23               56:2                 196:22 197:24    jesse 84:17
 intervenor 1:9      invariably 85:7        198:5,13         job 1:25 209:25
   2:3               investigate          irrelevant           210:25
 intervention          81:25 117:24         180:25           join 197:17
   46:23 47:4          118:8              irreversibility    joined 6:22,23
   127:24 152:7,8    investigated           149:1            joints 136:16
   156:22 157:6        111:12             irreversible       journal 29:17
   158:14,21         investigating          146:18 148:10      72:17 73:6,20
   159:3,4,8           84:19 116:3          148:13 149:6       75:1,13 86:10
   189:24 191:16       118:7                150:4 153:10       86:19 105:24
   191:24 199:20     investigation          154:11             105:25 106:1,4
   199:21,22           25:10 64:24        isolate 14:7         106:5,9,17,21
   202:24            investigations       isolation 94:4       106:23 107:4,5
 interventions         51:18 119:6        issuance             107:9,25 108:3
   20:22 64:14       investigators          175:10             161:2,7 181:14
   90:3 98:6,12        117:7              issue 14:21        journalism
   98:15,19          investment             15:25,25 16:1      84:24 85:11
   120:17 132:12       120:12               16:4 31:16         87:8
   151:23 152:2,6    investments            40:17 45:9       journalist
   152:14,21,23        182:20               50:18 51:18        84:18 85:15
   153:21,23         invites 101:19         62:9 85:6          86:11 87:7
   154:14 172:6      inviting 85:13         162:17 165:10    judged 126:10
   172:11,17         involve 190:2        issues 13:6        judgment
   189:14 190:3,4      199:12               15:22 16:15        32:25 172:14
   190:17 191:5,6    involved 8:22          17:5,9,9 20:25   jumps 186:10
   191:8,12,13         9:4,16 11:4          21:1 32:2,4      jurisdiction
   197:18              31:16 33:16          36:9 44:24         24:10,11,14,15
 interview             37:25 45:21          46:13 49:20        24:23,24 37:25
   175:18              59:18 77:9           50:19 62:7         50:4 194:6
 interviewed           82:21 181:18         70:10,11 80:24     200:12 207:22
   122:4               200:4 205:13         84:19 88:24        207:23
 interviewing        involvement            118:7 190:1      jurisdictions
   28:21               12:5,7 43:21                j           36:12 163:19
 introduced            55:4                                    195:10 198:25
                                          j 70:17
   162:10 165:2,8    involves 28:19                          justice 2:6,10
                                          james 1:17 4:3
   165:9               199:3,7 200:6                         justify 100:19
                                            6:15 7:1 211:3

                          www.CapitalReportingCompany.com
                                   202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 87 of 122
                              James M. Cantor                    May 2, 2024
[kaltiala - lack]                                                   Page 32

         k          kingdom              96:9,13 97:7,8     191:24 193:22
 kaltiala 4:17        192:21 193:7,8     99:5 100:4         194:14 196:25
   110:11 115:5,6     193:13 194:12      102:20 103:3       202:10,15,20
   121:4,6,10         205:22 206:14      103:13 104:6       205:6,9,17
 kaltiala's         kinks 27:3           105:13,21          206:11 207:21
   121:18           kinsey 28:22         106:18,23          208:7
 kathryn 1:20       know 8:2,10,12       108:1,2 112:6    knowing
   211:2,15           10:6 13:13         113:1,4,17         178:21 179:1
 kathy 8:3,4          15:17 18:7,11      114:17,20        knowledge
 keep 39:11           24:12 26:9         116:17 121:2       24:5,16,25
   58:7 104:8         27:1 28:20         122:2,4 123:19     31:10,11 45:16
   111:3 137:10       29:9,11 31:10      124:11 125:9       46:14 59:8
   138:16 194:7       32:19 35:3         127:15,18,23       78:23 84:23
 keeping 14:14        37:20 42:14,20     128:11 129:7       96:11 114:9
   19:6,12 129:9      43:3,9 45:13       130:1,2 135:12     175:5 179:23
   205:4              46:13 48:13        137:6 145:1,11     180:11 204:3
 kicks 208:3          49:19,21 52:11     150:24,25        knowledgeable
 kid 16:4             52:18,25 53:2      151:12 152:12      84:18
 kids 71:2,5,10       53:4,10,19         152:18,20        known 32:13
   72:5,10 73:1       54:5 56:16         157:9 158:10       37:18,19 58:25
 kind 68:9,10         57:16,24 58:1      159:15,22          65:25 87:18,23
   88:24 112:1        58:21 59:2,6       160:16 161:4       120:6 147:6
   117:13 118:17      62:5,18 63:1       161:19 163:17      158:3 168:17
   125:4 138:6        66:13 68:13,22     164:2 166:15     knows 18:17
   145:11 159:16      68:24 69:20        167:5 168:17       45:11
   169:23 170:10      71:5,8,11,17       170:7,8,13,16            l
   174:25 199:25      71:19 72:1,5       170:20 171:4
                                                          label 78:10
   200:2              73:19,20 75:9      171:13,15,17
                                                            79:11
 kinds 12:20          75:17 76:20,24     172:2,10,18
                                                          labeled 78:2
   27:21 28:6,7       79:13,17,21        173:10 174:5
                                                            138:1 177:22
   28:21,25,25        81:7 82:22         174:12,15
                                                          labeling 138:4
   29:24 69:15        84:10,19,25        176:8 179:14
                                                          labels 48:22
   92:11,12 95:15     85:3,10,12,25      179:18,25
                                                          lack 42:22
   95:16 130:15       86:18 87:1,12      180:5 181:13
                                                            44:13 50:1
   163:25 176:8       87:14,15,15        181:24 182:4
                                                            84:9 92:9
   205:12             88:1 89:2,10       185:9 186:19
                                                            120:20 193:21
                      90:7 92:13         187:7,25
                                                            204:18 205:3,3
                      93:25 94:23        188:15 191:22
                       www.CapitalReportingCompany.com
                                202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 88 of 122
                              James M. Cantor                    May 2, 2024
[lack - literature]                                                  Page 33

   205:4                193:20 194:4     lesbian 2:17       limitations
 lacked 185:14          195:11 206:23    lesser 191:15         30:1 67:4
 lacks 46:1           leadership            194:3              101:9,12
   97:17 159:4          175:10           letter 4:19           102:24 103:6
 lactate 92:5         leading 65:23         134:17 137:14      144:24
 language 53:9          141:5               137:18 138:11   limited 69:5,9
 large 72:1 76:5      learned 145:12        138:22 139:8       169:21 180:11
   99:22 101:16         145:13              140:14 162:1    limits 179:23
   122:5 135:17       leave 198:16       level 80:14,21     line 41:8 66:18
   154:5,5,7,8          201:3,17            81:13 87:8         68:16 119:18
   179:6 181:24       leaves 189:13         117:20,20          133:17 134:2
   205:11               189:17              138:7 141:24       144:5,7 152:18
 largely 28:2         leaving 202:15        149:22 174:5       156:10 191:11
 larger 81:6          led 138:8             202:2              203:5 210:5
   90:23 131:18       left 89:1 102:18   levels 126:16      lines 95:22
 lasts 151:4            164:2 192:7         187:19 200:3       197:4
 late 22:6,7,15       leg 96:20,22       levine 174:12      lining 102:10
   22:17 71:24        legal 12:5,10         174:14 175:9    link 86:1
   136:22 138:18        29:5 39:14,21       175:14 177:2    lip 151:8
 law 8:17 38:4          41:15 44:1          178:21 179:1    lips 208:4
   40:23 162:17         45:7 48:4           179:11,20       lisa 66:1
   164:11,25            79:25 212:23        180:6,22           144:12
   165:10,12          legislative        levine's 177:12    list 51:22 128:1
   211:4                173:4               178:1              128:24 129:12
 laws 39:14,21        legislatures       license 20:6          170:18 173:6,9
   161:25 162:10        164:3            lieu 6:8           listed 15:1
   163:13 164:11      legitimate 49:2    life 197:12           59:17
   165:2 193:8          61:17 62:2       lifespan 13:13     listing 36:3
 lawsuits 39:13         73:22 86:13,14   lifetime 158:24    lists 71:1
   39:20                88:3 95:7        lifetimes 129:4       163:15
 lcb 1:8                114:8 118:16     likelihood         lit 147:22
 lead 19:3 33:21        119:24 153:19       93:20           literature 10:4
   62:4 78:10           191:19           likely 30:25          25:8 31:23
   138:9 140:3        legitimately          91:16 94:10        33:5 34:4 44:8
   152:20,24            45:12 62:11         95:1,1 135:4       47:9 79:17
   189:11               78:2 117:5          138:13 139:3       95:25 96:14
 leaders 168:19         124:10 130:5        139:17 140:19      100:3 115:1
   187:17 188:13        145:16 168:23       152:24 154:19
                         www.CapitalReportingCompany.com
                                  202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 89 of 122
                              James M. Cantor                    May 2, 2024
[litigation - makes]                                                Page 34

 litigation 8:23         96:6 107:6              m          majority 14:8
    9:4 38:3 173:3       111:24 124:4     m 1:17,20 2:7      21:12 47:8,9
 little 13:22            142:5 158:18      4:3 6:15,17       72:2 99:22
    14:6,6 16:4          158:18 197:17     211:2,3,15        101:17 102:4
    23:14 26:4           202:17,19         212:5             131:13,14
    78:7 91:19         looked 72:8        m.d. 19:15,18      133:14 135:17
    156:11 202:20        106:13,14,15     m.d.s 19:17        154:5,8
 littman 4:20            106:19           made 19:12        make 19:8
    65:20 66:1         looking 26:8        60:18 62:24       25:10 30:23
    67:21 68:13          66:24 68:7        63:1 65:7,23      37:21 38:1,8
    69:17,19,24          70:2 89:8         73:18 85:9        44:11 67:12,15
    70:6 133:10          105:20 108:16     87:22 97:22       76:2 78:17,19
    141:14 142:9         110:7 111:9       98:2 102:21       78:19 84:12
    142:14 143:2         117:8 122:19      113:16 121:16     94:11 102:12
    143:13,25            133:7 144:23      122:6 129:25      108:9 114:18
    144:13 145:6         156:18 157:18     154:8 165:14      115:2 119:16
    145:22               163:2,10          170:9,10 176:8    120:1 132:4
 littman's 66:1          177:23 183:13     176:16 180:20     139:14 140:13
    66:20 68:3           192:12 197:10     187:18 192:1      142:1 143:10
    141:24               202:19,24         194:17,19         143:19 144:3,3
 lives 13:18             203:4,4,23        196:12 204:25     145:25 150:5
 load 127:14           looks 86:2,3        205:2,9 209:7     169:24 187:21
 loading 97:7            125:6 183:14     magazine 54:9      188:6,23
 located 1:18          loophole           mail 5:3 9:9,19    189:19 190:24
 logical 144:9           206:11            176:4 178:7,9     193:23 194:4
    175:1 187:7        loses 146:24        178:15 179:10     197:12 199:22
    191:23             loss 91:20,21      mails 9:5,8        200:14 202:3
 long 10:23 35:2         92:18 93:3        175:13,19         202:21 204:19
    48:24 95:20        lost 189:22         176:22 178:22     204:22 206:24
    110:4 120:12       lot 13:12           179:2,19 180:7    209:18
    120:19,21,24       low 164:16         main 11:11        makers 37:8
    147:6 197:14       lower 98:4,18      maintain 87:7      38:8 60:11
 longer 116:12           114:21 123:8     maintaining       makes 26:19,20
    141:2 197:17         123:16 124:6      31:4              27:1,2,2 43:24
    206:2,2              131:18 191:12    major 48:9         81:23 92:10
 look 33:13 34:7       lunch 104:7,13      187:16,25         94:9 101:24
    34:25 36:8,17        105:8                               114:24 119:5
    54:19,19 59:9                                            128:13 158:10
                          www.CapitalReportingCompany.com
                                   202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 90 of 122
                              James M. Cantor                    May 2, 2024
[makes - medical]                                                   Page 35

  200:9             marked 25:21       matter 6:21         127:20,21
 making 17:4         52:2 55:15         21:15 48:4        measures
  18:11 29:3         70:21 74:7         49:7,12 53:24      143:3
  37:21 38:12,22     85:16 105:9        60:13 62:2        mechanism
  63:23 68:9         108:19 110:13      72:19 81:4         206:12
  88:24 89:2         115:3 122:25       141:9 188:20      media 51:10
  90:5,6 95:15       134:10 143:21      211:6              70:9 136:7,9
  112:22 113:18      147:7 156:2       matters 41:15       136:10 145:4
  114:1,11 120:2     160:22 162:24      44:1               160:17 206:3
  120:9 148:10       166:4 167:24      mcgregor 4:18      medical 19:19
  148:13 149:6       177:16 183:5,9     122:23 123:10      19:20,23 20:3
  153:9 154:19       189:2              123:14 132:15      22:23 35:16
  164:3 173:19      marker 60:7        mcmaster            43:25 44:17
 male 131:13,18     market 2:18         54:24 55:6         45:18 46:9,23
 males 30:19         173:25            mean 28:17          47:3 49:9,14
 manage 163:18      marking 55:13       45:16,25 75:8      51:9 59:7
  187:20             70:19 74:5         80:22 83:23        61:17,22,24
 managed 29:6        85:18 90:12        94:17 96:18        62:1,1 64:1,11
  161:22 188:14      108:21 110:15      100:21 124:16      64:14 65:9
 manages             115:5 123:2        146:5 168:13       76:22 79:4,5,8
  163:17             134:12 143:23      190:17 191:8       82:10 83:15
 managing            147:9 156:6       meaning 165:5       98:12,14,15
  132:4 188:17       160:18 166:6      meaningful          109:4,12
 manner 6:14         168:2 177:18       40:20 64:17        111:21 112:5
  116:10 211:7       188:25             80:11 126:7        112:12 113:2
 manual 32:18       marshall 1:11       167:21 168:20      116:22 117:1
  78:15              212:4             meanings 40:4       117:10 120:17
 manuals 13:24      maryland            159:25             132:12,13
  61:24              211:1,2           means 18:14         151:19,21,24
 manuscript         match 67:3          23:13 61:19,20     151:24 152:7,8
  77:12 166:10      matched 69:23       84:5 146:5         152:14,19,20
  181:13            matches 85:24       187:19 194:18      152:23 153:1
 manuscripts        material 45:12      195:19 211:6       155:11,25
  30:4               45:13 85:11       meant 76:11         158:7,9 161:2
 march 73:10         86:15 168:5,14     91:1 171:17        161:15,22
 mark 25:16         materials 10:1      172:2 186:3        164:6 165:15
  51:25 105:11       10:5 11:5,8,13    measure             171:14 173:2
  163:3 183:7                           110:23 117:1       177:3 188:5
                       www.CapitalReportingCompany.com
                                202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 91 of 122
                              James M. Cantor                    May 2, 2024
[medical - missing]                                                 Page 36

  189:14 192:20       membership         merits 118:17     minded 66:19
  193:12 194:10        184:6              146:6            mine 137:14
  195:3 200:24        memory 9:6         messages 180:3    minimal
  201:14,24           mental 17:5        met 121:7          101:15 177:3
  205:22 206:15        20:20 22:25       method 41:3       minor 184:2
 medicalized           23:2,4,9 32:16     67:18,20,23      minority 32:24
  36:4 41:4,11         47:11,13 70:10     98:23 123:12      34:7,17,20
  91:8 93:21           79:10,11 88:22     123:19 124:8      64:8 79:15
  94:1,3 109:15        89:18 97:16        127:11,14        minors 36:12
  155:1,5              109:16,25          157:11            46:9,21 47:2
 medically             110:4,17,24       methodologies      54:15 72:7
  35:17                111:12 118:25      24:6,17           76:22 93:19
 medication            119:14,15,19      methodology        97:15 126:2
  114:5 149:9          119:22 120:10      26:18 28:16       151:21 161:15
 medications           120:11 122:10      29:12 88:20       192:20 193:12
  20:13,15 29:1        125:17,19,21       143:9             194:11 199:4,5
  111:13 201:6         126:3,9,12,12     methods 25:6       199:8,9,13,14
  201:20               126:16,20,25       29:19 67:3,4      200:7,19 201:9
 medicine 19:22        127:9 128:8        69:16 88:3        201:24 206:24
  42:6 48:25           129:3 130:6,6      89:5 119:7       minter 2:16
  49:2 59:1            152:1 154:6       michael 7:1        208:10
  76:14,18,21          155:16 165:22      70:17            minute 50:22
  77:1 165:16          191:13            middle 1:2         207:10
 meet 10:20,23        mention 48:12       71:25 197:9,11   minutes 50:21
  35:10                56:24 57:7        migraine 63:16     104:18,25
 meets 166:12          88:21 96:22       migraines 63:3     156:14
 member 75:14          159:9              63:14            misapplied
  77:3 146:11         mentioned          mimic 81:22        62:11
  166:9 167:10         18:22 36:19        82:1 124:9,24    misdiagnosed
  168:25 169:2         89:23 98:9         199:22            40:17 62:8
  177:2,9             mentioning         mimicked          misidentified
 members 23:7          53:7               124:2             40:17 41:13
  58:12 170:13        mentions 99:13     mimicking         misleading
  170:16 173:5         129:14,22          126:5             193:18
  173:12 179:16       merely 32:25       mind 37:13        misnamed 16:1
  180:1 185:11         98:21              142:17 149:24    missing 185:3,7
  188:19              meriting            186:10            204:2,17
                       134:23
                         www.CapitalReportingCompany.com
                                  202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 92 of 122
                              James M. Cantor                    May 2, 2024
[mistake - new]                                                     Page 37

 mistake 100:22     morbid 89:18       narrow 39:14         120:21 121:25
  139:10            morbidities          39:21              126:2 132:7,14
 mistakenly          97:14             national 2:17        154:8 156:11
  41:6              morning 6:19         76:6 111:14,18     161:11,13
 mix 59:19          motivates 27:4       161:23 193:2       164:6,18
 model 121:22       motivation           195:23             172:15 187:18
 modern 42:7         62:3 140:6,8      nationalized         188:12,12
 moment 13:16        176:6               163:18 192:25      194:8 201:11
  25:20 52:18       motivations          200:21           needed 168:8
  75:6 103:17        140:2 141:5,11    nationwide           209:18
  115:16 156:17     mouth 68:16          110:19           needing 83:5
  192:8             move 143:7,8       natural 112:25     needs 115:7
 money 75:21         168:2 188:25      nature 12:19         132:7 145:18
 monitoring         movement             14:14,21 19:12     193:24
  22:20,22,24        75:10 76:1          22:16 26:17,22   negative 98:5
  23:2,5,9,14,19    moving 41:14         28:11 35:23        114:3
 montag 2:4 4:5      43:14 79:21         131:4 136:16     neither 95:5
  6:18,20 25:22      143:6               139:19 201:10      112:20,20
  51:5 52:3         multi 79:14,14     nb 203:1,12          148:6 183:3
  55:16 70:22       multiple 59:18     nclrights.org        187:21
  74:8 85:17         75:3 81:21          2:20             networks 66:18
  105:10 108:20      97:17             ne 2:7             neurological
  110:14 115:4      mutual 71:13       necessarily          94:19
  123:1 134:11             n             42:19 43:17      neuroscience
  143:22 147:8                           45:24 46:1         27:7 28:22
                    n 2:1 4:1 6:17
  156:3 160:7,23                         63:6 119:14        29:10
                     6:17
  163:1 164:21                           198:23           neutral 32:22
                    name 6:19,25
  166:5 168:1                          necessary            46:4
                     13:23 53:9
  177:17 183:6                           112:21 159:22    never 17:22
                     59:17 176:24
  189:3 207:16                           209:7              20:16 53:23
                     209:11
  208:5                                need 8:13            54:6 91:9
                    named 211:3
 months 16:11                            11:10 12:10,23     99:21 107:17
                    names 13:24
  16:12 151:4                            26:3 37:19         145:20 148:11
                     14:2 27:22
 mood 96:20                              47:22 63:6         148:13 149:6
                     59:19 170:19
 moral 47:17                             79:18 90:10,11     153:10 154:11
                    narrative
  48:1,17,22                             95:8,20 98:7       169:22 175:3
                     117:20
 morandini                               104:25 111:3     new 65:23 71:2
  4:15 108:13,21                         113:18 118:21      71:2 95:24
                       www.CapitalReportingCompany.com
                                202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 93 of 122
                              James M. Cantor                    May 2, 2024
[new - offering]                                                    Page 38

   105:4 110:9        26:8 40:13         66:21 81:18        113:7 122:5
   113:7 141:18       47:15 53:21,22     82:13 84:3         135:21 137:10
   167:11             88:17 94:18        113:13 162:19      174:23 175:3
 newly 113:9          116:21,25          168:12 172:20    observer 46:4
   136:6              144:10 204:4       174:3 181:5      observes
 news 51:19         numbers 12:21        185:19 186:1,7     126:15
 nhs 192:4,14         26:7,7 92:12       187:2,13         observing
   196:18 206:1       115:8 163:9        188:10 190:6       64:19 95:2
 non 34:18            202:11 205:10      193:9,15           103:14 122:8,9
   38:23 61:24      nurture 26:22        194:13,23          136:17 139:21
   62:1 66:17       nw 2:13              198:1,8,15,21      139:24 140:1,9
   67:8,10,16               o            201:2 203:17     obtain 63:7
   74:14 119:23                          204:14 205:23      206:14
                    o 6:17
   135:2 152:8                           206:17           obvious 101:14
                    oath 6:8,9 7:7
   180:20,21,22                        objections           180:13 182:21
                      7:10 164:13
   183:18 185:22                         47:17            occasional
                    object 33:8
   186:4 187:24                        objective 17:1       12:23
                      39:17 68:20
 northern 1:3                            62:18,21,24      occur 151:23
                      73:3 77:15
 notarial 211:12                         63:10,22 66:16     199:16
                      78:6 83:17
 notary 1:20                             83:10 84:9       occurred 11:18
                      87:24 96:25
   6:11,13 211:2                         100:14 112:4,8     52:14 90:2
                      99:18 103:21
   211:15                                131:9,12         occurring
                      112:18 114:15
 note 4:12 71:3                          151:12             40:13 53:23
                      118:14 129:5
   74:10 105:23                        obligates 7:11       114:19
                      131:3 136:14
   165:19 212:10                       obliged 184:12     occurs 149:1
                      139:5 141:3
 noted 89:19                           observable           207:4
                      142:15 144:16
   128:14                                62:22            october 211:16
                      147:18 148:15
 notes 93:6 96:4                       observation        odd 152:3
                      150:22 153:3
   96:13 211:6                           101:20 119:20    oddly 184:14
                      162:2 170:5
 notice 1:16                             120:3            odds 95:12
                      179:4,22 180:9
   198:10                              observational      offer 41:25
                      186:14 192:22
 noticing 132:18                         84:2 110:21        49:6 159:17
                    objection 6:13
 noting 159:17                           115:11             195:7
                      17:24 23:11
   185:2                               observations       offerable 49:3
                      39:24 42:3
 nuanced                                 23:6 120:4       offered 180:7
                      44:3 48:5
   163:21                              observe 151:10     offering 130:2
                      49:10,15 51:12
 number 12:19                          observed 67:1        130:11 160:14
                      56:13 65:3,11
   15:12,14 26:8                         67:14 102:23       161:8,8 191:9
                       www.CapitalReportingCompany.com
                                202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 94 of 122
                              James M. Cantor                    May 2, 2024
[offhand - order]                                                   Page 39

 offhand 43:12        104:15,24        ones 23:23         operator
   68:15 143:8,17     105:1,6,16,23      24:12 36:18        178:14
   144:14 205:8       106:17 108:5       85:5 94:20,25    opining 48:3
 office 9:11,14       108:11,21          95:1 136:22      opinion 37:3
   9:16,18 178:4      110:23 111:9       152:18 167:21      49:18 133:18
   208:17             115:17,24          191:17             134:1,5 161:7
 offices 180:15       122:22 123:14    ongoing 16:17        176:10 184:3
 official 1:11        125:12 130:17      119:18             187:9 206:22
   13:23 19:8         133:6 134:3,21   onset 65:17        opinions 42:1
   30:12 31:24        142:4 144:14       66:4 70:13         44:14 46:5
   55:4 178:3         144:19,23,23       71:23,24 74:10     49:6,20 160:16
 oh 9:5,12 51:23      146:18 147:2,9     77:22 78:4,11      180:7
   58:24 66:13        154:20 156:17      79:5 99:23       opportunism
   69:12 71:11        156:18 157:2       101:17,18          171:2
   92:25 106:5        163:5,10 165:7     103:19,25        opportunities
   108:15 111:2       165:18 166:6       104:2,2 130:21     35:14
   115:24 121:11      177:18,23          130:22 131:1,2   oppose 46:8
   134:2 156:25       182:8 183:8,15     131:14,15,25       207:18
   162:13 171:8       184:24 186:11      132:22,23        opposed 21:16
   189:22 203:7       186:24 189:21      135:11,11,12       36:1
 okay 8:1,7,16        189:23 192:3       136:16,21,22     opposes 46:21
   9:3,10 10:11       196:13 197:7,9     137:3 138:17       47:1
   10:25 11:16        197:10 207:8       138:18,18,19     opposite 62:19
   16:7,18 21:15    old 13:9 36:20       139:9,9,15,16      90:12 103:22
   22:3,19 23:18      54:10 148:9        139:21,24        option 157:23
   26:6 43:14       older 23:22          140:16,16,23     options 16:22
   50:20 51:1,3,7     136:18             140:25 141:1       21:13 99:7,8
   51:23 52:16      once 12:24           149:21 150:1       159:12,14
   54:8 55:6,13       32:2 49:11       ontario 1:19         206:16
   56:1,6 60:10       82:5 115:17        36:7             orange 4:9
   60:11 66:6,9       119:2 126:17     onus 132:2           51:11,14,19
   66:15 69:4         147:3            oop 144:14           52:4
   70:5,16,19       oncologist         open 75:7,9        order 11:14
   73:12 81:12        188:7              76:1,12 105:24     13:5 19:8 22:9
   84:17 89:7,16    one's 48:14          106:1 189:14       27:4 30:2,14
   91:4,7 93:11       91:9 119:19        189:17             30:14 31:11
   97:10 99:25        166:12 167:10    opening 177:24       32:22 33:12,12
   101:7 104:5,11                                           35:25 36:20,21
                       www.CapitalReportingCompany.com
                                202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 95 of 122
                              James M. Cantor                    May 2, 2024
[order - papers]                                                    Page 40

   47:24 50:12      outcomes             89:5 91:10        160:20 163:8
   55:10,11 58:7      49:25 60:3,12      96:4,13 111:17    165:19 166:25
   63:7,8 68:11       60:13,15 92:15     112:3 115:16      167:9 170:24
   81:3,6 82:2,6      94:1,2 98:16       130:13 131:6      182:9,14
   83:6 87:7          110:4 111:12       164:1 166:15      183:13,24
   93:21 102:10       120:23 165:22      167:6 173:16      189:6,21,22
   102:12 107:10      197:18             178:10 185:9      191:2 192:10
   114:16 117:21    outlined 29:16     owners 204:5        197:7 203:23
   119:7 125:4        32:6 58:19               p           209:19 210:5
   126:13 168:6       62:5 71:22                          pages 52:24
                                       p 2:1,1
   171:10,24        outside 79:24                          53:2 108:6,16
                                       p.m. 208:23
   172:13,14          85:2                                 172:24 175:7
                                       package
   175:11 187:20    outsourcing                            202:17
                                         189:24 191:24
   197:3 199:15       58:13                               paid 19:16,17
                                       page 8:2 26:7,7
   204:19 206:24    ovaries 93:14                          57:24 75:23
                                         26:9,10 28:15
 organization         95:11                               pain 63:13,13
                                         35:5 41:14
   34:15,24 94:24   overall 117:22                         96:20,22
                                         49:5 51:7 53:4
   173:13,15          179:8 202:1                         paper 19:8
                                         54:22 55:18
   184:7            overestimated                          33:14 34:8
                                         59:23 60:23
 organizations        145:21                               58:4 67:3 68:3
                                         64:5 65:14
   34:16,17         overgeneralize                         68:14 69:18
                                         66:7,11 69:2
 orientation          45:10                                70:12 72:16,20
                                         70:3 81:7
   30:9 133:20      overlap 28:4                           73:19,20 75:7
                                         84:14 89:10,13
   134:7 139:22     overlapping                            77:10,13,16
                                         91:5,18 93:11
   140:11 141:9       11:4                                 97:9 107:7,8
                                         96:17 97:5
 original 58:6      overstepped                            107:16 111:6
                                         99:10 101:7
   58:18 71:20,22     102:20                               111:24 114:20
                                         105:20 110:7,8
   86:12 93:6       overtreatment                          124:25 135:8
                                         111:2,10
   107:13,25          162:8                                138:17,22
                                         122:20 125:9
   108:3            own 10:3,3                             141:17 144:4,4
                                         127:15,16
 originally           11:19 18:10                          146:8 190:21
                                         129:18,19
   27:23              19:24 21:5                           209:19
                                         133:7,8,17,22
 ought 145:12         23:16 24:2,3                        papers 33:10
                                         133:23 134:22
 outcome 67:22        31:13 37:6                           72:13 73:23
                                         144:20,23
   69:13,20 84:11     46:16 48:14                          81:2 88:1
                                         146:16 154:21
   84:11 95:17        51:21 57:2                           137:12 148:18
                                         156:6,8 157:3
   98:11 145:16       58:11 64:16                          160:11
                                         157:12 160:8
   155:13 211:11      85:14 86:13
                       www.CapitalReportingCompany.com
                                202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 96 of 122
                              James M. Cantor                    May 2, 2024
[paragraph - patients]                                              Page 41

 paragraph          paralegal 6:22        181:22 182:7      75:8 76:21
  26:6,10 28:15     paraphilia            183:1,17          82:24 85:12
  30:6 35:5          140:11               187:25 195:5      86:23 114:20
  41:14 43:15       paraphilias           205:1             135:6 140:21
  49:5 51:7          30:11               participant        142:18,19
  52:16,16 53:8     parcel 181:15         169:6 182:16      145:20 155:13
  53:12,15 54:8     parent 66:2           200:1             161:18 169:20
  54:22 55:2         70:13 74:11         participants       173:13 176:25
  57:7 59:25         148:11,14            1:24 68:14        186:18,24
  60:1,6,23 64:4     149:7 153:11         74:15 88:21       191:21,25
  65:14 66:7,12      153:16 154:12        90:2 110:24       192:2 193:17
  66:15 68:3        parental             participate        194:1,5,18
  69:1 70:1          129:16,24            19:10 33:11       198:23
  74:12 79:21       parentheses           74:16 169:4      particularly
  80:8 84:14         156:22,24            185:11 187:11     93:7,8,8 97:4
  89:8,15 91:5      parents 16:14         188:8 197:6       146:20 147:3
  94:17 95:9,23      67:1 68:18           200:5             147:21
  97:5 99:10,13      71:2,5,10,12        participated      parties 6:9
  100:1 101:7        72:5,9 73:1          14:24 21:7        39:6 211:10,11
  103:6 110:8,8      130:9 195:2          22:4 78:3        partner 184:1
  122:20 125:9       200:8 205:15         174:16           parts 27:7,22
  127:18 129:19     parkinsonism         participating      27:24 29:14
  130:18 133:7       93:12 94:16          6:3 15:15         88:13 190:9
  134:22 135:24      95:13                22:13 23:5,24    party 6:13
  142:5,8 144:25    part 18:11,17         24:3 36:24        38:15 39:3
  146:16 147:13      20:19 21:6,14        90:18 94:8       passed 125:17
  148:5 154:21       21:17,25 22:3        199:16            125:20 163:12
  156:5 160:9,19     28:1 32:19          participation     past 35:20
  162:4 163:11       40:7 57:3,10         23:4,17,24        36:10,22
  165:19 170:24      58:10 76:2           24:1 44:18       patient 19:4
  175:7 176:21       83:2 90:25           196:21 197:23     22:20,24 23:19
  177:24 182:9       101:15 102:3        participations     63:8 95:18
  189:23 192:12      107:15 115:25        197:23            112:14,24
  197:10,11          115:25 133:24       particular 13:1    113:1,20 114:5
  203:23 204:9       136:7 138:1          16:16 24:12       173:23 200:2
 paragraphs          144:9 169:11         25:5,6 34:24     patient's 64:15
  96:23 108:5,12     170:3 178:6          36:18 37:2,23    patients 12:13
  108:14,15,16       180:16 181:15        38:18 73:16       12:16,22 13:8
                         www.CapitalReportingCompany.com
                                  202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 97 of 122
                              James M. Cantor                    May 2, 2024
[patients - personal]                                               Page 42

   13:14,16,20,25     73:21 74:18         126:9,14,19        103:23
   15:6,11 16:19      86:6 87:1 96:9      127:25 128:20    periods 32:13
   17:13 21:22        106:5,9 160:12      128:23 129:8     perjury 7:16
   22:1,14 23:10      160:14 161:5,9      129:12 135:17    permanent
   23:21 25:2       peers 70:11           137:25 138:4       91:20 92:18
   44:21 77:21      penalties 7:15        139:3,17 140:3     93:3
   89:19,22 90:24     195:2,14,22         140:6 145:15     permit 174:5
   91:13 92:13        196:7,16            161:13 162:7,8   permitted
   94:12 101:24     pending 8:14          168:18,22          205:18
   102:4 111:21     penile 102:17         172:14 180:15    persist 64:8
   112:3,10         penis 102:8,11        185:12 188:18    person 6:8
   114:13 117:10      102:16              188:22 193:24      14:11,12 19:14
   118:4,12,25      pennsylvania          197:5 200:14       19:18 20:21,24
   122:5 124:23       2:13                202:14 203:18      21:3,16 27:2,3
   126:8 128:15     people 12:22          203:21,22          30:24 33:21
   150:11 172:1       12:25 15:13,14      204:4,5 205:7      38:18 40:9
   194:3 202:7,8      16:25 18:5,9        205:11,17          45:11,22,25
   202:25 203:2,9     21:10 22:8        people's 26:25       46:2 48:2,22
   203:12,16,24       26:16 29:9          50:16              53:11 57:5
   204:12,21          31:13,13 33:25    perceived 34:2       61:18,19 62:3
 pattern 23:25        35:14 37:20,25      34:3 66:3          62:4 78:9 87:3
   117:22 120:8       40:13,22,22         122:1              87:6 119:21
   121:12 131:5       41:5,6,10,12      percent 202:25       126:6 141:6
   134:25 141:9       42:13,17,18,20      203:8              152:10,11
   179:9              42:21,22 43:16    percentage           171:13,21
 patterns 27:1        44:15,18 46:14      12:3               172:11 173:13
   70:5 123:18        47:10,13,15       perception           173:16 183:21
   139:23 141:7       55:1,11 58:15       45:20 187:22       184:12,17
 pay 75:11,16         60:13,21 61:3     perfectly 62:22      185:17,24
   118:21,21          62:7 64:13          68:1 69:24         186:12,19,20
   208:20             68:22 72:23         96:5 114:7         186:24 199:22
 paying 75:19         77:24 78:1        perform 125:2      person's 23:3
 pdf 85:25 86:1       79:17 88:15       performing           46:18 129:10
 pdfs 111:3           94:5 98:11          42:15,18           171:19
 pediatrics           100:19,23           187:10           personal 22:20
   42:11              115:7 116:1       period 21:24         23:8,18 24:5
 peer 30:7 57:14      120:1,9 122:16      99:17 100:3,7      24:16,25 43:22
   57:17,21 72:17     123:20 124:2,5      101:2 103:18       47:18 64:18,25
                        www.CapitalReportingCompany.com
                                 202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 98 of 122
                              James M. Cantor                    May 2, 2024
[personal - population]                                              Page 43

   65:8 72:10       philosophy            plaintiffs 1:6     policies 42:12
   73:1 77:20         42:6 191:3            2:3,15 208:8      45:19 47:24
   179:21             198:23              plan 104:24         48:18,19 50:2
 personally         phone 177:25            105:7 190:1       56:18,18 74:14
   102:23 178:23    phonetic 59:16        planning 14:25      184:12 195:6
   179:3 211:3      phrase 53:9             21:14 151:6      policy 25:8
 personnel            127:10              play 107:1          29:3 37:3,11
   61:25            phrased 197:5           146:12            37:23,24 38:19
 persons 110:18     phrasing              please 6:14 8:3     38:24 39:8,12
   111:14 135:3       157:15 159:12         8:5,10,12 26:4    39:12 46:3
 pertain 109:11     physical 20:23          39:19 92:22       48:8,8,16 49:4
 pertained            63:11,16 84:10        183:14 208:1,1    49:7,19,22
   109:11             98:5,19 190:3       plugged 164:17      50:1,1,3,6,18
 pertaining 13:6      190:4,16 191:5      plus 166:9,12       56:20 58:11
   71:23              191:5,7,16            167:10            60:19 72:15,22
 pertains 13:13     physically 6:5        point 50:21         73:8 132:2
   17:19 24:13,19     20:24 140:4           83:8,10 98:25     154:8 170:12
   31:10 41:16      physician               100:11 104:6      194:1,19,20
   135:23 152:1       47:17                 128:9 137:10      195:5,9,19,24
 pertinent 40:11    physicians 83:3         137:16 150:10     200:23 201:13
   178:8              83:4                  160:1 164:4       206:8 207:3
 ph.d 1:17 4:3      physiological           170:8,19 174:1   policymakers
   6:15 19:24         22:23 63:7            180:13,17,24      24:23 35:10
   181:23 211:3       114:4 136:2           181:1,1 185:7     37:10,24
 phase 9:15,19        155:18,21             192:19 193:11    political 34:2
   18:17 21:19      picked 88:10            194:8,10          46:15,18 48:1
 phenomena            158:2 195:20          199:19            173:3 175:12
   31:7 33:19,21    piece 19:7,8          pointed 82:22       175:12
   33:24 61:4         81:1 95:14            98:10 173:18     polls 28:21
   71:19              139:19 209:19       pointing 88:4       66:17
 phenomenon         pile 142:24             130:4 146:21     pool 31:6
   28:12 31:4       place 3:4 40:25         153:4 164:5      poor 119:15
   32:7 70:8 79:9     64:9 81:6 98:3        185:9             166:1 202:12
   100:13 138:9       156:13 187:7        points 185:22      poorest 126:19
   139:20             207:9 211:3           191:23           population
 philia 141:8       plaintiff 1:9         polarization        100:17 101:6
 philosophical      plaintiff's             121:15            116:5,14,15
   18:15 27:13,14     43:11 61:11                             139:16
                          www.CapitalReportingCompany.com
                                   202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 99 of 122
                              James M. Cantor                    May 2, 2024
[populations - pressing]                                            Page 44

 populations        possible 10:10     practice 11:25     prepubertal
  35:9,21 36:16      37:11 46:8,12       12:4,7,14          14:4 15:18
  39:16,23 41:12     47:21 70:14         18:21 20:6         100:8 101:3
  140:15,22          74:11 78:13         31:14 41:18        102:17
 portion 117:18      80:23 81:25         47:23 50:14      prepubescent
  122:5 181:24       90:11 95:17         151:19 182:23      14:8 71:23
  182:3              103:1 111:1         187:11 188:2,9     131:11 136:18
 portions 31:12      117:14 119:10     practitioner         146:22 148:10
  168:7              119:11 123:22       44:2,6             148:12 149:2,4
 posed 176:13        124:19 125:1      pre 149:17           149:10,14,23
 poses 154:25        130:9 131:23      preceding            149:24 150:2
  155:24             132:1,2 142:23      137:17 156:5       150:18 151:2
 position 43:24      155:20 169:18     precise 9:24         151:13,16
  83:5 136:11        176:3 190:13        11:20 143:17       154:16,17
  139:15 142:12      194:4 195:18      precocious         prescribe
  149:4 153:24      posted 159:23        83:25 84:6,6       20:13,14 21:8
  184:7 188:7       posting 169:17       153:9,12           21:25 22:5,14
  207:17,19         potent 172:6       predict 12:9         184:20
 positions 72:6      172:16              31:5 49:25       prescribed
  143:5             potential 17:1     prediction 95:7      20:16 111:13
 possess 45:14       17:2,8 19:4       predictions          113:21 147:25
 possessed           30:1,1 50:1         95:16 115:2        150:7 199:19
  173:15             92:15 93:22       predominant        prescribing
 possessing          95:21 98:7,21       137:12             199:4,8 200:7
  45:15              102:5 114:6       predominantly      prescriptions
 possibilities       117:3 120:5,15      70:8 116:6,14      20:18
  19:2 64:17         130:2,11,13         116:15           presence 63:12
  67:13 82:3,7       132:5,5 157:3     preferred            97:25 211:9
  90:9 91:16         157:20 158:18       157:10,11        present 3:7 6:5
  117:25 119:4,8     158:23 191:22     pregnant 114:6       40:12 185:3
  119:9 132:8,10     195:8             preliminary        presentation
  132:15 199:23     potentially          9:14,22 11:17      64:15 65:23
 possibility         72:23 141:6       preparation        presented
  103:3 118:16       154:24 155:6        10:22 127:23       92:11 159:20
  132:25 142:2       155:10            prepare 10:12      presenting
  146:7 147:16      power 188:23         11:1               121:12 136:6
  148:22 189:14     powers 50:7        prepared 20:22     pressing 194:7
  189:17                                 56:2,6
                       www.CapitalReportingCompany.com
                                202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 100 of 122
                              James M. Cantor                    May 2, 2024
[pressure - proportion]                                              Page 45

 pressure 30:17     prime 121:22          proceedings          182:4
   30:19 31:3       principle 48:22         11:7 56:15       professionals
   60:5 173:3         48:23 191:10          59:14 107:18       20:20
 pressured            191:11 200:9        proceeds 83:9      professions
   175:9            principles 11:5       process 31:3         21:2 45:18
 pressures            47:22 48:21,25        50:11,12 57:20     205:16
   173:11           print 144:6             73:21 74:23      professor 20:4
 pressuring         printed 26:8            76:10 78:8         181:13
   177:2              74:4 211:6            126:23 127:19    profile 98:18
 presuming          prior 129:10            144:2 151:11     profiles 98:7
   67:11            prioritize              172:22 173:1,7   profiling 53:11
 pretty 87:18         161:11              processes          profound
   93:18 100:21     private 2:15            16:25 49:1         88:19
   104:6,22 147:4     11:25 12:4,7          76:24,25         program
   153:6 176:19       12:13 205:22          168:15             181:23 184:22
   179:9 181:22       206:4,7,15          produce 30:25        199:17
 prevent 7:19         208:8                 50:12 54:6       programs 30:3
   7:23 75:11       probability             92:5 146:25        182:2 191:19
   88:17 90:21,25     64:10 109:14          164:8              201:19
   91:1 153:16      probably 16:5         produced           prohibits 109:8
   171:24             104:20 186:8          100:10 144:10    project 181:17
 previously           207:9                 170:22             181:19 188:13
   48:14 65:25      problem 89:3          producers          projects 30:3
   72:19 135:14       138:2                 171:11 197:2       181:8,15 182:4
   150:6            problems              produces 150:3     prominent
 primarily 10:4       123:9,16            producing            107:5
   16:20 21:23      procedure               73:24            promoted
   22:6,7 47:14       102:18 127:3        product 180:18       184:12
 primary 14:16        128:3                 180:18           pronounce
   15:1,13,25       procedures            production           53:10
   16:7 31:8          29:11 45:21           176:11,15        proof 99:5
   34:15 35:24        92:14 125:23        productive         proper 24:20
   36:6,9 40:11       164:1 165:16          171:10             40:6 41:3
   82:16 97:23        172:9 183:2         profession         properly 45:1
   127:21 131:12      204:19                32:17              93:22 124:24
   166:23 167:3     proceeding            professional         171:22
   167:20 184:18      45:7                  43:21 48:9       proportion
                                            87:7 163:24        90:23 131:18
                          www.CapitalReportingCompany.com
                                   202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 101 of 122
                              James M. Cantor                    May 2, 2024
[proposal - public]                                                 Page 46

 proposal 38:25         173:10 188:18    psychiatric         84:6,7 91:22
 proposals              194:25 199:5,9     32:17 46:24       91:25 92:17
   29:24,25 37:5        199:14 200:8       47:4 61:24        93:2,14 94:5
   181:15             provided 14:4        115:7 116:21      94:14 96:19
 proposition            14:19 15:19        116:25            97:11,18 99:24
   92:16 93:1           38:7 44:15       psychiatrist        101:10 102:15
 protect 193:24         46:6 65:1          20:1,2 46:20      102:16 103:10
 protected              74:16,19 75:13     47:1,12 152:5     123:5,8,15
   40:21 41:5           78:22 90:4         152:7             125:14 127:8
 protecting 41:8        98:11 174:4      psychiatry          128:8,17,21,22
   41:11,12             175:6 177:5,15     20:3,4 27:8       130:25 131:24
 protection 41:4        179:24 180:12    psychological       147:24 148:22
 protections            184:3 186:16       18:7 97:19        148:23 149:9
   39:14,21             187:16             99:1 134:8        149:13,16,18
   171:24 172:13      provider 15:13       155:17 190:3      149:18 150:6
 protective             16:3 47:13       psychologist        150:12,15,17
   168:5                65:9 171:21        18:6 47:12        150:19 151:6
 protocol               173:24,24          152:4,9           151:14,18,21
   101:11,13,16       providers          psychologists       151:24 153:9,9
   101:21,25            90:20 171:3        19:16 20:14       153:12,15,17
   102:1,25 103:7       172:1 173:18       61:25             153:25 154:10
   103:12 192:6,9     provides 33:14     psychology          172:7 190:5,10
   192:15 199:3,7       124:21 158:10      18:21 19:25       191:18 192:5
   199:12,13,24       providing 18:9       27:9 64:3         192:14 198:6
   200:6 201:5          43:16 65:5,10    psychotherap...     201:5,19,20
 protocols 126:1        65:12 91:13        16:25 191:17     pubescent
   190:11               151:20 171:24    psychotherapy       151:3
 provide 8:25           172:13 182:21      12:19 88:22      pubic 151:8
   16:19 17:7         province 36:1        97:14 98:4,12    public 1:20
   18:2,6,18          provision            98:17,18 155:1    35:7,19 37:7
   28:11 42:20          163:13             155:5,10,20,24    49:7,18 50:5
   52:10 53:19,20     provisions           156:1 157:10      75:12,14 76:2
   53:21 56:21          173:20             159:5 191:14      76:7,9 79:25
   85:14 89:5         prozac 113:21      pubertal            122:7 163:20
   91:14,15             113:23             102:11            169:13 193:2
   121:25 126:7       pseudonym          puberty 20:16       193:21 211:2
   169:11,13            70:24              21:8,25 22:21     211:15
   170:3,24                                23:10 83:24,25
                         www.CapitalReportingCompany.com
                                  202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 102 of 122
                              James M. Cantor                    May 2, 2024
[publication - quite]                                               Page 47

 publication        publishing          puzzle 31:1        128:6 129:21
  51:20 57:14        30:5 72:12,16       32:8              140:21 143:12
  74:25 75:5,6       72:20 73:6                 q          158:15 162:14
  77:13 78:14,24     169:16 181:7                          164:24 176:13
                                        quad 34:11
  86:22 96:10       pull 51:6 54:20                        182:15 184:1,5
                                        qualification
  107:18,21          160:21                                184:6,10,16,17
                                         45:3
  134:15 156:5,7    pulled 170:22                          184:19,20
                                        qualifications
  158:1 160:19       183:15                                186:20 190:18
                                         44:25,25 85:1
  161:5 166:12      pulling 25:18                          194:9,9,15
                                         204:22
 publications       pun 87:21                              195:16,17
                                        qualified 36:5
  159:19            purely 61:9,14                         196:5,13
                                         42:21 43:25
 publicly 35:25     purpose 18:16                          197:22
                                         44:21 45:12,23
  36:10 72:6         23:1 38:10                           questionable
                                         124:3
  184:3              39:5 40:6 49:1                        88:19
                                        qualifier 44:24
 publish 74:19       53:18 54:7                           questioned
                                        qualifies 21:16
  77:10 87:3,5       58:6,13,16                            182:22
                                         181:9
 published           78:18 81:20                          questioning
                                        quality 29:19
  57:13 73:9,19      90:20 103:23                          156:10
                                         42:24 57:4
  73:24 74:18        145:13 176:12                        questions 7:11
                                         107:10 121:17
  76:4 78:16         183:23 195:25                         8:4,14 19:1
                                         166:1
  79:1 85:12        purposefully                           40:11 67:6,9
                                        question 8:5,9
  86:9,16 87:20      30:14                                 67:25 80:23
                                         17:20,25 18:4
  100:5,9 105:24    purposes 19:6                          81:1 116:2
                                         18:15,19 27:14
  107:2,25 109:7     19:7 60:20                            117:17 143:4
                                         30:15 31:8
  131:8 135:16      pursuant 1:16                          183:20 184:15
                                         32:6 40:3,4
  144:7,13 146:8    pursuing 71:7                          184:24,25
                                         41:20,21 42:22
  146:13 161:1       72:18 93:20                           185:2,3,4,7,8
                                         45:1 48:8
  165:20 167:12      181:19,19                             185:16,23
                                         49:17 60:2,10
  169:15 170:1      pursuit 25:10                          186:3,11,17
                                         60:18,19 62:8
  189:7             put 38:11 57:5                         187:5 199:10
                                         63:9 66:24
 publisher           103:10 115:25                         208:7,8,9
                                         67:12,21,23
  73:13 74:12        120:3 127:2,4                        quick 164:19
                                         68:5,10 69:23
  75:21 108:3        161:18 186:22                        quickly 10:8
                                         69:25 79:14
 publishers          187:7                                 104:22 121:1
                                         83:13 92:25
  108:4             puts 185:12                            142:20 143:6,8
                                         99:5 101:1
 publishes          putting 120:9                          205:25 206:5
                                         112:25 115:17
  106:17             141:21 194:21                        quite 27:13
                                         117:18 118:10
                                                           93:17 168:13
                        www.CapitalReportingCompany.com
                                 202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 103 of 122
                              James M. Cantor                    May 2, 2024
[quite - recently]                                                  Page 48

   176:18,18           38:12 39:11,12   reads 60:2 64:7      169:16,17,24
   179:7 188:15        46:2,18 53:20    ready 20:24          170:9 172:21
   188:16 196:24       57:4 90:24         52:19 104:12       179:13 197:4
 quote 170:25          106:6 119:21     real 164:19          198:2,25
   177:6,10            120:10 131:21    reality 187:22       201:25 205:8
 quoted 160:17         134:8 182:20     realize 136:24       205:19 206:18
 quotes 173:10         202:14           realized 43:10       206:20
 quoting 171:8       ratio 97:24        really 8:24        recalling 121:8
         r             131:13             12:9 27:19         142:3 143:20
                     rct 81:16,16,20      35:4 37:17,23    receipt 119:13
 r 2:1
                       82:4,10 83:14      42:8 53:23         212:17
 rachel 174:12
                     rcts 80:13 84:2      104:8 138:25     receive 28:4
   175:9
                     reach 9:10           152:1 179:6        35:15 64:13
 random 66:17
                       156:13             195:4              75:17 76:3,3
   67:8,10,16
                     reaction 114:4     reason 28:2          79:18 124:3
 randomized
                     read 25:19           114:8 167:16       126:13,14
   80:13 81:15
                       35:11 52:18,24     180:21,22,23       127:8 128:8
   201:22
                       53:3 54:9          210:5 212:11       131:24 195:3
 range 13:11
                       75:15 85:6       reasonable           200:24 201:14
   17:13 22:11,12
                       86:24 92:21        95:15 174:21     received 13:20
   26:15 29:20
                       129:20 134:4       176:1              75:22 94:14
   77:23,25 91:16
                       135:6 162:5,5    reasonably           123:5 125:14
   116:11,13,17
                       167:1 178:4        62:16              127:9,19,22
   116:18 131:12
                       186:22 202:22    reassignment         128:8,15 129:3
 ranges 21:21
                       208:13,15          115:8 116:2        130:25 181:20
 rapid 66:3
                       209:3 210:5      recall 21:21,24      182:16
   70:13 74:10
                       212:9              37:2 43:12       receives 75:21
   77:22 78:4,11
                     reader 174:21        54:18 55:3,25    receiving 47:14
   79:5 103:19
                       176:1 180:14       56:19 57:15,18     47:16 89:19
   104:2
                     readily 161:19       58:5 68:15         114:13 116:22
 rare 94:10
                       192:23             73:16 77:17,18     118:12 126:8
 rarely 21:14
                     readiness            85:7 105:17        128:21 130:15
   60:11,16 83:10
                       128:2,22           106:19,25          150:19 173:19
 rate 148:24
                     reading 6:2          109:6,10           180:3,4 182:21
 rates 70:9
                       60:8 133:21        115:15,21,22       199:23
   150:24
                       142:23 143:20      121:10 127:2     recent 94:20
 rather 22:25
                       205:19             127:10 143:8     recently 82:22
   33:1 36:13
                                          143:17 169:15      136:1
                        www.CapitalReportingCompany.com
                                 202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 104 of 122
                              James M. Cantor                    May 2, 2024
[recess - relevant]                                                 Page 49

 recess 51:4          recommends           180:7 183:11       88:11 121:19
   105:8 160:6          100:7 101:2        212:6              141:18
   164:20 207:15        151:20           references         regardless
 recognize            record 6:25          165:2 168:4        47:25 56:22
   36:20 131:5          14:12,14 19:6      196:6,16           171:20 180:25
   132:24 134:14        19:7,12,18,19    referencing          191:4
   136:12 168:4         51:2 105:6         55:19 108:24     register 110:19
   189:6                160:5 164:18     referred 30:10       111:11
 recognized             202:16 205:4       100:2 109:18     registered
   138:20 147:14        207:13 209:5       170:6              115:9
 recognizes 34:6      recorded           referring 16:2     regret 51:8,16
   79:5                 129:11 211:5       53:12,16 54:10   regrets 51:13
 recognizing          records 9:24         61:7 71:15       regularly 101:9
   32:5 100:2           11:20 19:9,13      125:22 129:17      101:12 103:7
 recollection           36:8 111:18        137:13 138:17    regulated
   43:5 88:8            112:5,12 129:9     139:8 140:22       182:22
   106:13 110:25        202:6,14           141:5 191:21     regulating
   111:16,23            203:19,20          196:15             173:22
   112:11 116:24        204:4,6,17,18    refers 66:1        regulations
   123:6 141:16         204:20             70:12 138:15       173:22 201:3
   170:1              recruit 68:13        164:11             201:17
 recommend            recruited 66:18    reflect 15:12,14   relate 27:11
   101:5 164:2        recruitment          180:19 181:2     related 38:23
   184:21 200:18        145:3              203:20             140:10 183:18
   201:8              redacted 171:6     reflected            183:21 184:3,7
 recommenda...          171:16             180:15 204:20      211:11
   155:2,3 156:20     refer 8:17 26:6    reflection         relative 21:4
   156:21 157:1,4       44:23 51:13        130:14 167:7       91:17 116:4
   157:5,21,22          61:4,12 99:19      192:17 204:16    relatively
   158:13,14,20         99:25 138:21     reflects 34:23       28:20 69:15
   158:21 159:2,8     reference 31:22      203:15             106:7 117:22
   202:4                33:4 51:8,21     reflexively          149:22 163:21
 recommenda...          53:13 54:10,24     121:1 141:20       164:3 182:20
   157:14 158:7         95:23 160:19       143:10           release 206:1
   184:10,11            162:21 195:21    refresh 111:15     relevance
   190:8              referenced         regard 109:25        109:12
 recommended            162:17 165:11    regarding          relevant 9:1
   177:3 190:11         165:12 179:19      16:16 59:11        10:4,7 19:23
                         www.CapitalReportingCompany.com
                                  202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 105 of 122
                              James M. Cantor                    May 2, 2024
[relevant - research]                                               Page 50

   19:24 24:14      remote 8:7            130:18 131:6     represented
   38:2,23 40:23    remotely 6:7,9        131:16 132:25      196:3
   41:17,23 42:9    removal 93:13         133:6 141:13     represents 91:8
   45:6,11,13         95:11               142:5 146:15     reproduce
   46:1 57:3,10     remove 177:3          147:13 148:5,6     179:20
   57:10,11 62:9      196:3               154:21 155:15    reproduceable
   72:14 81:3       removed 31:5          157:13 159:7       30:20
   84:23 86:15        32:17 102:8         160:9 165:19     reproduces
   88:14 90:18,19     126:20,21           168:3 175:13       30:18
   92:4 96:3,15     removing 36:2         176:4,17 178:7   reputation
   99:4 107:15,19     102:20 173:22       185:1 189:5,11     107:9
   107:20,23        renee 2:9 6:24        204:23,25        request 56:3
   109:11 112:7     repeat 15:7           206:1            require 69:15
   115:25 118:10      39:19             reported 51:10       97:21 118:18
   145:4 155:13     repeatedly            67:1 70:5          152:21,22
   169:19 185:4,6     61:12 196:25        90:23 93:18        196:19
   185:8            replicated 70:6       111:22 117:11    required 92:5
 reliability 98:1   report 4:8,14         119:1 133:14       102:12 196:4
 reliable 80:11       5:2 11:11,12        166:24 167:4       201:22
   80:12 92:12        16:2 25:17,19       185:13 204:6     requirements
   94:11 98:21        25:24 33:20         204:15             185:10
   115:2 166:2        54:21 56:2,24     reporter 6:3       requires 19:13
 reliably 89:6        57:2,11 60:22       8:3 92:21,23       19:18 21:1
 relied 141:15        61:8,10 62:6        208:13,19          45:2 57:20
 relieve 97:12        62:17,19 63:15    reporting 6:6        90:7 93:23
 reload 111:4         63:23 64:4          6:14 62:14         120:12 164:14
 relying 107:9        71:22 73:25         63:4,20 69:20      182:24 196:11
 remains 99:6,9       75:2 79:20          204:11 205:8     requiring
   149:10             82:15 89:7,17     reports 10:3         119:21
 remark 77:17         90:15 91:1,4        25:13 43:5       reread 52:8
 remarking            94:21 98:10         44:14 66:2         54:3,16 88:9
   191:10             100:10 103:5        70:14 74:11        88:12 114:16
 remember 9:19        105:12,14,19        114:21 141:15      147:20,22
   35:22,23 73:17     107:13 108:10     represent 6:20       162:3 196:23
   85:23 86:4,5       108:24 110:7        33:24 66:10,16   research 20:8,8
 remind 10:17         111:17 115:16       100:12             20:10,11 25:7
 reminding            115:25 118:9      representative       26:18,18 28:9
   161:13             122:18 125:8        145:2              28:16,18,20
                        www.CapitalReportingCompany.com
                                 202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 106 of 122
                              James M. Cantor                    May 2, 2024
[research - reviews]                                                 Page 51

   29:8,12,15,17       researched        restrictions         57:2,13,16,25
   29:18,19,22,24        138:20            38:15 39:3         58:3,6,8,23
   31:1,9,21           researchers         56:11 59:11        59:12 60:21
   43:25 47:9            26:17 110:23      206:6              73:21 75:4
   48:14 59:6            111:20 112:9    restroom 37:15       77:12 95:24,25
   66:24 67:5,5          117:9 118:3       38:5               96:8,9 97:2
   67:11 68:4            169:18          result 61:14         111:21 117:10
   69:16,23 72:13      resemble            92:17 93:2         117:19,20
   74:17 75:20           135:19            136:8 174:2        122:13 147:23
   76:3,5,8,10         resembles           182:16 187:23      148:7 176:11
   79:24 80:13,21        199:20          results 76:9         176:15 178:3
   80:23 81:16         reservations        116:18 124:21      179:10 181:14
   82:6 84:20            49:8,13           166:23 167:3       189:5,13
   92:9,12 95:2,8      resource 50:6       167:11,11          192:19 193:11
   95:14,22 96:4       resources         retained 8:19        194:9 195:1,13
   98:24,24 104:1        118:19            39:2 59:10         195:22 196:7
   106:6 107:19        respect 16:7      retract 77:15        196:14 200:18
   112:1 119:7,18        54:14           retracted 73:15      201:8,21 202:6
   121:3 123:21        respond 7:15        74:2,13,21         204:11,25
   124:20 131:7,8        8:4,6             107:14             205:21 212:7
   132:6 137:13        respondents       retraction 4:12    review's 202:5
   137:15 141:23         133:13            74:10,23         reviewed 10:3
   142:18 145:11       responders        retrospect           10:4,5 30:5,7
   148:18 155:8          63:13             136:23             57:14,17 72:17
   161:11 168:24       response 178:3    retrospective        74:18 86:7
   181:15,17,17          186:20            123:19 124:15      96:10 106:5
   181:23 182:1        responses         return 212:13        160:12,15
   190:10 191:19         74:17             212:16             161:5,9
   192:6,9,15          rest 53:17        reveal 172:25      reviewer 87:2
   196:21 197:1,2        116:5             185:16,23          181:13
   197:3,3,6,6,17      restrict 190:9      186:4,12         reviewers
   197:24 198:5        restricted        reversed             29:21 60:20
   198:13,19,24          44:19 45:23       121:21 122:13    reviewing
   199:1,3,7,11        restricting       review 5:6 10:1      178:1
   199:13,16,18          191:18            47:23 50:11,11   reviews 10:8
   199:24,25           restriction         52:13,21 53:17     55:7 57:19
   200:6 201:4,13        192:18,18         54:6,25 55:1,7     74:1 82:21
   201:18 206:25         206:7             55:18,21 56:25     86:22 166:10
                         www.CapitalReportingCompany.com
                                  202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 107 of 122
                              James M. Cantor                    May 2, 2024
[revised - scientific]                                                 Page 52

 revised 107:24            200:13           rush 175:10          178:5 189:23
 revision 78:18          risky 99:7,8               s            203:1,5,9,12
 right 8:20 9:22           191:12,13                             203:24
                                            s 2:1 34:11
   11:18 28:21           rogd 71:2,5,10                        sb 8:17 109:8
                                            safe 43:23
   52:15 54:1              72:5,9 73:1                           198:5,12
                                              46:10 47:19
   60:1 68:17              78:2,13 100:11                        207:18
                                              69:21 95:19
   70:14 85:25             100:12,19,21                        scale 76:5
                                            safeguard
   89:9 105:5            roger 9:7,15                          scan 63:7
                                              171:1
   118:21 122:23         rogers 3:8 6:22                       scholarly 74:17
                                            safety 28:24
   123:2 129:19          role 22:16 37:5                       science 9:1
                                              68:8 69:14
   141:19 142:10           37:6,25 38:11                         24:9,14,20
                                              80:12 81:14
   143:25 147:11           38:24,24 39:10                        31:14 35:10
                                              201:23
   155:7 180:8             56:20 107:1                           37:5,8,9,10,18
                                            salary 19:16
   182:12 183:22           121:22 146:12                         37:22 38:2,7,9
                                            sametti 53:12
   183:25 192:16         roles 181:12                            38:10,12,21,23
                                              53:15
   193:14 201:1            188:19                                38:24 39:1,7,8
                                            sample 88:16
 rights 2:11,17          room 6:5                                39:9,11 40:6,7
                                              126:20,21,22
   35:8,13,20              104:21 192:7                          42:24 46:6
                                              199:21
   36:16 39:16,23          198:17 201:3                          47:25 49:22,23
                                            samples 114:23
 rigor 143:14              201:17                                50:4 56:21,22
                                            sampling 143:5
 rigorous 121:3          rough 88:8                              57:4,12 58:14
                                            san 2:19
   138:7 141:18          roughly 15:21                           65:6 71:8,9,19
                                            sarah 177:9,12
   142:9,13 143:2          22:17,18 71:6                         80:18 84:22,23
                                              177:25 178:3
 risk 93:12,22             111:17 125:17                         86:11,13 88:3
                                            saying 19:10
   94:16 95:7              141:23 143:3                          91:12 121:17
                                              100:22 102:3
   97:24 98:4,6          route 162:6                             147:5 173:2
                                              103:22 137:11
   98:18 113:7,9         routine 72:20                           180:19,25
                                              154:13 164:5
   114:6 154:25          routinely 43:20                         181:2,7,7
                                              197:4 208:19
   155:3,24              row 156:18                              194:2 195:7
                                              208:22
   191:15 194:3          rule 82:2 90:8                          207:21,22
                                            says 56:5 70:5
 risks 17:1 25:3           95:5,6,6 142:1                      sciences 105:25
                                              74:2 81:13
   64:12 80:12           rules 8:1 10:15                         106:1
                                              89:17 97:10,10
   90:10,11 91:17          50:9                                scientific 30:15
                                              111:11 134:1
   93:22 95:20,21        ruling 126:3                            31:8,23 32:6,8
                                              144:7 156:21
   98:8 113:3            run 8:1 30:21                           33:5 34:1,10
                                              157:5 158:19
   120:7,16 132:5          170:18                                40:11 41:22,25
                                              162:6 172:25
   132:13 158:11         runs 13:11                              43:9 44:8 45:8
                                              175:8 177:24
   195:8 197:14                                                  45:9 46:17
                            www.CapitalReportingCompany.com
                                     202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 108 of 122
                              James M. Cantor                    May 2, 2024
[scientific - several]                                                 Page 53

   49:20 63:9              172:24 175:7     seeing 74:21         167:9 198:2
   75:6 82:20              176:21 182:14      85:23 119:23     separate 18:14
   84:20 85:1,15         seal 211:12          119:24 159:16      100:13 199:10
   86:10,19              second 35:6          166:25 199:1     separately
   106:10 107:5            60:1,9 64:7      seek 82:6 162:9      11:12 109:7
   112:6 143:14            70:2 111:4,8       183:20           sequence 54:4
   180:20,21,22            144:14,20,21     seeking 80:18        93:16
   181:8,8                 144:24 156:18      115:8 125:15     series 19:1 51:8
 scientifically            162:12 166:8,8     125:18             51:13,15 54:2
   141:18 142:9            166:21 183:13    seem 139:1           67:25 81:2
   142:13 143:1            197:10             182:19 199:10      154:14
   166:11                secondary 16:1     seems 105:15       serve 195:25
 scientist 26:11         secretary 175:8    seen 75:17           205:18
   26:12 49:8,12         section 2:5,12     selection          served 29:16
   49:18,19,21             53:6 96:24         193:19 194:18      29:17 205:7
   82:23 132:7             122:22 127:11    selections         service 42:18
 scientists 57:21          127:14 131:15      196:11             42:19 46:6,7
   72:16                   160:13,14,15     self 16:2 40:14      109:19 187:8
 screen 25:18              183:19 185:21      62:14,17,19      services 35:15
   53:25 105:13          see 9:6,8 12:13      63:4,20 141:15     35:16 43:17,18
   126:15 202:20           12:17 34:7,25      173:4              43:23 46:10
 screened                  36:17 37:12      sender 175:18        47:14,16
   125:19                  46:24 47:5         176:3              119:14 173:20
 screening                 52:22 58:18      senior 29:14,14      174:8 182:17
   125:17,21,21            59:24,25 60:8    sense 45:13          182:22 191:14
   126:23,25               74:2,4 77:24       46:13 61:13,13     202:6
   127:9 128:9             96:1 111:5,10      116:15 139:6     set 30:13 49:3
 scroll 25:25              111:21 117:10      141:4              62:6 100:18
   26:2,3,4 52:15          120:19 123:23    sent 212:14          116:18 118:7
   53:4 55:17              129:7 134:2      sentence 43:15       176:20 179:6
   66:6 69:1               141:22 142:22      56:1 59:23         187:5,23 190:8
   73:12 111:1             147:23 159:11      60:2,8,9 64:7      192:14 200:22
   127:13,16               159:15,24          69:8 70:3          211:3
   144:20 177:20           162:3,13,20,20     81:12 89:15      settle 206:20
   183:12                  177:6 183:12       97:6,10 133:25   several 10:8
 scrolling 49:5            183:16 198:16      134:1 140:18       25:13 28:3
   52:22 84:14             202:20 203:5,8     162:16 165:5       32:2 33:21
   91:19 157:2             203:11 204:25      166:8,21 167:2     61:4 73:23
                            www.CapitalReportingCompany.com
                                     202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 109 of 122
                              James M. Cantor                    May 2, 2024
[several - soc]                                                     Page 54

   80:4,24 84:7     sexuality 26:19       212:12             83:10 87:21
   113:17 135:13      26:19,23 27:10    signal 164:16        88:15,16 93:25
   137:16 176:9       27:22 28:4,7      signature            117:23 118:9
   190:12             28:17 29:2,3        211:14             120:3 176:7
 severe 119:12        30:9,11 31:18     signed 212:19      sites 145:4
 sex 12:20 22:5       33:7 34:6,13      significant        sits 207:7
   22:14 26:16      sexually 30:18        65:22 97:17      situation 30:21
   28:9,18,25       shannon 2:16        signing 6:2          36:7 41:16
   31:15,21 34:11   share 71:13           199:18             47:7 52:9
   34:13 106:6      shared 68:18        signs 19:7 66:3      53:22 62:20
   125:15,18          68:24               150:17 151:7       63:17,21,24
   128:19 131:13    shares 31:23          151:18             71:12 79:12
   140:4 146:23       33:5              similar 68:23        94:11,13
   147:14 148:1,2   sheet 209:7,18        68:23,24           114:19 118:1
   148:25,25          210:1 212:11        143:16             120:2 121:14
   149:3,11,25      shift 137:9         similarly 29:21      149:8 156:19
   150:1,3 152:15     151:2               136:21 148:23      157:3 186:8
   153:13 154:1     shoot 104:22          178:22 179:2       189:18 196:8
   154:16 169:18    short 96:18         simple 28:20         196:10,19
   172:7 190:5,11     109:25 120:24       130:4 164:24       205:13
   191:22 198:13    shortage 33:10        196:6,8          situations
   199:4,8,12       show 66:3           simply 89:5          47:21 52:11
   200:7 202:8        130:14              92:15 103:4        92:9 112:4
 sexology 27:24     showed 202:6          104:3 113:23       114:24 120:13
   27:25 28:9       showing 97:6          122:8              123:25 139:11
 sexual 20:11         100:19 151:17     simultaneous         157:18
   26:11,12,24      shown 131:6           93:24 97:23      six 13:2,2 15:5
   27:1,5,5,11      shows 115:1         simultaneously       15:10,12 16:11
   29:4 30:8,22       154:23 155:8        32:5 33:14         151:11
   34:13 73:10      shut 12:8             81:21 117:23     skills 28:21
   77:4 79:15       side 29:2 38:19     singal 4:13        skin 102:7,9,18
   108:1 133:20       39:7,7,9 96:19      84:17,20 87:12   small 94:18
   134:7 139:22       97:17 98:5        singal's 84:25     smaller 202:22
   140:10 141:8       111:1 120:18        85:20 86:6,9     sminter 2:20
   146:9,12           186:9               88:6             soc 5:5 169:5,9
   149:19,20        sides 41:5          single 12:19         169:12 170:4
 sexualities        sign 102:15           15:23 19:13        170:14,17
   30:10 32:10        208:14,16           33:14 80:24        172:19 173:1,7
                        www.CapitalReportingCompany.com
                                 202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 110 of 122
                              James M. Cantor                    May 2, 2024
[soc - state]                                                       Page 55

   174:1 175:11     sooner 12:10          186:15 205:11    stage 93:19
   177:4 183:10     sophisticated       speaking 36:10       94:4 128:16
   183:18 184:4,8     125:4               179:21             147:15,25
   184:11,22        sorry 15:7          specialty            148:19,20,25
 social 17:6 29:5     17:15 39:19         184:18             149:14 150:7,9
   47:12 66:18        43:10 46:25       species 30:17        150:14,21
   70:9 99:14         49:11 51:23       specific 19:17       151:3,10,16
   101:22 108:13      66:11,13 69:8       25:11 35:22,23   stages 93:21
   109:1,9,13         83:12 89:13         37:13 55:25        150:12 151:1,1
   134:8 136:7,9      92:20,23 106:2      68:18 90:7       stakeholders
   136:9,10 145:4     108:8,14 110:7      109:6 138:16       60:13 205:12
   148:21 149:5       111:9 115:17        170:1,2 172:10   standard 44:16
   152:2,4,9,12       129:17 133:21       172:11 181:20      45:17 80:17
   152:25 153:5       162:14 164:16       182:24             81:24 87:9
   190:2              170:15 178:24     specifically         98:23 147:4
 socially 35:17       182:11 197:21       11:7 17:16         157:16,17
   109:23             199:6 203:3         29:15 32:22        158:4 181:22
 society 29:6         207:25              33:13 37:3         183:1
   33:23 42:10      sought 125:14         98:25 102:6      standards
   57:5 76:13,17    sound 11:18           128:20 133:12      41:17,20 45:19
   76:20 121:13       68:17 104:15        139:25 185:22      171:11,23
 society's            105:1 166:11      specifics 56:19      172:12
   121:15             207:10              59:4,5           start 6:24
 solely 158:14      sounds 9:25         specified            30:16 95:18
 solidly 34:5         11:20 51:22         101:10             117:7 136:17
 solutions            59:21 66:5        specimen 30:24       136:18 142:8
   212:23             70:15,18 79:3     spent 12:3         started 52:12
 somebody 9:17        104:12 189:10       97:11              138:3
   18:20 30:21        208:12            spoken 121:6       starting 102:14
   34:25 48:16      source 65:20          174:14             110:8 123:20
   61:20 94:11        112:13 175:15     sporadically         133:24 134:2
   103:2 117:4        180:25              12:25              160:9
   120:20 136:20    sources 160:17      sports 36:25       starts 53:8 54:8
   168:20 185:8     south 163:12        spouse 184:1         60:7 127:20
 someone's          spanning 30:8       springer 73:13       144:2
   175:13           spans 18:7            73:15 74:21      state 1:12 6:11
 soon 205:25        speak 10:12         staff 177:2,9,13     6:12,14 9:13
   206:3              11:1 41:19          178:1              24:9 26:10
                        www.CapitalReportingCompany.com
                                 202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 111 of 122
                              James M. Cantor                    May 2, 2024
[state - study]                                                     Page 56

   28:15 30:6         74:12 75:6        sterilization      stress 79:16
   41:15 43:15        89:9 101:8          146:19           stretching
   49:6 55:22         128:10 134:4      steve 1:11           102:10
   56:2 59:10         161:24 162:10       212:4            strike 178:8
   66:9,15 69:4       163:11 165:1,3    sticks 48:24       strong 155:2
   79:24 80:9         166:8,22          stigma 32:19         156:21 157:5
   103:5 130:20       167:10 178:9        34:3               157:21 158:7
   132:21 133:3       178:15 184:20     stigmatized          158:14,20
   133:18 140:17      186:25 192:13       32:10,11           159:2,7 202:2
   141:23 147:13      197:10            stipulated 6:1     strongly
   148:6 154:23     states's 208:6      stipulations         152:13 175:9
   157:21 161:25    stating 6:25          211:8              202:3
   192:19 193:12      125:13 142:8      stolk 4:21         structure 135:1
   194:10 204:20    statistical           147:11,14,17       135:6 140:21
   206:9 211:1,2      32:25               148:7            students 23:16
 state's 43:1,7     statistically       stop 26:4            24:3
   43:11,12           32:23,24            113:23 114:8     studies 28:22
 stated 72:6        statistics 29:10      184:25 207:9       29:15,21 41:22
   94:8 179:10      status 23:2,9       stopped 112:17       41:25 43:9
   184:7 192:3        32:23 34:7,17       153:17             69:4,9,13,15
 statement            82:20 109:25      stopping 50:21       79:24 81:3,23
   35:19 60:17        203:21              104:6 154:1        84:2,11,11
   67:12 68:4,6     staying 80:8          156:13 160:1       88:25 93:18
   80:5 83:20,21    stays 144:16        stored 11:12         94:19,22 95:3
   101:11 113:16    stenographic        story 53:18          95:4 97:19
   137:24 141:1       211:6               125:4              98:11,13,25
   142:1 143:11     stenographic...     straight 27:2        100:4,9 110:9
   147:4,22           211:5             straightforwa...     118:18 141:18
   155:23 164:14    step 67:11 94:9       179:9              141:24 142:13
   166:20 191:21      94:9 153:21,22    strategies           142:25 143:13
   194:16,16          154:14              164:3 175:12       143:13 144:10
   202:1 205:1      steps 93:24           188:16             155:13,14,15
 statements           153:7 154:17      strategy 101:5       155:17 196:21
   35:8 85:8 97:4   sterile 96:20,22      173:4 175:12       197:16,17,24
   129:1 164:4      sterility 150:3     stratified           198:5,13,20
   189:19 205:2       153:14 154:15       116:10           study 4:10,11
 states 1:1,8 2:6     156:1 158:24      street 2:7,18        4:12,13,15,16
   2:10 6:20 55:6     159:3                                  4:17,18,20,21
                        www.CapitalReportingCompany.com
                                 202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 112 of 122
                              James M. Cantor                    May 2, 2024
[study - suppose]                                                   Page 57

   4:23 26:24       subheading          successes 122:7    supervising
   34:10 66:2,20      55:6              suddenly 40:13       23:17 24:2
   69:19,20,22,24   subject 7:15          72:3             supplement
   70:7 74:15         49:4 112:2        sufficient 89:6      108:9
   80:24 81:4,14      168:5               126:11 171:24    supplemental
   82:24 88:6,14    subjective 61:2       172:13,22          4:14 5:1 11:12
   88:18,22 89:1      61:10,15 62:17    sufficiently         94:21,21
   89:3 90:2,17       63:15,22 112:7      98:21              105:12,19
   98:16 100:17     subjects 197:6      suggest 19:3         107:13 108:10
   100:20 105:17    submitted             141:10             110:6 122:18
   108:13,21,23       25:13 30:4        suggested            125:8 130:17
   109:1,16,22      subsection            95:21              142:5 146:15
   110:3,15,16,19     59:24 81:13       suggests 25:9        148:6 154:20
   110:21 111:11      91:18 93:11         118:21 120:25      157:13 160:8
   114:12,16          96:17 160:10        132:9 136:8        165:18 168:3
   115:5,6,9,11       160:11 172:24     suicide 51:9         176:17
   115:22 116:6       186:21              52:7 53:16       supplied 171:5
   116:14,20        subsequent            88:15 89:20,23     171:9 174:20
   117:23 118:5,6     44:14 93:20         90:10,22           175:2,22,25
   118:11 120:25      96:23 102:6       suicides 54:2      support 36:23
   122:23 123:4,7   subspecialty          54:14 88:11        37:14 38:14
   124:7,16,16,18     184:18              90:1,17,21,22      39:14,21 68:16
   125:4,13 127:1   substack 86:16        91:3               69:6,10 71:11
   127:2,5,7          86:19,21 87:4     suite 2:18 3:4       71:13 119:22
   128:6 129:2,14   substance           sum 12:18            129:4,16,24
   129:15,22,23       121:9             summarized           130:8,15
   130:20,24        substances            159:20             138:23 167:11
   132:3,6,16,21      20:9              summarizing          173:5 206:2
   133:2,4 141:14   substantial           37:18 51:14        207:18
   142:24 143:15      28:1 32:1 35:2      108:12           supported 35:8
   144:12,18          97:15 132:13      summary              35:20 36:15
   145:12,13,16       143:9 206:10        56:21 156:6        75:3
   145:18,19,20     substantially       superior 99:8      supporting
   145:22 146:2,5     95:12             superiority          35:13 39:15,22
   146:6 199:18     success 102:5         98:22              42:24
 studying 24:11       119:23,24         supervised         supports 39:8
   34:12              120:15 124:10       14:23            suppose 36:19

                        www.CapitalReportingCompany.com
                                 202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 113 of 122
                              James M. Cantor                    May 2, 2024
[supposed - term]                                                   Page 58

 supposed           surveys 66:9          161:23 163:18    taxonomic
   168:15             66:16,17 68:2       163:20             137:14
 suppressing          69:5,9                    t          team 14:23
   201:5,19,20      suzanna 70:16                            21:3,7 22:4
                                        t 6:17
 sure 17:25           70:23 71:1                             23:1,7 109:7
                                        table 202:19
   18:12,13 47:1    sweat 144:22                             118:7 187:18
                                          203:4 204:10
   54:4 59:9,20     sweden 51:17                             205:7,18,20
                                        take 8:11,14
   67:15 100:25       52:12 53:23                          teams 14:10
                                          52:17 96:6
   103:1,13           54:2,5 201:14                          15:16 19:11
                                          104:7 153:8
   106:12,16        swedish 51:10                            22:16 23:4
                                          154:1,10
   108:9 111:2      swings 96:20                             24:2,4
                                          156:15 207:9
   114:18 120:1     sworn 6:12,16                          technical
                                        taken 1:17 7:2
   132:4 139:14     symptoms                                 146:20
                                          102:8 119:16
   140:13 143:19      96:24 119:1                          technology
                                          159:23
   144:3,7 146:1    synonym 34:21                            147:1 208:5
                                        takes 81:2
   150:5 156:14     synonyms 18:5                          teens 21:23
                                          113:4
   158:16 160:4     system 19:13                           tell 96:15
                                        talk 48:12
   162:4,22           36:5 50:17                             107:10 124:22
                                          139:7
   168:13 173:21      82:25 118:20                           126:17 163:8
                                        talking 22:23
   185:23 187:21      118:23 146:22                          164:13
                                          40:19 41:2
   188:6 190:22       163:17,21,22                         telling 159:18
                                          103:17 119:2
   195:12 196:5       192:25,25                            tells 95:14
                                          132:12 135:9
   199:7 204:19       193:2,3,21                           ten 50:22
                                          139:6 140:15
 surgeries            194:1 195:23                         tenor 161:12
                                          140:23 172:5
   152:15             200:20,21,22                         tenth 52:16
                                          205:3
 surgery 91:22        201:11 202:15                        term 26:14
                                        tangential
   94:6,16 102:6    systematic                               32:21,22 45:3
                                          125:6 169:22
   102:13,18          47:23 50:11                            45:3,6,7 79:8
                                        tangentially
   172:8 191:22       54:25 55:7,7                           79:25 82:14
                                          106:14,15
 surgical 93:13       55:18 57:13,16                         83:1,22 95:20
                                        tanner 147:15
   95:11              57:19,25 58:6                          96:18 100:5
                                          147:25 150:7,9
 surprised            58:22 74:1                             101:4 106:9
                                          150:12,14,20
   68:21              75:4 95:25                             110:1,4 120:12
                                          151:16
 surrogate 60:3       96:8 97:13                             120:19,21,24
                                        task 29:25
 survey 67:8,10       117:19 148:7                           120:24 138:5
                                          42:15,16
   67:17 68:11,12   systems 14:15                            145:3 146:18
                                        tasks 19:17
   112:10 118:4       29:5,6 50:16                           146:19 197:14
                                          42:13
                      83:2 161:20,20                         197:18 205:24
                        www.CapitalReportingCompany.com
                                 202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 114 of 122
                              James M. Cantor                    May 2, 2024
[terms - totally]                                                    Page 59

 terms 18:5           94:6,15 184:21    three 88:14            70:15 71:16
   33:15,25 34:9    thereof 173:22         89:23 150:13        91:20 96:24
   35:1 40:3,4      thing 99:20         thursday 1:19          106:2 185:21
 terrible 132:15      136:20 152:11     tiered 189:24       titled 96:18
 test 184:21          152:11 195:4      time 8:13 12:3      today 6:21 7:8
 testified 6:16     things 77:18           12:12 13:23         7:20,24 10:2
   9:21,23 11:22      83:23 138:5          14:2 21:13,18       10:14 11:2
   36:23 37:14        143:7,8 190:14       21:24 22:12,17      28:13 53:1
   38:3,14,18       think 7:18,21          23:21,23 25:7       77:7 101:21,23
   63:25              7:22,25 26:14        27:23 32:9,13       102:14 118:9
 testifying 6:10      35:4 41:9,9          32:18 36:2          206:8 207:6
   7:23 11:6 99:3     42:8 44:23           41:12 53:13         208:7
   198:22 207:20      50:22 60:17          54:9 56:9,16     today's 10:22
 testimony            80:6,18,19           73:23 80:25         11:7
   11:16 24:8,13      85:22 87:19,20       81:1,4 82:8      together 81:5
   24:19 39:13,20     103:22 104:19        88:23 96:5          89:1 114:25
   44:7 57:4,11       106:19 107:17        98:13 104:14        120:3,6 155:18
   65:5,12 90:16      111:7 122:2          104:15 106:13    took 121:23
   103:18 152:25      129:25 156:12        109:18 114:2     tool 193:18
   154:3 195:7        158:15 167:19        117:19 120:12       196:17
   209:5 212:9,17     168:22 174:18        121:21 135:11    tools 193:3,4
 testosterone         180:16 185:4         135:21 138:10       193:19 196:18
   91:25              185:16 191:9         139:1,13            200:22
 text 78:18,21        192:3 196:2          141:21 147:6     top 53:3 56:7
   86:3 177:7         199:2 208:16         155:19 173:11       129:19 133:23
   196:14,15        thinking 43:11         173:23 211:3        183:12
   198:10,16          191:15               212:18           topic 72:18
 thank 17:21        third 43:15         timeframe              85:5 109:3
   51:3 89:16         52:16 133:13         212:8               143:2,18
   104:5 105:7        136:1 138:25      times 7:5 10:20        168:21 199:1
   108:11 156:17      167:1 189:25         95:24 176:9      topics 106:7
   190:23 191:1     thorough               190:13 193:18       168:16 184:4
 theory 87:5          120:23            tissue 62:22        toronto 1:18
   124:19           thoroughly             102:12,17           12:1
 therapy 12:20        54:19 96:14          147:1 149:2      total 10:24
   12:22 23:20,22   thought 17:15       tissues 150:23      totality 75:4
   28:25 91:22        17:20 107:17      title 34:11 55:9    totally 105:1
   92:17 93:2,15      159:21               55:10 66:5
                        www.CapitalReportingCompany.com
                                 202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 115 of 122
                              James M. Cantor                    May 2, 2024
[toward - true]                                                     Page 60

 toward 89:9          110:18 111:14     transitioners        125:15 126:9
 towards 114:6        129:16,24           145:2 205:14       126:13,14,18
   149:15             133:15,19           205:14,15          126:24 128:2
 tr 78:12,16,17       134:6 136:13      transitioning        130:7 131:22
   78:17,18,25        137:20 138:12       202:25 203:6       147:15 148:25
   79:1               139:3 153:25        203:16 204:13      153:12 155:3
 tradition 75:10      165:23 205:7      translate 95:4       155:17 184:21
 traditional          205:17            transparency         188:9
   12:22            transient 135:3       57:20            treatments
 traditionally        137:21 140:18     transsexual          22:21 23:10
   27:15            transition            135:2              69:14 83:3
 trained 171:25       35:18 36:4,12     transsexuals         84:10 93:25
 training 23:16       41:4,11 47:10       135:1              109:4 120:22
   171:22 181:11      51:9 64:10,11     treat 83:25          121:2 129:10
   181:20,23          64:12,19 65:1     treated 17:22        148:1 153:18
 trainings 182:6      65:10 68:19         32:15 33:23        153:19 154:24
 trans 20:25          91:8 93:19,21       61:9               155:18,21
   41:6,7,11,13       94:2,3,20         treating 77:21       163:13 177:4
   53:11              99:14 101:22        97:20 99:2         202:4
 transcribed          108:13 109:1,9      117:2            treats 44:20
   211:5              109:12,13,15      treatment          trial 2:9 81:15
 transcript           122:1,13 126:2      24:17 44:12        201:1,16
   168:7 209:4        141:19,23           46:24 47:5       trials 80:13
   212:6,19           145:8 148:19        67:22 68:8         201:22
 transcription        148:21 149:5        79:18 80:9       tried 24:11
   211:6              152:2,12 153:1      81:23 82:2,11      71:6 85:3
 transferred          153:5 155:2,6       83:8,15 84:5       169:22
   86:1               158:8,9 177:4       88:23 89:20      tries 199:21
 transgender          202:24 203:6        90:13 91:3,25    triggered 51:17
   13:15 14:4,19    transitional          95:19 97:15,19     52:12
   15:4,5,9,10        205:25              99:1 100:11,19   triggers 153:14
   16:9 31:17       transitioned          103:25 110:17    trouble 93:10
   33:6 35:9,21       109:24 202:8        112:15,16,17       191:15
   36:16,24 37:15     202:16 203:15       113:8,10 114:8   true 9:25 11:21
   38:4,16 39:4       204:7,8,13          114:14,22          13:11 44:5
   39:15,16,22,23   transitioner          116:22 117:1       64:16 66:17
   40:9,23 54:11      141:15              118:13,25          77:7,23 82:14
   54:14 84:19                            120:11,16          82:23 91:10,12
                        www.CapitalReportingCompany.com
                                 202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 116 of 122
                              James M. Cantor                    May 2, 2024
[true - undergoing]                                                 Page 61

   92:6,8 110:22        146:15 154:20      202:24           ultimate
   130:10 135:22        156:8 157:12     types 26:22          114:24
   158:25 189:10        160:8 165:18       28:19 29:20,20   ultimately
   189:13 190:8         182:8              32:11 65:25        75:11
   192:4 202:5        turns 16:3           71:22 82:6       umbrella 33:20
   209:4 211:6        tweeted 169:19       135:9,20,23      unambiguous...
 truth 74:24          tweets 36:20         136:6 138:8,16     152:13,20
   164:13 194:25      twelve 13:2          138:24 139:8     unaware
 truthfully 7:11        99:15              172:8 182:5        199:22
   7:15,23 11:22      twice 10:22        typical 135:2      unblocked
 try 8:10 92:25       twitter 169:20       159:1 188:16       149:15
   100:22 104:16      two 16:10          typically 13:11    unborn 114:7
   125:4                80:11 89:19,22     19:15 32:4,21    uncertain
 trying 32:1,19         97:25 110:9        37:4 44:25         156:19,25
   41:2 49:23,25        113:17 122:3,3     69:5,10 72:17      157:19
   71:13 76:2           124:12 126:17      75:14 80:1       uncertainty
   78:9 80:5            130:6 131:9,20     102:7 136:22       200:4
   88:16 100:16         135:9,19,20,23     148:2 151:9      unclear 9:7
   100:23 167:22        136:3,5 138:8      199:18           uncomfortable
   169:7 176:6          138:8,15,24              u            33:22 62:4
   206:20               139:7 140:15                        under 7:7,10
                                         u.k. 164:25
 turban 4:25            140:22 147:15                         11:14 14:19
                                         u.s. 12:9 75:18
   165:20 166:14        147:25 150:7,9                        15:18 27:18
                                           76:7 82:17
 turban's 167:5         150:14,21                             33:3 56:1
                                           103:8 162:10
   167:6,14,17          151:16 154:24                         99:13 111:10
                                           163:24 164:11
 turf 152:4             155:19 158:13                         123:22 131:21
                                           164:25 165:2
 turn 51:15             159:13,15,19                          156:20 157:3,4
                                           174:7 193:1,5
   54:20 81:7           199:10                                158:20 192:15
                                           193:7,21
   164:22 192:10      type 16:18                              200:10 202:23
                                         uab 24:6,12,17
   197:7                105:25 106:4                          203:8
                                           25:1 65:1
 turning 35:5           134:24 135:14                       underestimated
                                         uab's 65:5
   59:23 64:4           136:1,1,6                             145:21
                                         ubiquitous
   65:14 91:4           137:12 138:18                       undergo 91:8
                                           42:7,7 58:9
   99:10 108:5          138:18,19,25                          95:11 116:2
                                           98:23 148:18
   122:18 125:8         139:9,9,21,21                         151:6 181:25
                                           183:4 188:4
   130:17 133:6         139:24 145:19                       undergoing
                                         ubiquitously
   137:18 141:13        156:20,25                             22:21 23:10,22
                                           93:18
   142:4 144:19         157:3,4 158:20                        47:10 88:22
                         www.CapitalReportingCompany.com
                                  202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 117 of 122
                              James M. Cantor                    May 2, 2024
[undergoing - vi]                                                   Page 62

  93:23 94:1,2      university            100:5 112:12    valuable
  109:15 112:15       54:25 55:3,4,7      114:5,10          175:20
  126:19 148:20     unknown               115:16 117:12   value 32:25
  148:22,23           92:15 200:3         123:12,19         50:16 124:16
 undergone            203:19              124:9 125:24      124:24,25
  126:15 149:5      unknowns              127:11,21         145:20 180:17
 underneath           104:4 189:19        138:7 157:15      180:24
  203:1,11          unnecessary           159:12 162:8    variables 67:24
 understand 7:7       64:11,11            193:19 212:19     68:12 100:20
  7:10,14,17 8:9    untrue 185:15       useful 175:23       114:10,18,19
  16:21 17:25       unusual 117:23      uses 25:6 34:23   varies 12:5
  67:15 139:14      unverified 80:1       57:5 143:3      various 13:18
  140:13 150:5      update 107:21         168:14            16:21,22 19:2
  158:15 164:14     updated 78:23       using 34:25         20:12 21:13
  164:17 168:9      updating 10:9         37:15 38:5        23:6 26:22
  188:6 190:4,16    upfront 75:20         45:2 49:1         27:15 28:12,12
  191:7 194:17        75:23               55:11 76:24       29:22 33:15,19
  196:4             usa 71:2              111:18 138:5      33:25 36:11
 understanding      use 13:24 14:15       146:20 201:12     39:6 46:14,15
  7:19 18:19          18:5 30:13        usual 58:9 71:8     66:25 67:13
  28:11 191:25        31:11 32:21         90:23 113:2       82:6 83:4
  194:18 196:10       33:25 38:11,20      128:3 144:1       160:16 182:6,6
  198:4,12            38:22 47:22         158:6             193:19 202:4
 understood           61:3 68:10        usually 21:17       205:16 206:21
  43:14 106:10        70:9 83:24          113:11 117:4    vary 12:21
  160:18 165:6        100:18 101:4,9      188:20            200:12,12
 underwent            102:7,9 146:18    utah 163:12       verbally 8:4
  126:9               187:20 190:20             v         verify 11:20
 uninformative        191:12 205:24                         212:9
                                        v 1:10 59:15
  89:4                209:19                              veritext 212:14
                                          212:4
 united 1:1,8       used 14:2 24:6                          212:23
                                        vacuum 197:13
  2:6,10 6:20         24:17 29:12                         veritext.com
                                        vaginal 102:11
  101:8 161:24        34:8 44:10                            212:15
                                        vaginoplasty
  192:21 193:7,7      50:12 55:9                          versa 30:20
                                          102:6,7
  193:13 194:11       62:11 67:18                         version 166:15
                                        valid 85:8
  205:22 206:14       75:12 79:8,12                         167:6 171:11
                                        validity 63:10
  208:6               82:15,17,18                         vi 172:25
                      83:1,22 85:10
                        www.CapitalReportingCompany.com
                                 202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 118 of 122
                              James M. Cantor                    May 2, 2024
[viable - worker]                                                   Page 63

 viable 102:13              w           watchful 99:17    weight 96:21
 vice 30:20         wait 8:5 103:12      99:25 100:7      went 10:14
 videoconfere...     144:20              101:2 103:17      144:5 166:2
   1:18,24          waiting 99:17        103:18,23         203:22
 view 31:17,19       100:1,7 101:2      watching 151:7    western 193:22
   31:23 33:6        102:3 103:17       watermark         white 21:15
   44:20 68:18,24    103:18,23           74:3             wide 29:19
   76:23 81:17       128:1,24           way 11:3 12:9     widely 79:16
   82:9 83:14        129:12              17:1 26:14        122:9
   106:9 107:5      waitlist 128:13      28:5 29:10       wieda 59:15
   180:13,17,24      128:13 129:8        34:9 35:1 41:9   williams 2:9
   181:1 198:18     waived 6:2           42:17 44:6        6:24
 views 48:1,14      walk 104:20          52:21 61:8       willingness
   76:21 87:23      walls 75:11          82:4 85:15        17:8,11
   88:2,4 121:18    want 87:6            94:23 100:14     withholding
   121:20            104:7,14,15,18      122:14 127:5,6    172:15,16
 viii 175:7          108:9 127:15        128:25 137:15    witness 1:18
 virginia 3:5        129:20 140:3        152:3 171:15      4:2 6:10,12
 virtually           140:13 144:3        175:17 177:6      10:18 39:18,25
   146:23            150:5 159:6         178:20,25         209:11 210:4
 visits 116:21,25    162:5 192:13        179:17 211:11     211:12 212:8
 voice 151:8         194:7 203:24        211:11            212:10,12,18
   208:3             208:13,15          ways 13:18        woman 54:11
 void 162:7         wanted 16:16         16:23 32:11      women 95:10
 volunteer           39:6 75:14          82:16 117:17     wonder 119:24
   163:23            178:2               179:8            word 8:10
 volunteers 69:5    wants 57:5,21       we've 50:20        30:13 34:20,22
   69:10             58:10 75:24         121:7             38:20 68:16
 voting 188:19      warning 117:5       weak 158:25        173:21
 vs 15:25 16:1,1     118:15,19          website 68:22     work 30:22
   18:12,20 48:22    119:10,11          websites 68:18     32:7 42:20
   50:19 61:21      warnings            week 21:15,16      53:5 86:23
   78:23 131:11      120:25              21:17             116:9 161:20
   135:11 140:7     washington 2:8      weekly 12:22       161:21 174:7
   152:19 155:1      2:14               weeks 12:24        181:25 187:10
   163:18 180:15    watch 103:2         weigh 197:13      worker 47:12
   194:3 195:9       118:20             weighed 113:4      152:5,9
   206:21
                        www.CapitalReportingCompany.com
                                 202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 119 of 122
                              James M. Cantor                    May 2, 2024
[working - zoom]                                                    Page 64

 working 15:4,9     write 20:18           97:11 118:8
  112:16 113:11       35:6 61:1           135:13 144:2
  183:21 186:12       135:24 148:7        144:17 168:18
  186:25              171:7 182:15      yep 60:7
 works 85:13        writer 176:5        york 71:2,2
  86:25 87:18       writers 75:19         95:24 105:4
 world 12:10          100:15 171:16     young 66:3
  25:9 27:24        writing 36:14       youth 16:2,13
 worried 172:12       45:21 142:20        20:19 36:24
 worries 111:8        180:1 183:3         37:15 38:4,16
 worse 114:13       writings 35:7         39:4 70:9
  118:13 120:2        170:20              122:10 123:4,5
 worsening          written 74:16         129:15,16,23
  120:5,20            85:5                129:24 132:22
 worth 30:3,4,5     wrong 146:5                 z
  80:18 98:8        wrote 35:25
                                        zoom 1:17,24
  158:10              37:3 134:22
 worthwhile           171:4,13
  113:9                     x
 wpath 5:4,5
                    x 4:1 6:17
  148:7 168:11
                      202:25 203:1,9
  168:24,25
                      203:12
  169:2 170:23
                    xi 182:11
  170:25 171:8,9
                    xii 182:9
  172:25 173:5
  174:17,20,24              y
  175:5,9,13,22     y'all 52:22
  176:11,15,22      yeah 59:5
  177:2,10,15,21      89:24 104:19
  179:16,24           156:16 179:23
  180:1,12,19         208:21
  182:12 183:9      year 16:12
  183:10 185:11       54:10 148:9
 wpath's 169:12       151:4,11
  170:4             years 13:9
 wrapping             16:10 27:17
  12:23               35:20 36:10,15
                      36:22 77:6
                        www.CapitalReportingCompany.com
                                 202-857-3376
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 120 of 122



                    Federal Rules of Civil Procedure

                                    Rule 30



       (e) Review By the Witness; Changes.

       (1) Review; Statement of Changes. On request by the

       deponent or a party before the deposition is

       completed, the deponent must be allowed 30 days

       after being notified by the officer that the

       transcript or recording is available in which:

       (A) to review the transcript or recording; and

       (B) if there are changes in form or substance, to

       sign a statement listing the changes and the

       reasons for making them.

       (2) Changes Indicated in the Officer's Certificate.

       The officer must note in the certificate prescribed

       by Rule 30(f)(1) whether a review was requested

       and, if so, must attach any changes the deponent

       makes during the 30-day period.




       DISCLAIMER:     THE FOREGOING FEDERAL PROCEDURE RULES

       ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

       THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

       2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

       OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 121 of 122

                    VERITEXT LEGAL SOLUTIONS

        COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

  Veritext Legal Solutions represents that the

  foregoing transcript is a true, correct and complete

  transcript of the colloquies, questions and answers

  as submitted by the court reporter. Veritext Legal

  Solutions further represents that the attached

  exhibits, if any, are true, correct and complete

  documents as submitted by the court reporter and/or

  attorneys in relation to this deposition and that

  the documents were processed in accordance with

  our litigation support and production standards.


  Veritext Legal Solutions is committed to maintaining

  the confidentiality of client and witness information,

  in accordance with the regulations promulgated under

  the Health Insurance Portability and Accountability

  Act (HIPAA), as amended with respect to protected

  health information and the Gramm-Leach-Bliley Act, as

  amended, with respect to Personally Identifiable

  Information (PII). Physical transcripts and exhibits

  are managed under strict facility and personnel access

  controls. Electronic files of documents are stored

  in encrypted form and are transmitted in an encrypted
Case 2:22-cv-00184-LCB-CWB Document 591-2 Filed 06/24/24 Page 122 of 122



  fashion to authenticated parties who are permitted to

  access the material. Our data is hosted in a Tier 4

  SSAE 16 certified facility.


  Veritext Legal Solutions complies with all federal and

  State regulations with respect to the provision of

  court reporting services, and maintains its neutrality

  and independence regardless of relationship or the

  financial outcome of any litigation. Veritext requires

  adherence to the foregoing professional and ethical

  standards from all of its subcontractors in their

  independent contractor agreements.


  Inquiries about Veritext Legal Solutions'

  confidentiality and security policies and practices

  should be directed to Veritext's Client Services

  Associates indicated on the cover of this document or

  at www.veritext.com.
